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                         ORIGINAL


                                                   CV 22-3319
    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK


     MENACHEM MENDEL SCHNEORSON,
                                                                      Civil Action No. CV
                                 Plaintiff,
                  -against-                                           COMPLAINT
                                                                      JURY TRIAL DEMANDED
     BARRY S. FRANKLIN & ASSOCIATES P.A.;
     BARRY S. FRANKLIN; OLIVIA RETENAUER;
     MARGALIT SCHNEORSON; MICHAL H. COHEN;
     COHEN & SCHNEORSON INVESMENT LLC.; FURR
     AND COHEN,P.A.; ALAN R. CRANE ESQ.; JOHN                                GUJARATI, J.
     DOE #1; through #10, and # JANE DOE 1 through # 10,
                                                                             SCANLON, M.J,
                                 Defendants.

           Plaintiff, MENACHEM MENDEL SCHNEORSON complaining of the defendants,
           alleges as follows:

                                        INTRODUCTION


    1.    The duration, scope and nature of the Defendants' illegal conduct bring this case well
          within the realm of criminal conduct to which the Racketeer Influenced and Corrupt
          Organizations Act("RICO")applies. Defendants did not engage in sporadic acts of
          fraud although that would be troubling enough rather, they adopted identical
          fraudulent blueprints as their business plans and used them to participate in
          systematic patterns of racketeering activity and litigation misconduct including
          without limitation fraud on the court that involved the most egregious litigation
          misconduct imaginable.

    2.    The Defendant lawyers BARRY S. FRANKLIN,OLIVIA RETENAUER, members of
          the bar have deliberately planned and careftilly executed scheme to defraud not only
          on the CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT IN AND FOR

          BROWARD COUNTY, FLORIDA, but also including without limitation the United
          States Bankruptcy Court Eastern District Of New York,

    3.    The Defendant lawyers BARRY S. FRANKLIN,OLIVIA RETENAUER, members of
          the bar, and their client MARGALIT SCHNEORSON and her business partner
          MICHAEL H. COHEN, conspired to file and prosecute a multi-year fraudulent
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           matrimonial lawsuit, against MENACHEM MENDEL SCHNEORSON. with the
           primary purpose, to be utilized, as a shield to protect the individual perpetrators who
           knowingly devised and executed a scheme to defraud MENACHEM MENDEL
           SCHNEORSON, his family, businesses, individuals, government, out of millions of
           dollars.


    4.     by way ofexample and not limitation the defendants fabricated a fraud scheme, by
           blatantly adding, three zeros to husband's total net worth $1,713.00 and change it
           by adding, three zeros to become $1,713,000.00.

    5.     Similarly changing many other amount numbers in the matrimonial lawsuit for their
           benefit and to husband detriment.


    6.    Their criminal, unethical and immoral conduct, including without limitation their
          continuing fraud on the court that involved the most egregious litigation
           misconduct imaginable.


    7.    Plaintiffs seek damages,treble damages under RICO § 1964(c), injunctive relief
          including a preliminary and permanent injunction, a constructive trust, disgorgement
          of illicit gains, and the attorneys' fees and costs incurred in bringing this action.

    8.    The Defendant scheme to defraud and their fraud on the court that involved the most

          egregious litigation misconduct imaginable, that was engineered by the Defendants
          described herein among other things was aimed primarily at the victim MENACHEM
          MENDEL SCHNEORSON including without limitation his family.

                                         NATURE OF THE CASE


    TfflS CASE,AMONG OTHER THINGS,IS ABOUT FRAUD UPON THE COURT,BY
         AN ATTORNEY THAT INVOLVED THE MOST EGREGIOUS LITIGATION

                                 MISCONDUCT IMAGINABLE.


    4.    As part of the scheme to defraud described herein. On June 6, 2018, Husband
          MENACHEM MENDEL SCHNEORSON filed his financial affidavit, that shows
          assets of$370,293.00 and debts of $368,580.00, for a total net worth of$1,713.00,

    5.    The defendants deliberately planned and carefully executed scheme to defraud.
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    6.       The defendants fabricated a fraud scheme, by blatantly adding, three zeros to ..
             husband's total net worth, in the July 30. 2019. order [the order was planned and
             prepared as proposed order by BARRY S. FRANKLIN,OLIVIA RETENAUER]See
             page 4 of 20 of Husband's financial affidavit filed 6/6/2018 attached as Exhibit A
             The July 30, 2019. ORDER which its primary purpose among other things, was to
             calculate Husband's total net worth,
             at page 3. states as follow:
                                       'He[The Husband ]shows assets of$370,293.00
                                       and debts of $368,580.00,for a total net worth of
                                       $1,713,000.00
             As the old saying goes,"the numbers don't lie."
             So here as the July 30,2019. ORDER,is subtracting the amount $368,580.00
             from $370,293.00 so the result you should get, Is ... $1,713.00 (ONE
             THOUSAND,SEVEN HUNDRED THIRTEENTH)
             NOT         $1,713,000.00, (ONE MILLION AND SEVEN HUNDRED
             THIRTEENTH THOUSAND.

            So, here, we face the most shocking and disturbing question, how in the world
            can the, July 30, 2019. ORDER at this point after subtracting the amount
            $368,580.00 from $370,293.00. it absurdly grows to become $1,713,000.00,
            (ONE MILLION AND SEVEN HUNDRED THIRTEENTH THOUSAND

    7.       But even more shocking and troubling is the question how on earth would the same
             absurd,fraudulently amount of $1,713,000.00,(ONE MILLION AND SEVEN
             HUNDRED THIRTEENTH THOUSAND continue to appear almost in all the
             Motion, sworn statements, affidavits, petitions, in multiple courts.

    8.       Equally, on 04/29/2022 Defendants Filed a motion, the, WIFE'S MOTION TO
             BIFURCATE(FOR ENTRY OF FINAL JUDGMENT FOR DISSOLUTION OF
             MARRIAGE)AND FOR OTHER RELIEF INCIDENT THERETO ... in part:
             Pursuant to tlie Court's Temporary Relief Order dated July 30.2019(Exhibit"A"
             hereto), the Husband became obligated to pay alimony in the nature of support in the
             amount of$3,000($1,000 of which was to be applied toward his arrearages and
             $2,000 for the alimony per month) along with an amount of attorney's fees and costs
             also in the nature of support in the amount of $10,000.

     9.      To keep the fraud going The Defendants Willfully and maliciously continue to

             repeatedly quote the ... net assets amount, with the added 3 zeros that Changed




    ^ See page 4 of 20 of Husband's financial affidavit filed 6/6/2018 attached as Exhibit A
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          that same amount to be read $1,713,000.00, insted $1,713.00 the difference of3

          zeros




    10.   Similarly, Margalit schneorson has defrauded various authorities the IRS, Florida S.

          Sale Tax, creditors, contractors, various businesses out of millions of dollars.


    11.   The lawyers representing Margalit schneorson knew that the lawsuit was/is a fraud it

          was brought by a fraudster lawyer with a history offraudulent scams, and it was based

          on their repeatedly quoting the net assets amount, by adding the 3 zeros, which

          Changed that same amount to be read $1,713,000.00, insted $1,713.00, the difference

          of 3 zeros .



    12.   In furtherance of the scheme to defraud alleged herein and in furtherance of their

          common illegal aims BARRY S. FRANKLIN, OLIVIA RETENAUER, repeatedly

          portrayed Mrs. schneorson as a destitute, penniless plaintiff. Even in the bankruptcy

          court, the enterprise of Mrs.scheneorson, barry s. franklin and associate p.a. have again

          falsely portrayed Mrs. schneorson as desperate, for the blatantly obvious purpose to

          distort the court's view from the racketeering scheme being perpetrated by the very

          people pretending to be offended.


                                 JURISDICTION AND VENUE



    13.   This is an action brought pursuant to the Racketeering Influenced Corrupt

          Organizations Act, 18 U.S.C.§ 1961, el seq.      This court has supplemental jurisdiction

          over Plaintiffs state law claims under 28 U.S.C. 1367(a)


    14.   The Defendants are subject to personal jurisdiction in this State pursuant to 18 U.S.C.

          § 1965(d), and are also subject to personal jurisdiction in that they either reside in this
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          State, engage in the transaction of business in this State and/or engaged in substantial

          activities within the State and/or committed a tortious act within this State. This Court

          has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 insofar as this is an action

          arising under the laws of the United States.


    15.   Venue is proper in the Eastern District ofNew York pursuant to 28 U.S.C.§ 1391(b)(i)

          and (2) and (d) in that a substantial part of the events or omissions giving rise to the

          claims made in this action occurred in this District. In addition, pursuant to 18 U.S.C.

          § 1965(a), venue is proper in this district as one ofthe Defendants resides in this district,

          one of the Defendants acts as an agent for the other Defendants in this district, and all

          of the Defendants transact their affairs in this District.



                                           THE PARTIES



    16.   Plaintiff, MENACHEM MENDEL SCHNEORSON, residing at 1553 union st Apt #2

          Brooklyn NY 11213


    17.   Defendant BARRY S. FRANKLIN, having an address at 3590 Mystic Pointe Drive,

          Aventura, Florida 33180


    18.   Defendant BARRY S. FRANKLIN & ASSOCIATE P.A. ,upon information and belief

          is an unincorporated entity doing business in the State of Florida with its principal

          place of business located at 3590 Mystic Pointe Drive, Aventura, Florida 33180


    19.   Defendant OLIVIA RETENAUER, having an address at 3590 Mystic Pointe Drive,

          Aventura, Florida 33180

    20.   Defendant FURR AND COHEN,P.A. One Boca Place, Suite 419A 2255 Glades Road

          Boca Raton, FL 33431
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    21.   Defendant Alan R. Crane, Esq. One Boca Place, Suite 419A 2255 Glades Road Boca

          Raton, FL 33431



    22.   Defendant MARGALIT SCHNEORSON having an address at 81 kehilat warsha tel

          aviv-Jaffa state ofIsrael 6972201 but falsely using among other addresses this address:

          1125 Ne 6st Hallandale Beach Florida 33009



    23.   Defendant MICHAEL H. COHEN having an address at 1125 ne 6st Hallandale beach

          Florida 33009



    24.   Defendant COHEN & SCHNEORSON INVESMENT LLC



    25.   The Defendants JOHN DOE #1 through #10 are fictitious names representing persons

          of both gender, whose real names and identities are currently unknown to Plaintiff, and

          who have conducted and participated in, and conspired, confederated and agreed with

          the Defendants to conduct and participate in the affairs of the Enterprise through a

          pattern of racketeering activities in violation of 18 U.S.C. § 1962 (c) and (d), as more

          fiilly described below and to injure Plaintiff in his business and property by reason

          thereof. The Defendants are individuals capable of holding a legal or beneficial interest

          in property and are therefore "persons" within tlie meaning of 18 U.S.C. § 1961(3).

    26.   Defendant XYZ Corporations #1 through # 10 are corporations, partnerships and other

          business entities or organizations whose real names and identities are currently

          unknown to Plaintiff, and who have conducted and participated in, and conspired,

          confederated and agreed with the Defendants to conduct and participate in the affairs

          of the Enterprise through a pattern of racketeering activities in violation of 18 U.S.C. §

          1962 (c) and (d), as more fully described below and to injure Plaintiff in his business
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          and property by reason thereof. The Defendants are entities capable of holding a legal

          or beneficial interest in property and are therefore "persons" witliin the meaning of 18

          U.S.C.§ 1961(3).

  THE DEFENDANTS CONDUCTED A RICO ENTERPRISE THROUGH A PATTERN
  OF RACKETEERING ACTIVITY IN FURTHERANCE OF THEIR CONSPIRACY TO
        VIOLATE 18 U.S.C.$ 1962(c).IN VIOLATION OF 18 U.S.C.$ 1962(d)



    18.   At all relevant times, DEFENDANTS Barry S.Franklin & associate P.A, Barry s.

          Franklin. Olivia Retenahuer, Margalit Schneorson and Michael H. Cohen, COHEN &

          SCHNEORSON INVESMENT LLC., (collectively referred to herein as the

          "Defendants" or"RICO Defendants") were associated in fact together for the common

          purpose of engaging in the course ofconduct described herein. Defendants formed and

          conducted an association-in-fact which operated as a RICO "enterprise" (herein after

          the "Enterprise") within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c) & (d) and

          which was engaged in, and whose activities affected interstate and foreign commerce.

          The individuals and entities that associated together to form this association-in-fact

          enterprise functioned as a continuing unit.

    19.   At all relevant times, and from at least March of2013 to the present time, the Defendants

          were associated with the Enterprise and conducted or participated, directly or indirectly,

          in the management and operation of the affairs of the Enterprise through a "pattem of

          racketeering activity" within the meaning of 18. U.S.C. § 1961(5). The acts constituting

          the "pattem of racketeering activity" were horizontally related to each other and were

          connected in their nature and purpose to each other and to other acts of racketeering by

          virtue of common participants, their relationship to the same Enterprise, a common

          victim (the Plaintiff), a common method of commission, and the common puipose and

          common result of defrauding and causing injury to the Plaintiff. The acts constituting
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          the pattern ofracketeering activity were vertically related to the Enterprise. The pattern

          of racketeering activity engaged in and conducted by the Defendants has been

          continuous from at least March 2013 to date. Moreover, the pattern of racketeering

          activity committed by the Defendants is open-ended, in that it has no predetermined end

          date, and is continuous in that the scheme is and was the Defendants' regular way of

          operating and conducting themselves and/or their ongoing business and thus there exists

          the threat of continuing long-term racketeering activity.

    20.   Each Defendant has conducted or participated, directly or indirectly, in the management

          and operation ofthe affairs ofthe Enterprise through a "pattern ofracketeering activity"

          tlirough the cormnission of multiple acts of racketeering, ineluding acts of"mail fraud"

          in violation of 18 U.S.C, 1341,"wire fraud" in violation of 18 U.S.C. § 1343, extortion

          and eonspiraey to commit and attempted extortion in violation of 18 U.S.C. §1951.

    21.   At all relevant times, Defendants were associated with the enterprise and agreed and

          conspired to violate 18. U.S.C. § 1962(c), that is, the Defendants conspired,

          confederated and agreed together to conduct and participate, directly and indirectly, in

          the conduct ofthe affairs ofthe enterprise through a pattern of racketeering activity, all

          in violation of 18 U.S.C. § 1962(d).

    22.   Plaintiff has suffered substantial injury to his business and property by reason of, and as

          the result of, the Defendants' commission of the enumerated racketeering acts in

          furtherance of the Defendants' conspiracy to violate of 18 U.S.C. § 1962(c), all in

          violation of 18 U.S.C. § 1962(d) and § 1964(c).
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          THE DEFENDANTS'SCHEME TO DEFRAUD THE PLAINTEFF AND TO
      OBTAIN HIS PROPERTY THROUGH EXTORTION INCLUDING BUT NO
             LIMITED TO USING FRAUDULENT CONTEMPT OF COURT
                                      PROCEEDINGS



    23.     The RICO Defendants, acting together in concert and conspiracy, have participated in a

            continuously running scheme, dating from at least 2013 and lasting to present time, in

            which, acting jointly and severally, they have, among other acts, made fraudulent

            property conveyances,arranged for and obtained fraudulent mortgages,committed bank

            fraud, insurance fraud, bankruptcy fraud, forgery and extortion in order to achieve and

            conceal their scheme to defraud.


            24.     As part of the RICO Defendants' scheme and artifice to defraud

            OnlO/29/2021 Wife's Motion for the issuance of this WRIT OF NE EXEAT is

            granted WRIT OF NE EXEAT IN PART: IT IS FURTHER ORDERED that the

            Wife's Motion for the issuance of this Writ is granted conditioned upon the Wife

            posting a bond with the Clerk of the Broward Court in the amount of:



                                                FACTS



    25.     In 2013 the defendants Margalit schneorson and Michael H. cohen began and were

            active in creating a partnership business of Airbnb and rental homes, with the property

            purportedly belonging to Michael H. Cohen.


    26.     Immediately thereof Michael H. cohen move to the resident of the plaintiff at 1125 Ne

            6st Hallandale Beach florida 33009 .



    27.     Immediately thereof Michael H. cohen move to the resident of the plaintiff at 1125 Ne

            6st Hallandale Beach florida 33009 with a clear agreement that Mr. cohen will pay

            rent to Margalit schneorson, with delayed conditions for his stay and living in Margalit
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           schneorson's property.


     28.   In fact, since 2013 the partnership business paid the whole of mortgage and the

           property tax and all the expenses of the Mr. cohen home.


     29.   Beginning at 2015 the defendants       Margalit schneorson and Michael H. cohen

           registered said business as "cohen&sehneorson investment LLC., and naming as

           partners Margalit and Cohen.


     30.   In 2015 the LLC., corporation purchased property located at 17530 NE 7 court Miami

           FL 33162.



     31.   In 2015 the LLC corporation purchased property located at 17530 NE 7 court Miami

           FL 33162 and took Mortgage on subject property.


     32.



     33.   The LLC Corporation, ware current with the mortgage payments until the date it was

           sold at March 19, 2021.


     34.   On or about 5.9.2017 margalit schneorson commenced an action of divorce and child

           support and alimony against Menachem Mendel Schneorson.


     35.   On or about 5.9.2017 margalit schneorson commenced an action of divorce and child

           support and alimony in her petition she stated as followe in pertinent part:


           ("the wife previously had a successful fashion business for nine years in new York").

           However, everywhere in the case she claims that plaintiff Menachem mendel

           schneorson is a sole income provider
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     36.   In June 5 2018 margalit schneorson filed her financial affidavit in the divorce action.


           On June 5 2018 margalit schneorson filed her financial affidavit in the divorce action,

           falsely claiming that she works by Michael cohen despite the fact that she was a partner

           with Michael cohen as owners of the Cohen&Schneorson investment LLC.



     37.   Additionally, in the same financial affidavit in section 3 at paragraph A on the question

           of business interest she left it empty showing that she doesn't have any interest of any

           business which she falsely claims that she is a coordinator worker by Michael cohen

           despite the fact that she was equal owner with him in the Cohen&Schneorson

           investment LLC.


     38.   On 7/10/2019 the wife filed an ex parte motion, seeking to order the husband to pay

           $300,000 in 5 days, for her part of the marital asset that was purportedly sold by the

           husband,in that motion She misrepresent to the court in her affidavit, likewise her

           partner Michael cohen misrepresent The Ground for such relife, to the court, stating

           that menachem schneorson admitted in his deposition that the certain property

           belong to him even though not under his name or Margalit name.


     39.   To make the fraud work the wife's affidavit in paragraph 4-5 identifies the property,

           as certain new York property without giving any address, however,she added as an

           exhibit, the letter from her lawyer, said letter speaks only about .. 719 Eastern

           parkway.


     40.   However, further in paragraph 7 she twisted the story stating that she recently

           learned that the certain new York property that was sold is located ... at 1257

           ocean parkway.
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     41.   Consequently,.on 7/19/2019 Based on the wife's affidavit and her partner Michael

           cohen affidavit, which was deliberately planned and carefully executed, the court

           made an order to freeze money of the third party ofsaid sell, the wife and her partner

           Michael cohen made that fraudulent affidavit to get the fraudulent order to freeze

           the money.


     42.   On 7/19/2019 the court granted the ex parte motion base on the fraudulent affidavits.


     43.   On 7/26/2019 the husband responded to the order stating that he has no investment or

           connection to that property.


     44.   On 10/29/2021 Wife's Motion for the issuance of this WRIT OF NE EXEAT is

           granted WRIT OF NE EXEAT IN PART: IT IS FURTHER ORDERED that the

           Wife's Motion for the issuance of this Writ is granted conditioned upon the Wife

           posting a bond with the Clerk of the Broward Court in the amount of:

     45.   In furtherance of Defendants, unethical and immoral conduct,including without

           limitation their continuing fraud on the court that involved the most egregious

           litigation misconduct imaginable On March 18, 2022 Defendant FURR and

           Defendant COHEN,P.A. Alan R. Crane, Esq., Submitted a motion to with its 8

           Exhibit UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF

           NEW YORK said motion is primarily based on defendants fabricated a fraud

           scheme, by blatantly adding, tliree zeros to husband's total net worth $1,713.00 and

           change it by adding, three zeros to become $1,713,000.00..

     46.   Said motion with its 8 Exhibit is attached hereto as Exhibit B and incorporated herein

           by reference.
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     47.   Similarly, on 04/29/2022 Defendants Filed a motion the, WIFE'S MOTION TO

           BIFURCATE(FOR ENTRY OF FINAL JUDGMENT FOR DISSOLUTION OF

           MARRIAGE)AND FOR OTHER RELIEF INCIDENT THERETO ... in part;

           Pursuant to the Court's Temporary Relief Order dated July 30.2019(Exhibit"A"

           hereto), the Husband became obligated to pay alimony in the nature ofsupport in the

           amount of$3,000(S1,000 of which was to be applied toward his arrearages and

           $2,000 for the alimony per month) along with an amount of attorney's fees and costs

           also in the nature of support in the amount of$10,000.



     48.   At all relevant times, and from at least middle of 2013 to the present time, the

           Defendants were associated with the Enterprise and conducted or participated, directly

           or indirectly, in the management and operation of the affairs of the Enterprise through

           a "pattern of racketeering activity" within the meaning of 18. U.S.C. § 1961(5). The

           acts constituting tlie "pattern ofracketeering activity" were horizontally related to each

           other and were connected in their nature and purpose to each other and to other acts of

           racketeering by virtue of common participants, their relationship to the same

           Enterprise, a common victim (the Plaintiff), a common method of commission, and the

           common purpose and common result of defrauding and causing injury to the Plaintiff

           and his family, the acts constituting the pattern ofracketeering activity were vertically

           related to the Enterprise. The pattern ofracketeering activity engaged in and conducted

           by the Defendants has been continuous from at least on middle of 2013. to date.


     49.   Moreover, the pattern of racketeering activity committed by the Defendants is open-

           ended, in that it has no predetermined end date, and is continuous in that the scheme is

           and was the Defendants' regular way of operating and conducting themselves and/or
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             their ongoing business and thus there exists the threat of continuing long-term

             racketeering activity.


     50.     Each Defendant has conducted or participated, directly or indirectly, in the

             management and operation of the affairs of the Enterprise through a "pattern of

             racketeering activity" through the commission of multiple acts of racketeering,

             including acts of"mail fraud" in violation of 18 U.S.C, 1341,"wire fraud" in violation

             of 18 U.S.C. § 1343, extortion and conspiracy to commit and attempted extortion in

             violation of 18 U.S.C. §1951.


     51.     At all relevant times, Defendants were associated with the enterprise and agreed and

             conspired to violate 18. U.S.C. § 1962(c), that is, the Defendants conspired,

             confederated, and agreed together to conduct and participate, directly and indirectly, in

             the conduct ofthe affairs ofthe enterprise through a pattem of racketeering activity, all

             in violation of 18 U.S.C. § 1962(d).


     52.     Plaintiff has suffered substantial injury to his business and property by reason of, and

             as the result of, the Defendants' commission of the enumerated racketeering acts in

            furtherance of the Defendants' conspiracy to violate of 18 U.S.C. § 1962(c), all in

             violation of 18 U.S.C. § 1962(d) and § 1964(c).

                              AS AND FOR FIRST CAUSE OF ACTIO

                                   ( AGAINST ALL DEFENDANTS)
                            FEDERAL CIVIL RICO,18 U.S.C.§ 1962(c)
     51.             Plaintiff repeats, realleges, and incorporates herein by reference the preceding
     paragraphs as if set forth fully herein.
     52.    Defendants (collectively,"RICO Defendants") violated RICO and Plaintiff was

            injured as a result.
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     53.    Each RICO Defendant is a "person" capable ofholding legal or beneficial interest in

            property within the meaning of 18 U.S.C. § 1961(3).

     54.    Each RICO Defendant violated 18 U.S.C. § 1962(c) by the acts described in the prior

            paragraphs, and as further described below.

     55.    The Enterprise. RICO Defendants form an association-in-fact for the common and

            continuing purpose described herein and constitute an enterprise within the meaning

           of 18 U.S.C. § 1961(4), and engaged in the conduct of their affairs through a

           continuing pattern of racketeering activity. There may also be other members ofthe

           enterprise who are unknown at this time.

     56.   Pattern of Racketeering Activitv. RICO Defendants, each of whom are persons

           associated with, or employed by, the enterprise, did knowingly, willfully and

           unlawfully conduct or participate, directly or indirectly, in the affairs of the enterprise

           through a pattern of racketeering activity within the meaning of 18 U.S.C. §§

           1961(1), 1961(5), and 1962(c). The racketeering activity was made possible by RICO

           Defendants' regular and repeated use of the facilities and services of the enterprise.

           RICO Defendants had the specific intent to engage in the substantive RICO violations

           alleged herein.

     57.   Predicate Act: Use of Mails and Wires to Defraud Plaintiff in Violation of 18 U.S.C.

              1341 and 1343. RICO Defendants committed acts in violation of 18 U.S.C. §§

           1341 and 1343 in that they devised or intended to devise a scheme to defraud Plaintiff

           and other parties or to obtain money from Plaintiff by means of false or fraudulent

           pretenses, representations or promises. For the purpose ofexecuting their scheme or

           artifice, RICO Defendants caused delivery of various documents and things by the
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            U.S. mails or by private or commercial interstate earners or received such therefrom.

            RICO Defendants also transmitted or caused to be transmitted by means of wire

            communications in interstate or foreign commerce various writings, signs and signals.

            The acts of RICO Defendants set forth above were done with knowledge that the use

            of the mails or wires would follow in the ordinary course of business or that such use

            could have been foreseen, even if not actually intended. These acts were done

            intentionally and knowingly with the specific intent to advance RICO Defendants'

            scheme. RICO Defendants carried out their scheme in different states and could not


            have done so unless they used the U.S. mails or private or commercial interstate

            carriers


     58.    or interstate wires. In furtherance of their scheme alleged herein, RICO Defendants

            communicated among themselves in furtherance of the scheme to defraud Plaintiff

            and others. Plaintiff is informed and believes that these communications were


            typically transmitted by wire (i.e., electronically) and/or through the United States

            mails or private or commercial earners.

     59.               More specifically, RICO Defendants used wire and/or U.S. mail or private or

     commercial carriers to transmit payments, correspondence, and purported litigation

     documents for the purpose of continuing their fraudulent scheme.

     60.    RICO Defendants' shared objective was and is to divert funds to their own benefit

            and to facilitate the payment of illegitimate litigation.

     61.    As a direct and proximate result of RICO Defendants' false representations, false

            pretenses and deceptive communications and RICO Defendants' participation in such

            enterprise, Plaintiff has been damaged in being required to defend against the
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           confirmation of numerous illegitimate litigation nationwide.

     62.   Continuity ofConduct. RICO Defendants' violations oflaw as set forth herein, each

           of which directly and proximately injured Plaintiff, constituted a continuous course of

           conduct spanning a period from approximately early 2013 to present, which was

           intended to obtain money through false representations, fraud, deceit, and other

           improper means. Therefore, said violations were a part of a pattern of racketeering

           activity under 18 U.S.C. §§ 1961(1)and (5).

     63.   Upon information and belief, RICO Defendants have conducted and/or participated,

           directly and/or indirectly, in the conduct of the affairs of the alleged enterprise

           through a pattem of racketeering activity as defined herein in violation of 18 U.S.C. §

           1962(c). The unlawful actions of RICO Defendants, and each of them, have directly,

           illegally, and proximately caused and continue to cause injuries to Plaintiff in its

           business in that Plaintiff has been compelled to expend resources and has suffered

           damage to its business interests and reputation as a result ofsuch racketeering

           activity. Plaintiff seeks an award of damages in compensation for the injury. Plaintiff

           accordingly seeks an award of three times the damages it sustained, and the recovery

           of reasonable attorneys' fees and costs of investigation and litigation, as well as any

           other relief as authorized by statute

                     64.     AS AND FOR SECOND CAUSE OF ACTION

                            65.    ( AGAINST ALL DEFENDANTS)
                      66.     FEDERAL CIVIL RICO,18 U.S.C.§ 1962(D)
     67.   Plaintiff repeats, realleges, and incorporates herein by reference the preceding

           paragraphs as if set forth fully herein.

     68.   In violation of 18 U.S.C. § 1962(d), RICO Defendants, and each of them, knowingly.
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           willfully, and unlawfully conspired to facilitate a scheme which included the

           operation or management of a RICO enterprise through a pattern ofracketeering

           activity

     69.   as alleged above. The conspiracy commenced at least as early as early 2013 and is

           ongoing. The conspiracy's purpose was to divert money from Plaintiff and third

           parties to their own benefit via fraudulent litigation awards. Each of the RICO

           Defendants committed at least one overt act in furtherance ofsuch conspiracy.

     70.   These acts in furtherance ofthe conspiiacy include creating and transmitting false

           litigation documents, participating in illegitimate litigation ,and facilitating the

           payment of monies to Sitcomm and the "arbitrators" via wire transfer.

     71.   Even if any of the RICO Defendants did not agree to harm Plaintiff specifically, the

           purpose of the acts they engaged in was to advance the overall object ofthe

           conspiracy, and the harm to Plaintiff was a reasonably foreseeable consequence of

           RICO Defendants' actions.


     72.   Plaintiff has been injured and continues to be injured in its business and property by

           RICO Defendants' conspiracy in violation of 18 U.S.C. § 1962(d). The unlawful

           actions of RICO Defendants, and each of them, have directly, illegally, and

           proximately caused and continue to cause injuries to Plaintiff in its business or

           property in that Plaintiff has been compelled to expend resources and has suffered

           damage to its business interests and reputation as a result ofsuch racketeering

           activity.

     72.   Plaintiff seeks an award of damages in compensation for the injury suffered. Plaintiff
           further seeks an award ofthree times the damages it sustained, and the recovery of
           reasonable attorneys' fees and costs of investigation and litigation, as well as any
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            other relief as authorized.




                                          PRAYER FOR RELIEF


     WHEREFORE,plaintiff demandsjudgment against defendants,jointly and severally, as

     follows:
            (i) On the First Cause of Action, pursuant to 18 U.S.C. § 1962(d) and § 1964(c),

            awarding Plaintiff threefold his damages sustained in a sum to be determined at trial,

                but believed to be not less than five million dollars($15,000,000) and reasonable

            attorneys' fees, costs and prejudgment interest; and

                (ii) Awarding such other and further relief as this Court deems just and proper.


            New York,


                     /h .P
            Dated Brooklyn New York
                       Junejj, 2022
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                               Exhibit



                                   // A //
                                      A
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Filing # 73200483 E-Filed 06/06/2018 06:19:29 PM


                   IN THE CIRCUIT COURT OF THE 17™ JUDICIAL CIRCUIT,IN AND FOR
                                    BROWARD COUNTY,FLORIDA


         IN RE:The Marriage of:                                   FAMILY DIVISION

         MARGALIT SCHNEORSON,                                     CASE NO.: FMCE 17-011569

                 Petitioner/Wife,                                 DIVISION 36
         and



         MEN ACHEM SCHNEORSON,

                 Respondent/Husband.


                HUSBAND'S NOTICE OF FILING PRELIMINARY FINANCIAL AFFIDAVIT

               The Respondent/Husband, MENACHEM SCHNEORSON, by and through his
        undersigned counsel,files this, his Preliminary Financial Affidavit.

               I HEREBY CERTIFY that on this 6^ day of June? 2018,a true and correct copy of the above
        and foregoing was electronically served in compliance with Rule 2.516(a) and Administrative
        Order 13-49 through Florida Courts E-filing Portal to Email bffanldin@barrvsfranklin.com upon
        Barry S. Franklin, Esq., BARRY S. FRANKLIN & ASSOCIATES, P.A., Attorneys for Wife, 3590
        Mystic Pointe Drive, Aventura,Florida 33180.


                                                   KLUGER,KAPLAN,SILVERMAN,
                                                   KATZEN & LEVINE,P.L.
                                                  Attorneys for Husband
                                                  201 S. Biscayne Boulevard
                                                  Twenty Seventh Floor
                                                   Miami,FL 33131
                                                  Telephone:        (305)379-9000
                                                  Facsimile:        (305) 379-3428


                                         By:                        /S/.
                                                  DEBORAH S. CHAMES,ESQUIRE
                                                  Florida Bar No.: 311448
                                                   MELISSA S. CHAMES,ESQUIRE
                                                  Florida Bar No.: 074335
                                                  Primary:     Service@klugerkaplan.com
                                                  Secondary 1: DChames@KIugerKaplan.com
                                                  Secondary 2: MChame9@KlugerKaplan.com
                                        KLUGER, KAPLAN,SILVERMAN,KATZEN & LEVINE, P.L
        THECITIGROUPCENTER •• 201 SOUTH BISCAYNE B0ULEV.ARD,27rH FLOOR, MIAMI.FLORIDA 3.U31"T.305-379-9000 F.30M79-3428
                      2000 GLADES ROAD,SUITE 30a BOCA RATON,FLORIDA 33431 "T.561-962-3135 •• P.561-61 >4100
                                                     ww\v.klugerkaplan.com


           *** FILED: BROWARD COUNTY,FL BRENDA D. FORMAN, CLERK 6/6/2018 6:19:27 PM****
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                     IN THE CIRCUrr COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                                     IN AND FOR BROWARD COUNTY.FLORIDA


       IN RE: THE MARRIAGE OF:                                    Case Number: FMCE 2017-011569
       MENACHEM SCHNEORSON,                                       Division: FAMILY
       Husband,
       and
       MARGALrr SCHNEORSON,
       Wife.

                   HUSBAND'S PRELIMINARY FINANCIAL AFFIDAVIT(LONG FORM)
                                         ($ 50,000 or more Individual Gross Annual Income)

       I, MENACHEM SCHNEORSON, being swom,certify that the following information is true.

        SECTION I. INCOME


       1. My age is: 52
       2. My Occupation is: Supervisor for Kosher
       3. I am currently[X all that apply]
            a. Unemployed
       Describe your efforts to find employment, how soon you expect to be employed, and the pay you expect to receive.




       2— b: Employed by: SHAIKE'S CATERING                                           Telephone:
       Address: 4238 Hollywood Boulevard, Hollywood, PL
       Pay rate: $                                                           Pay Period: Monthly
       If you are expecting to become unemployed or change jobs soon, describe the change you expect and why and
       how it will affect your income:




             _Check here if you currently have more than one job. List the information above for the second job(s)
      on a separate sheet and attach it to this affidavit.




                                                                                                     Page 1
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              c. Retired.
                  Date of Retirement:
     Employer from whom retired :
                               Address:

              City, State and Zipcode:
                  Telephone Number:


     LAST YEAR'S GROSS INCOME;                    Your Income                        Other Party's (IfKnown)
                                                S 14,209.00                        $ UNKNOWN
            Year Income was generated:                    2017                                2017

            SECTION       I. PRESENT MONTHLY GROSS INCOME:
             All amounts must be MONTHLY:                                                                  Footnote No.

     1.$       1,184.08 Monthly gross salary or wages                                                           1
    2.             Q QQ Monthly bonuses, commissions, allowances, overtime, tips, and similar payments
                          Monthly business income from sources such as self-employment, partnerships,
     3.          622.50 close corporations,and/or independent contracts(Gro^ receipts minus ordinary          2
                          and necessary expenses required to produce Income.) (Attach sheet itemizing
                          such income and expenses.)
    4.           500.00 Monthly disability benefits/SSI                                                       3
    5.             0.00 Monthly Workers' Compensation
    6.             0.00 Monthly Unemployment Compensation
    2-             O OP Monthly pension, retirement, or annuity payments
     8.            0.00 Monthly Social Security benefits
                          Monthly alimony actually received
                                           9a. From this Case:         $          0^
    9.            0.00                     9b. From other case(s):                0.00 Add 9a and 9b
    10.           0.00

                        Monthly rental income (gross receipts minus ordinary and necessary expenses
    11.            0.00 required to produce income)(□ Attach sheet itemizing such Income and expense items)
                   0.00
    12.           0.00

                       Monthly reimbursed expenses and in-kind payments to the extent that they
    13.           0-00 reduce personal living expenses
                  0.00

    14.           0.00

    15.        1,000.00                                                                                       13
    16.                   Mr. tCaye loans the Husband $1,000.00 monthly for his living expenses.
    17. S     3,306.58
              3,306.58    total PRESENT MONTHLY GROSS INCOME (Add lines 1 -16)




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     17.$       3,306.58 PRESENT MONTHLY GROSS INCOME                      (From prior Page)


                           PRESENT MONTHLY DEDUCTIONS:

                           All amounts must be MONTHLY.

                           Monthly federal, state and local income tax (corrected for filing status and
                           allowable dependents and income tax liabilities)
                                                                                                          Footnote No.
                                 a. Filing Status      SQL
     18.           76.26         b. Number ofdependents claimed                0
     19.          161.37 Monthly FICA or self-employment taxes
     20.           17.17 Montlily Medicare payments
     21.            O.OO Monthly mandatory union dues
     22.            0.00 Monthly mandatory retirement payments
                           Monthly health insurance payments(including dental insurance), excluding
     23.            O OP portion paid for any minor children of this relationship
                           Monthly court-ordered child support actually paid for children from another
     24.           0.00 relationship
                           Monthly court-ordered alimony actually paid
                                            25a. from this case:    $            0.00
     25.            0.00 Add 25a and 25b 25b from other case(s):                 0.00
                           TOTAL DEDUCTIONS ALLOWABLE UNDER SECTION 61.30,
     26.S        254.80       FLORIDA STATUTES (Add lines 18 through 25)
     27.S      3,051.78 PRESENT NET MONTHLY INCOME                      (Subtract line 26 from line 17)




                                                                                                     Pnge 3
     Florida Family Law Rules of Procedure Form J2.902(c), Family Law Financial Affidavit (01/15)
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      SECTION 11. AVERAGE MONTHLY EXPENSES
     Proposed/Esliniotcd Expenses. If this is a dissolution of marriage case and your axpcnscs as listed below do not reflect what you
     actually pay currently, you should write "estimate" ne.xt to each amount that is estimated.

      HOUSEHOLD

                          790.32 Mortgage or Rent Payments                                           6 Payment is made to Wells
                                                                                                         Fargo for the first mortgage
                                                                                                         on the property located
                                                                                                         1125 N.W. 6th Street,
                                                                                                         Flallandale, PL 33009
       2.                 300.00 Property Taxes(Not in Payment)                                      7 $3,600.00 annually.
       3.                 333.33 Insurance on Residence(Not in Pmt.)                                 8 $4,000.00 annually.
       4.                    0.00 Condo/Homeowner's Maint/Assoc Fees
       5.                200.00 Electricity
       6.                140.00 Water, Garbage and Sewer
       7.                  0.00 Telephone
       8.                  40.00 Fuel Oil or Natural Gas
       9.                  75.00 Repairs and Maintenance
      10.                  50.00 Lawn Care
      1 1.                125.00 Pool Maintenance
      12.                   0.00 Pest Control
      13.                   0.00 Misc. Household
      14.                  70.00 Cable TV                                                            9 This expense includes
                                                                                                         internet.
     15.                 300.00 Food and Home Supplies                                             10 This expense is for the
                                                                                                      Husband only.
     16.                 120.00 Meals Outside Home
     17.                 36.00 Alarm Service Contract
     18.                 30.00 Service Contracts on Appliances
     19.                  0.00 Maid Service
     20.                  0.00 Internet Services
     21.              2,609.65 SUBTOTAL (add lines 1 through 20)
     AUTOMOBILE

     ni                  150.00 Gasoline and Oil                                                    4 The Husand currently
                                                                                                        drives a leased 2018
                                                                                                        Hyundai Sonata.
     23.                    0.00 Repairs




                                                                                                                          Page 4
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             SECTION U. AVERAGE MONTHLY EXPENSES

            Proposed/Estimated Expenses. If this is a dissolution ofntairiagc case and your expenses as listed below do not reflect what you
            actually pay currently, you should write "estimate" next to each amount that is estimated.
            AUTOMOBILE

             24.                   20.00 Auto Tags and Emission Testing
             25.                  140.00 Auto Insurance
             26.                 220.00 Car Payments(Lease or Financing")
             27.                   0.00 Auto Rental/Replacement Cost
             28.                   0.00 Alternative Transportation
             29.                  20.00 Tolls and Parking
             30.                 550.00 SUBTOTAL (add lines 22 through 29)
            CHILDREN'S EXPENSE FOR CHILDREN COMMON TO BOTH PARTIES'

             31.                    0.00 Nursery, Babysitting or Daycare
             32.                    0.00 School Tuition
             33.                    0.00 School Supplies and Books, Fees
             34.                    0.00 After School Activities
             35.                    0.00 Lunch Money
             36.                    0.00 Private Lessons / Tutoring
             37. Estimate         100.00 Allowance
             38.                    0.00 Clothing / Uniforms
             39.                    0.00 Entertainment-Movies, Parties, Etc.
             40.                    0.00 Health Insurance                                                    5 Currently under Florida
                                                                                                                Medicaid.
             41.                    0.00 Medical, Dental,Prescriptions(NR)
             42.                    0.00 Psychiatric/Psychological/Counselor
             43.                    0.00 Vitamins
             44.                    0.00 Beauty Parlor/Barbershop
             45.                    0.00 Non-Prescription Medication
             46.                    0.00 Cosmetics/Toiletries and Sundries
             47.                    0.00 Gifts From Children to Others
             48.                    0.00 Vacation
             49.                    0.00 Camp or/and Other Summer Activities
             50.                    0.00 Clubs(Boy/Girl Scouts, Etc)
             51.                    0.00 Time-Sharing Expense Non-Res Parent
             52.                    0.00 Orthodontic




'Parties' daughter is over 18 years old and lives with family in New York during the school year. They provide
 her with food and housing. The Husband provides her with food and housing when she visits him in Miami.
 Her health insurance is covered through Healthy Kids.
                                                                                                                                  Page 5
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      SECTION n. AVERAGE MONTHLY EXPENSES
     Proposed/Estimated ENpenses. Ifthis is a dissolution of marriage case and your expenses as listed below do nut rcHcul what yuu
     actually pay currently, you should write "estimate" next to each amount that is estimated.

     CHILDREN'S EXPENSE FOR CHILDREN COMMON TO BOTH PARTIES

     53.                     0.00 Miscellaneous
     54.                 100.00 SUBTOTAL (add lines 31 through 53)
     CHILD(R£N) ANOTHER RELATIONSHIP (OTHER THAN COURT-ORDERED CHILD...

     55.                     0.00 There are none
     56.                    0.00 SUBTOTAL (add lines 55 through 55)
     INSURANCE

     57.                     0.00 Health Insurance-Excluding Children
     58.                   50.00 Life Insurance
     59.                     0.00 Dental Insurance
     60.                  50.00 SUBTOTAL (add lines 57 through 59)
     OTHER MONTHLY EXPENSES NOT LISTED ABOVE

     61.                   25.00 Dry Cleaning & Laundiy
     62.                   25.00 Clothing                                                         11 Husband buys his clothes at
                                                                                                       Goodwill.
     63.                   15.00 Medical/Dental/Prescriptions(NR)
     64.                    0.00 Psychiatric/Psychological/Counselor
     65.                    0.00 Non-Prescription Medications
     66.                   10.00 Cosmetics, Toiletries, Sundries
     67.                    4.00 Grooming
     68.                   42.00 Gifts
     69.                    0.00 Pet Expenses
     70.                    5.00 Club Dues and Memberships                                        12 LA Fitness.
     71.                    0.00 Sports and Hobbies
     72.                   60.00 Entertainment
     73.                    0.00 Periodicals/Books/Tapes/CD's
     74.                    0.00 Vacations
     75.                   50.00 Religious Organizations
     76.                    0.00 Bank Charges/ Credit Card Fees
     77.                    0.00 Education Expenses




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      SECTION XL             AVERAGE MONTHLY EXPENSES
     Proposed/Estimated Expenses. If this is a dissolution of marriage case and your expenses as listed below do not relkct what yoti
     actually pay currently, you should write "estimate" next to each amount that is estimated.

     OTHER MONTHLY EXPENSES NOT LISTED ABOVE

     78.                   0-00 Professional Expenses
     79.                 236.00 SUBTOTAL           (add lines 61 through 78)




                                                                                                                          Page 7
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      SECTION n. AVERAGE MONTHLY EXPENSES
     Proposed/Estimated Expenses. If this is a dissolution of marriage case and your expenses as listed below do not reilect what you
     actually pay currently, you should write "estimate" next to each amount that is estimated.

     PAYMENTS TO CREDITORS

          80.                   0.00 Wells Fargo(2683)                                                   7 First Mortgage on the
                                                                                                            marital residence. As of
                                                                                                            04/16/18.
          81                    0.00 Barry Kaye                                                          8 Second Mortgage on the
                                                                                                            marital residence.
                                                                                                            Recorded 07/06/17,
                                                                                                            Instrument No.:
                                                                                                            114484686.
          82.                   0.00     Wells Fargo(VISA)(1231)                                        9 As of04/26/18.
          83.                   0.00     Discover(I^H)                                                 10 As of 04/05/18.
          84.                   0.00     Alaska Visa Signature(HI)                                     11 As of 04/24/18.
          85.                   0.00     Barclaycard(I^H)                                              12 As of 04/19/18.
          86.                   0.00      Wells Fargo(0621)                                            13 Line of Credit. As of
                                                                                                          04/09/18.
          87.                   0.00 Capital One                                                       14 As of 04/05/18.
          88.                   0.00     Chase(HI)                                                     15 As of04/20/18.
         89.                    0.00     Barry Kaye                                                    16 Living expenses. This
                                                                                                          debt increases every
                                                                                                            month. $1,000.00
                                                                                                            monthly deposited into
                                                                                                            the Husband's pay pal
                                                                                                            account.

         90.                    0.00     Yaakov Flint
         91.                    0.00 Kluger Kaplan                                                     17 As of05/15/18. This
                                                                                                            amount includes work-in
                                                                                                            -progress.
         92.                    0.00     Markaz Banot 770                                              18 Daughter's school.
         93.                    0.00     New York Life(Loan against insurance)
         94.                    0.00                                                                   19 As of04/19/18
         95.                    0.00     Chabbad of South Florida                                      20 Promissory Note as of
                                                                                                            11/10/17 to pay legal
                                                                                                           fees.
         96.                    Q.OO Barry Kaye                                                        21 Property in New York.
                                                                                                            Amount undetermined at
                                                                                                           this time.


                                                                                                                         Page 8
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             SECTION XL             AVERAGE MONTHLY EXPENSES
            PiDposed/Estimated Expenses. Ifthis is a dissolution of maniage case and your expenses as listed below do not reflect what you
            actually pay currently, you should write "estimate" next to each amount that is estimated.
            PAYMENTS TO CREDITORS                                         '

                  97.                   0.00 Lubavitch
                  98.                   0.00 Nissan Return on Lease
                  99.                   0.00 Past due taxes on marital residence                              22Past due taxes on marital
                                                                                                                  residence for 2017.
                100.                     0.00       SUBTOTAL(add lines 80 through 99)

                101.                            TOTAL MONTHLY EXPENSES:


           SUMMARY


                                                  PRESENT MONTHLY NET INCOME
               102.                3,051.78 (from line 27 ofSECTION I.INCOME)

                                                  TOTAL MONTHLY EXPENSES
                J03.               3,545.65 (from Hncl01. above)
                                                SURPLUS ('fine 102 is greater than line 103)
               104.                             (Subtract line 103 from line 102)


                                                (DEFICIT)('f I'oo 103 is greater than line 102)
               105.                 -493 87 (Subtract line 102 from line 103)-




Deflcit is funded by credit cards and personal loans.
                                                                                                                              Page 9
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       SECTION m. ASSETS AND LIABILITIES

      A. ASSETS;(This is where you list what you OWN.)
          INSTRUCTIONS:
          STEP I: In column A, list a description ofeach separate item owned by you(and/or your spouse, if this is a petition for
          dissolution of marriage).
          STEP 2: If this is a petion for dissolution of marriage, check (he box. in Column A ne,\t to any item that you are requesting
          the judge award you.
          STEP 3: In column B, write what you believe to be the current fair market value of all items listed.
          STEP 4: Use column C only if this is a petition for dissolution of marriage and you believe an item is "nunmarital," meaning
          it belongs to only one of you and should not be divided. You should indicate to whom you believe the item belongs. (Typically,
          you will only use Column C if property was owned by one spouse before the marriage. See the "General Information for
          Self-Rcprescnted Litigants? found at the beginning ofthese forms and section 61.075(1), Florida Statutes, for definitions of
          "marital" and "nonmarital" assets and liablities.)




                                                                                                        B
                      ASSETS: DESCRIPTION OF ITEM(S)                                               Cun-ent               Nonmarital
     LIST ONLY LAST FOUR DIGITS OF ACCOUNT NUMBERS.                                                  Fair
     Check the line next to any asset(s) which you are requesting                                   Market        (BCorrect Column)
     the judge award to you.                                                              FNN        Value        HUSBAND           WIFE
     Cash On Hand and In Banks
   r>cl Wells Fargo(5196)                                                                                    3,488     □             □
        FN# 3 As of 04/10/18.
   [x] Wells Fargo(3353)                                                        82 □                                                 □
       FN# 4 This isjointly held with parties' daughter, Balance as of 04/11/18.
   [x]Wells Fargo(1576)                                         5               21 □                                                 □
        FN# 5 As of03/31/18.
    Totals                                                                                                   3,591
     Stocks and Bonds

   f~|Stock                                                                                                       0 □                □
    Totals




                                                                                                                          Page 10
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                                          A                                             B                     C
                    ASSETS: DESCRIPTION OF ITEM(S)                                  Current             Nonmarital
     LIST ONLY LAST FOUR DIGITS OF ACCOUNT NUMBERS.                                   Fair
     Check the line next to any asset(s) which you are requesting                    Market         (SlCorrect Column)
     the judge award to you.                                                 FNN     Value          husband        wife
     Real Estate Assets

   [x]1125 N.E. 6th Street                                                  23            353,202 □                □
        FN# 23 Per <zillow.com> as of 01/29/18. Titled in the Husband's name.
    Totals                                                                                353,202
     Business Interests
   I I Cohen & Schneorson Investments, LLC                      UNK          1                      0 Q            | |
        FN# 1 Business formed by Wife during the marriage.
   □ ABAL0VE,LLC                                                UNK          2                      0 □            □
        FN# 2 Company may not be operative.
    Totals                                                                                          0
     Transportation Assets
   I 12015 Nissan Ultima (Lease)                                                                    0 Q             | |
    Totals                                                                                          0
     Retirement Assets
   I I Retirement Plan                                                                              0 Q]           | |
    Totals                                                                                          0
     Insurance Assets

   r^n Life Insurance                                                        6               9,000 □               □
        FN# 6 Cash surrender value.
    Totals                                                                                   9,000
     Furniture and Fixtures Assets
   fx\Furniture                                                                              4,000 [H              Q
   flcl Electronics                                                                            500 Q               | |
    Totals                                                                                   4,500
     Tangible Other Assets
   I I Wife's Jewelry                                           UNK                                 0 [I]          CH
   I I Husband's Jewelry                                        UNK                                 0 Q            | |
    Totals                                                                                          0




                                                                                                         Page 11
     Florida Family Law Rules of Procedure Form 12.902(c), Family Law Financial Affidavit (01/15)
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                                                                                            B                    C
                        ASSETS: DESCRIPTION OF ITEM(S)                                  Current            Nonmarital
         LIST ONLY LAST FOUR DIGITS OF ACCOUNT NUMBERS.                                   Fair
        Check the line next to any asset(s) which you are requesting                    Market         (ECorrect Column)
         thejudge award to you.                                                 FNN      Value         HUSBAND       WIFE
         Miscellaneous Assets
    I     I Miscellaneous                                                                              0 □           □
        Totals                                                                                         0
          Total Assets                                                                       370,293




                                                                                                           Page 12
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     B. LIABILITIES/DEBTS:(This is where you list what you OWE.)
        INSTRUCTIONS:
        STEP 1: In column A, list a description of each separate debt owed by you (and/or your spouse, if this is a petition for
        dissolution of marriage).
        STEP 2: If this is a petion for dissolution of marriage, check the box, in Column A next to any debt(s)for which you believe
        you should be responsible.
        STEP 3: In column B,write what you believe to be the current amount owed for all items listed.
        STEP 4: Use column C only if this is a petition for dissolution of marriage and you believe an item is "nonmarital," meaning it
        belongs to only one of you and should not be divided. You should indicate to whom you believe the item belongs. (Typically,
        you will only use Column C if property was owned by one spouse before the maniage. Sec the "General Information for
        Self-Represented Litigants? found at the beginning ofthese forms and section 61.075(1), Florida Statutes,for definitions of
        "marital" and "nonmarital" a-ssets and liablities.)




                                     A                                                             B

               LIABILITIES: DESCRIPTION OF ITEM(S)
     LIST ONLY LAST FOUR DIGITS OF ACCOUNT NUMBERS.                                            Current-                 Nonmarital
     Check the line next to any debt(s)for which you believe you should                        Amount            (^Correct Column)
     be responsible.                                                                  FNN       Owed             HUSBAND            WIFE




     xl Wells Fargo(2683)                                                                7             158,850 □                    □
         FN# 7 First Mortgage on the marital residence. As of 04/16/18.
     2 Barry Kaye                                                                        8               50,000 | |                 □
         FN# 8 Second Mortgage on the marital residence. Recorded 07/06/17, Instrument No.
         114484686.

    H WellsFargo(VISA)(1231)                                                             9               10,590 □                   □
         FN# 9 As of 04/26/18.
    Hn Discover (■■)                                                                   10                 6,296 □                   □
         FN# 10 As of 04/05/18.

     2 Alaska Visa Signature (■■)                                                       11               15,803 Q                   □
         FN# 11 As of 04/24/18.
     2 Barclaycard (0049)                                                               12                7,961 □                   □
         FN# 12 As of 04/19/18.

     2 Wells Fargo (0621)                                                              13                6,461 [□                   □
         FN# 13 Line of Credit. As of 04/09/18.




                                                                                                                     Page 13
     Florida Family Law Rules of Procedure Form 12.902(c), Family Law Financial Affidavit (01/15)
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                               A                                                    B                         C
              LIABILITIES: DESCRIPTION OF ITEM(S)
     LIST ONLY LAST FOUR DIGITS OF ACCOUNT NUMBERS.                              Current               Nonmarital
     Check the line next to any debt(s)for which you believe you should          Amount            (EJCorrect Column)
     be responsible,                                                      FNN      Qwed            husband        wife
    [3 Capital One(Mi)                                                     14             9,591 □                 □
         FN# 14 As of 04/05/18.
    H Chase (2980)                                                         15             5,739 □                 □
         FN# 15 As of 04/20/18.
    [x] BanyKaye                                                           16            50,000                   []]
         FN# 16 Living expenses. This debt increases every month. $ 1,000.00 monthly deposited
         into the Husband's pay pal account.
    Hcl Yaakov Flint                                                                     18,000 Q
    Fx] Kluger Kaplan                                                      17             1,592 Q                 | |
         FN# 17 As of 05/15/18. This amount includes work-in-progress.
    ^ Markaz Banot 770                                                     18             3.000 □                 □
         FN# 18 Daughter's school.
    [2 New York Life (Loan against insurance)                                             7,500                   Q]]
    [x] Citi (■■)                                                          19             4,763 □                 □
         FN# 19 As of 04/19/18
    fin Chabbad of South Florida                                          20              7,500 Q                 | |
        FN# 20 Promissory Note as of 11/10/17 to pay legal fees.
    13 Barry Kaye                                                         21                   ' □                □
        FN# 21 Property in New York. Amount undetermined at this time.
    13 Lubavitch                                                                              1 Q]]               | |
    13 Nissan Return on Lease                                                             1,232 [3                Q
         Past due taxes on marital residence                              22              3,700 □                 □
        FN# 22 Past due taxes on marital residence for 2017.
          Totals For Unsecured Liabilities                                              368,580




                                                                                                    Page 14
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                                             Total Liabilities       368,580



   C; NET WORTH (excluding contingent assets and liabilities)

                                            Total Assets         $   370,293
                                            Total Liabilities        368,580
                      Total Net Worth (Assets minus Liabilities) $     1713
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      D. CONTINGENT ASSETS AND LIABILITIES:

         INSTRUCTIONS:

         If you have any POSSIBLE ASSETS(income potential, accrued vacation or sick leave, bonus, inheritance, etc.)
         or POSSIDILE LIABILITIES (possible lawsuits, future unpaid taxes, debts assumed by another), you must list them here.


                                                                                             B                    C
                              Contingent Assets                                                            Nonmarital
     Check the line next to any contingent assets(s) which you are requesting the       Possible ((xJCoirect Column)
     judge award to you.                                                        PNN      Value          HUSBAND       WIFE

    fxl Supreme Court ofthe City ofNY                                           24       800,000 Q                    PH
           FN# 24 Case No.: 522947/17. 719 Eastern LLC and Menachem Schneorson vs. SYV LLC
           and William Elbogen, Esquire. Subject to interest and penalties.
    nn Loan Sister with Husband                                                 25       200,000 □                    □
          FN# 25 Sister borrowed $200,000.00 against equity of Eastern Parkway building in
           approximately 2007-2008.
         Totals                                                                        1,000,000


                                                                                            B                     C
                              Contingent Liabilities                                    Possible    Nonmarital
     Check the line next to any contingent debt(s) for which youbelieve you             Amount (|x|Correct Column)
     should be responsible.                                                              Owed           HUSBAND       WIFE

    I I Contigent Liability                                                                         on                □
         Totals                                                                                     0
                   Total Net Contingent Assets / Liabilities                           1,000,000




     Florida Family Law Rules of Procedure Form 12.902(c), Family Law Financial Affidavit (01/15)          Page 16
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      E: CHILD SUPPORT GUIDELINES WORKSHEET. Florida Family Law Form 12.902(e). Child Support
          Guidelines Worksheet, MUST be filed with the court at or prior to a hearing to establish or modify child
        support. This requirement can not be waived by the parties.
     10 one only]
     [>n A Child Support Guidelines Worksheet IS being filed in this case. The parties have a minor child(ren) in
           common or one ofthe parties is requesting a modification of a previous court order regarding child support.
      I I A Child Support Guidelines Worksheet IS NOT being filed in this case. There are no minor child(ren) In
           common or, if one of the parties is requesting a modification of a previous court order, child support is not
           an issue.
      I understand that 1 am swearing or affirming under oath to the truthfulness of the claims
      made in this affidavit and that the punishment for knowingly making a false statement
      includes fines and/or imprisonment.

                                                     MENACHEM SCHNEORSON


                                                     , fl
                                                     Telephone
                                                     Telefax
      STATE OF
      COUNTY OF
          Sworn to and signed before me on
      MENACHEM SCHNEORSON

                                                                               Lie - STATE OF

             Personally known
             Produced identification                            Printe / Stamped Name
              Type of identification produced
     I certify that a copy of this document was[check all used]:(X )Emailed( )Mailed
     ( )hand-deljvered( )Faxed and Mailed to the following person(s): BARRY S. FRANKLIN. 3590
     Mystic Pointe Drive, Aventura, FL. 33180, Fax Number: . Email Address: on this 29th day of
     January, 2018

                   GRICEL RODRIGUEZ
               MY COMMlSSiONSFF 968115
                 EXPIRES:April 29,2020                       DEBORAH S. CHAMES
            BotKledTlvuNotaiyPuWteUndwflttefS
                                                             Kluger Kaplan Silverman Katzen & Levine, P.L.
                                                            201 S. Biscayne Boulevard, 27th Floor
                                                            Miami, FL, 33131
                                                            Telephone:
                                                            Telefax:
                                                            Bar Number: 311448

                                                            Designated Email:
                                                            Attorney for Husband



     File Name: SCMNEORSON_AFFIDAVIT                                                                 Page 15
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                                 FOOTNOTES
     Asset and Liability Footnotes
         1   Business formed by Wife during the marriage.
         2   Company may not be operative.
         3   As of   04/10/18.
         4   This is jointly held with parties' daughter.      Balance as
             of   04/11/18.
         5   As of 03/31/18.
         6   Cash surrender value.
         7   First Mortgage on the marital residence.    As of 04/16/18.
         8   Second Mortgage on the marital residence.    Recorded
             07/06/17, Instrioment No.: 114484686.
         9   As of 04/26/18.
        10   As of 04/05/18.
        11   As of 04/24/18.
        12   As of 04/19/18.
        13   Line of Credit.     As of 04/09/18.
        14   As of 04/05/18.
        15   As of 04/20/18.
        16   Living expenses. This debt increases every month.
             $1,000.00 monthly deposited into the Husband's pay pal
             account.

        17   As of 05/15/18. This amount includes work-in-progress.
        18   Daughter's school.
        19   As of 04/19/18
        20   Promissory Note as of 11/10/17 to pay legal fees.
        21   Property in New York.    Amount undetermined at this time.
        22   Past due taxes on marital residence for 2017.
        23   Per <zillow.com> as of 01/29/18. Titled in the Husband's
             name.

        24   Case No.: 522947/17. 719 Eastern LLC    and Menachem
             Schneorson vs. SYV LLC    and William Elbogen, Esquire.
             Subject to interest and penalties.
        25   Sister borrowed $200,000.00 against equity of Eastern
             Parkway building in approximately 2007-2008.
    Income and Expense Footnotes
         1   This is based on the Husband's income for 2017.    The
             Husband's employment for 2018 is the same.
         2   This is based on the Husband's income for 2017.    Income
                                                               Page 1
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                                FOOTNOTES
     Income and Expense Footnotes
             is from Shaikes, LLC; Victor Wine; and other miscellaneous
             jobs.
         3   Husband receives medicaid and food stamps approximately
             $400.00 - $500.00 monthly,
         4   The Husand currently drives a leased 2018 Hyundai Sonata.
         5   Currently under Florida Medicaid.
         6   Payment is made to Wells Fargo for the first mortgage on
             the property located 1125 N.W. 6th Street, Hallandale, FL
             33009 t

         7   $3,600.00 annually.
         8   $4,000.00 annually.
         9   This expense includes internet.
        10   This expense is for the Husband only.
        11   Husband buys his clothes at Goodwill.
        12   LA Fitness.

        13   Mr. Kaye loans the Husband $1,000.00 monthly for his
             living expenses.




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                                                                       EXHIBIT "H^


          IN THE CIRCUIT COURT OF THE 17™ JUDICIAL CIRCUIT
                IN AND FOR BROWARD COUNTY,FLORIDA

   IN RE: THE MARRIAGE OF                       CASE NO.: FMCE-17-011569

   MARGALIT SCHNEORSON,                        FAMILY DIVISION
         Petitioner/Counter-Respondent/Wife,

   and


   MENACHEM SCHNEORSON,
       Respondent/Counter-Petitioner/Husband,

   and


   BARRY A. KAYE
         Third Party Defendant.
                                                      /

     TEMPORARY INJUNCTIVE RELIEF ORDER FREEZING ANY AND ALL
      FUNDS HELD BY THIRD PARTY DEFENDANT BARRY KAYE AND/OR
    CROWN TRAVEL INTERNATIONAL(HEREINAFTER"CROWN TRAVEL*'!
     OR ANY PERSON OR ENTITY CONNECTED TO THE HUSBAND.BARRY
   KAYE OR CROWN TRAVEL RELATING TO ALL OR ANY PORTION OF THE
       SALES PROCEEDS FROM THE SALE OF 1257 OCEAN PARKWAY.
                           BROOKLYN.NEW YORK 11230


         THIS CAUSE, having come before the Court initially on an ex-parte basis

   on October 14, 2019 (or shortly thereafter), upon the Petitioner/Counter-

   Respondent/Wife, MARGALIT SCHNEORSON's Verified Ex-Parte Motion for

   Temporary Injunction Including Freeze Order, et. al. and for Other Relief Incident

   Thereto against the Respondent/Counter-Petitioner/Husband, MENACHEM

  SCHNEORSON,et. al. to freeze any and all accounts in the name of Crown Travel

  and for other relief incident thereto (hereinafter "Injunctive Relief Motion"). When
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                                                                     Schneorson v. Schmorson
                                                                   Case No.: FMCE-17-011569
                                                                                 Page 2of8

    filed with the Court, the Wife's Verified ex-parte Injunctive Relief Motion was

    supported by the sworn Affidavit of Michael Cohen. Virtually all of the subject

    matter contained in the Wife's Verified Injunctive Relief Motion dated October 14,

   2019, was covered during the special set evidentiary hearing on the Wife's

   contempt motion with the Husband having had the opportunity to cross examine

   the Wife's witnesses and testify himself at that hearing. The Court also takes

   judicial notice of all prior Court Orders entered in this case and the overall activity
   that has occurred to date.

          Based upon the foregoing and the Court being otherwise fully advised in the

   premises, the Court makes the following Findings ofFact, Conclusions ofLaw and

   Adjudications:

          1.    This Court has subject matter jurisdiction and personal jurisdiction over

   the Wife and the Husband and Third Party Defendant,Barry A. Kaye.

         2.     The existing record of prior Court activity in this case, particularly

   certain Court Orders already entered, establish, among other things, that the Husband

   has been recalcitrant, dilatory and evasive with discovery and non-compliant with
   important court orders, resulting in this Court adjudicating entitlement to attorney's
   fees against him and in favor of the Wife and, on several other occasions, reserving

  jurisdiction for other attorney's fees and costs that may be further taxable against the
  Husband.
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                                                                 Case No.:FMCE-17-01J569
                                                                                Page 3of8

            3.    On July 19, 2019, this Court entered a prior ex-parte temporary

    injunction requiring, inter alia, that the Husband deposit all net sale proceeds from
    the sale of certain New York real property either into the Court Registry or to

   forthwith deposit all net sale proceeds into the Trust Account ofthe Wife's counsel

   pending further Court Order. The Husband did not comply with this July 19, 2019

   Order as no deposits were made as required by Court Order. No appeal was taken
   as to this appealable interlocutory Order.

           4.    This Court also entered a Temporary Relief Order on July 30, 2019

   and a Scheduling Order on July 30,2019. The Husband never complied with either

   Order.


           5.    The special set evidentiary contempt hearing commenced as

   scheduled on January 9,2020 and virtually all of the same subject matter contained
   in the Wife's pending Injunctive Relief Motion was covered during the contempt
   hearing.

           6.    The Court entered an Order on September 24, 2019, enforcing its

   prior July 30, 2019 Order with regard to the Husband vacating the parties' marital
   home, which the Husband refused to do until ordered by the Court for a second

   time.


           1.    The Court clearly recalls the fact that the relevant portion of the

   Husband's deposition referenced in the Wife's pending Injunctive Relief Motion (see
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    paragraph 6 thereof)and prior Injunctive Relief Motion (filed July 10,2019)was part
    ofthe evidence during the temporary reliefhearing that took place on both January 8,
   2019 and ending on March 19,2019(with Closing Argument scheduled for April 15,
   2019). Furthermore, the Court recalls that in addition to the Husband's prior
   deposition of December 11, 2018, in pertinent part, being admitted into evidence
   during the temporary relief hearing, the Husband also verbally testified during the
   temporary relief hearing acknowledging that the New York i^al property which was
   the subject matter of the Wife's prior Injunctive Relief Motion dated July 10, 2019,
   was not titled either in the Husband's name,the Wife's name or theirjoint names,but
   was an asset of their marital estate. Moreover, the Wife's in-court testimony on this
   issue was credible, as was the testimony of Michael Cohen, both of whom were

   cross-exanuned by the Husband during the January 9,2020 contempt hearing.
         8.     The Husband's prior deposition and in Court testimony along with the
   other evidence admitting during the contempt hearing more than sufficiently establish
  that Third Party Defendant, Barry Kaye, has always been very much involved in the
  parties' finances, and has engaged in financial dealings with the Husband frequently
  during the parties' marriage and during these divorce proceedings. Among other
  things, the Court takes judicial notice ofthe "bogus" second mortgage on the parties'
  former marital home as was previously determined by this Court and that was

  removed by the Court's prior Default Final Judgment against Barry Kaye.
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          9.     The evidence also shows that Barry Kaye paid the Husband's third
    lawyer Sarah Shulevitz, Esq., $4,500.00 from a Wells Fargo Account #4156,titled in
    the name of Crown Travel, containing approximately $236,000.00. Again, based
    upon the Court's prior Temporary Injunctive Relief Order, dated July 19, 2019, the
    Husband was ordered to deposit approximately $300,000.00 of sales proceeds from
    the 1257 Ocean Parkway sale either into the Wife's counsel's Trust Account or the

    Court Registry.

          10.   Also, admitted into evidence during the January 9, 2020 contempt
   hearing was a document from July 29, 2013 showing Menachem Schneorson
   associated with Barry Kaye's alleged company, Crown Travel Intemational.
   Although the Husband has asserted under oath not to be involved with Crown Travel,
   this document indicates otherwise. On its face, the document confirms the Husband,
   Menachem Schneorson, applying for an BIN (employment identification number)on
   behalf ofthe company, Crown Travel Intemational.

         11.    The Husband during his in-court testimony at the January 9, 2020
   contempt hearing essentially acknowledged constmctive receipt of the $150,000.00

   proceeds from the sale of the 1257 Ocean Parkway Brooklyn, New York 11230

   property but claimed he or someone acting on his behalf spent $8,000.00 on

   undisclosed expenses leaving a balance of$142,000.00.
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                                                                      Schneorson v. Schneorson
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           12.    All ofthe elements to obtain the injunctive relief requested by the Wife

    against the Husband, Barry Kaye and Crown Travel have been sufficiently

    demonstrated to the Court.

           13.    The public policy of this state is to certainly protect marital assets from

   being hidden, improperly transferred or dissipated during the pendency of divorce

   litigation.

          14.    Toward that end, the relief sought by the Wife in her sworn Injunctive
   Relief Motion is simply to secure and protect marital assets in this long term
   marriage demonstrably shown to be concealed by the Husband and held in whole or

   in part, actually or constructively, by Third Party Defendant, Barry Kaye and/or
   Crown Travel.

          15.    Consistent with the prior July 19, 2019 Injunctive Relief Order, the

   Court further finds that unless the reasonable reliefsought herein is granted, then the
   Wife will likely suffer continued irreparable harm.

          16.    The Court finds that the Wife has no adequate remedy at law with

   respect to this situation.

          17.    The Wife's Verified request for a Temporary Injunction Including

  Freeze Order as to any and all accounts in the name of Barry Kaye, Crown Travel

  or otherwise holding all or any portion of the sale proceeds from the sale of the
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                                                                 Case No.: FMCE-17-011569
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   property located at 1257 Ocean Parkway, Brooklyn, New York 11230 are hereby

   frozen pending further order ofthis Court.

          18.    The Husband,individually and on behalfofany and all entities in which

   he has any interest, and Bany A. Kaye, individually and on behalf of any and all
   entities in which he has any interest, are hereby Enjoined and Restrained from any
   act of further dissipation, transfer, waste, mismanagement, hiding, pledging, or

   otherwise disposing of funds regarding all or any portion of the sale proceeds from
   the property located at 1257 Ocean Parkway, Brooklyn,New York 11230.

         19.    Within five (5) days of the date of this Order, the Husband and Third

   Party Defendant Bany Kaye shall provide Wife's counsel with bank statements and

   all other relevant documentation showing the whereabouts ofthe sale proceeds from

   the sale of 1257 Ocean Parkway, Brooklyn, New York 11230 together with a full

   written accounting ofthe sale proceeds in question.

         20.    From the date of this Order, no disbursements or withdrawals shall be

   made from any such account(s) absent further written Court Order. A Certified Copy

   of this Injunctive Relief Order shall be immediately furnished to all financial

  institutions where the funds may be located to safeguard the funds.

         21.    Based upon the totality of circumstances here, the Court determines at

  this time that the Wife's posting of the prior cash bond associated with the July 19,
Case 1:22-cv-03319-DG-VMS Document 1 Filed 06/06/22 Page 48 of 136 PageID #: 48
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                                                                 Case No.: FMCE-l7-011569
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   2019 Order, applies here so as not to require an additional bond to be posted in

   support ofthis Freeze/Preservation Order.

          22.   This Court retains and reserves jurisdiction of this case for the purpose

   of enforcing and modifying the terms of this Order and entering further Orders as

   may be necessary.

          ORDERED in Chambers, Broward County, Ft. Lauderale, Florida, this

   day ofFebruary,2020.                                         PETER HOLDEN

                                                                    FEB 05 2020

                                                CIRCUIT COlJ^T


   Copies to:


       1. Barry S. Franklin, Esq., 3590 Mystic Pointe Drive, Aventura,
         Florida 33180; Email; BFranklin@barrvsffankIin.com.
       2. Menachem Schneorson, pro se, 1025 East Hallandale Beach Boulevard,
         15-135, Hallandale Beach,FL 33609
         Email: Schneorsomn@gmail.com
       3. Barry Kaye,331 Kingston Avenue,Brooklyn, New York, 11213
         Email: barrvakave@gmail.com
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                                                                              EXHIBIT "G"




                       IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT
                                   IN AND FOR BROWARD COUNTY,FLORIDA

          CASE NO. FMCE17011569 DIVISION 3^ JUDGE Susan Greenhawt

     Margalit Schneorson
     Plaintiff(s)/ Petitioner(s)
     V.


     Menachem Schneorson

     Defendant(s)/ Respondent(s)
                                        I

         ORDER DENYING HUSBAND'S VERIFIED EMERGENCY MOTION TO
             COMPEL WIFE TO MAINTAIN STATUS OTIO PURSUANT TO
         ADMINISTRATIVE ORDER NO.2019-15-UFC AND GRANTING WIFE'S
      VERIFIED MOTION FOR PARTIAL EARLY EOUITABLE DISTIBIJTION AS TO
            THE PARTIES'FORMER MARITAL HOME AND FOR OTHER RF.T.IFF
      INCIDENT THERETO AND DEFERRING RULING ON THF. WIFE'S MOTION
     FOR CONTEMPT HNCLUDING ALL SUPPLEMENTS THF.RETOl AGAINST THF.
                           HUSBAND FOR NON-PAYMENT OF SUPPORT


             THIS CAUSE came before the Court for a special appointment hearing on
             November 18, 2021, on the Wife's Motion for Contempt, Enforcement, and
             Sanctions Against the Husband for his Deliberate Failure or Refusal to
             Comply with this Court's July 30, 2019 Order and for Attorney's Fees and
             Costs (Including all supplements thereto filed by the Wife); the Wife's Motion
            for Early Equitable Distribution as to the Parties' Former Marital Home and for
             Other Relief Incident Thereto and the Husband's Verified Emergency Motion
            to Compel Wife to Maintain Status Quo Pursuant to Administrative Order No.;
            2019-15-UFC. The hearing took place via Zoom and both parties (were
            present along with their respective counsel of record, Barry S. Franklin, Esq.
            of the Law Firm of Barry S. Franklin & Associates, P.A., representing the Wife,
            and Steve Berzner, Esq., representing the Husband. Based upon the
            numerous Court Orders that have been entered against the Husband and not
            compiled with by the Husband and hearing from both parties and their
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       respective counsel of record, the Court makes the following FINDINGS and
       ADJUDICATIONS:


   1. The Husband's Verified Emergency Motion to Compel Wife to Maintain Status
     Quo Pursuant to Administrative Order No.: 2019-15-UFC is DENIED.
   2. The Wife's Motion for Early Equitable Distribution as to the Parties' Former
     Marital Home and for Other Relief Incident Thereto is GRANTED as set forth
     hereinbelow.
   3. The Wife's Motion for Contempt, Enforcement, and Sanctions Against the
      Husband for his Deliberate Failure or Refusal to Comply with this Court's July
      30, 2019 Order and for Attorney's Fees and Costs is DEFERRED. The Court
      will entertain the Wife's Contempt Motion again either after the sale of the
     former marital home and the accounting of the net sale proceeds to be derived
     therefrom or at the trial of this case, whichever shall occur first.
   4. Both parties and their counsel agreed on the Record that even after the
     permanent replacement Judge is assigned to this Division that Judge
     Greenhawt, as a senior Judge, would continue to preside over all aspects of
     this litigation including the trial of this cause. As announced on the Record
     during the November 18, 2021 hearing and at prior hearings as well. Judge
     Greenhawt recognizes how long this case has been pending, the complexities
     of it and the need for ultimate resolution.
   5. There is a valid, enforceable and binding Temporary Relief Order that was
     entered by the predecessor Judge in this Division on July 30, 2019. Pursuant to
     that Temporary Relief Order, the Husband was obligated to pay $3,000.00 per
     month ($2,000.00 per month in temporary alimony and $1,000.00 per month
     towards alimony arrearages) to the Wife and he has not paid one penny of that
     obligation.
   6. Pursuant to the same Temporary Relief Order entered on July 30, 2019, the
      Husband was also obligated to pay $10,000.00 towards the Wife's temporary
      attorney's fees, suit monies and costs. The Husband has not paid one penny
     toward that obligation in the nature of support.
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   7. On January 6, 2020, the Court entered an Order and corresponding Money
      Final Judgment obligating the Husband to pay the principal amount of
     $111,199.00 in attorney's fees, suit monies and costs for services rendered on
     the Wife's behalf through June 28, 2019. Those fees/costs were also in the
     nature of support and not one penny of that obligation has been paid by the
     Husband.
   8. Additionally, the Husband was required to maintain/pay the first mortgage on
     the marital home located at 1125 NE 6^^ Street, Hallandale, Florida 33009 as
     well as to pay the real estate taxes and homeowner's insurance. The Husband
     has not made any mortgage payments nor has he paid real estate taxes,
     insurance premiums or any other expense arising from or relating to the former
     marital home for years. Previously, Court Orders were entered on May 8, 2019
     and January 9, 2020 requiring the Husband to pay or reimburse the Wife the
     unpaid mortgage payments and real estate taxes advanced by Michael Cohen
     to avoid the home going into foreclosure. The Husband has not paid or
     reimbursed Michael Cohen for those house-related payments that he made to
     keep the property from going into foreclosure.
   9. As a result of this Court granting the Wife's Motion for early equitable
     distribution and denying the Husband's responsive Motion trying to prevent the
     sale, the Wife has the right to sell the home to whomever she wants nunc pro
     tune as of November 18, 2021 provided the home is sold for fair market value.
     The Wife's counsel announced during the hearing that the Wife obtained an
     appraisal of the home and the property appraised at $345,000.00.
   10. Should the Wife sell the former marital home located at 1125 NE 6^*^ Street,
      Hallandale, Florida 33009, half of the net sale proceeds shall be considered in
      partial satisfaction of the aforementioned monies due and owing from the
      Husband to the Wife though this determination is without prejudice to be
      revisited by the Court at the time of final hearing if the parties are unable to
      settle their litigation out-of-court before then.
   11. The Wife has the unconditional right, as orally pronounced by the Court on the
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      Record during the November 18, 202 hearing, to determine how the one-half
      of the net sale proceeds attributable to the Husband's outstanding obligations
      in the nature of support are partially satisfied. In other words, it shall be up to
      the Wife as to whether the half of the net sale proceeds attributable to the
      Husband are used to pay all of his alimony arrearage first and then be applied
      against his attorney's fees obligations or reimbursement of the monies the
      Husband owes for the unpaid mortgage, real estate taxes and insurance on
      the home. Said differently, if the Wife chooses, half of the net sale proceeds
       attributable to the Husband may be applied 33.3% towards the Husband's
       unpaid temporary alimony obligation; 33.3% towards the Husband's unpaid
       temporary attorney's fees and costs obligation; and 33.3% toward the
       Husband's obligation to reimburse the Wife for his unpaid mortgage, real
       estate and homeowner's insurance obligations through the date of sale.
   12. The final determination on the amount of credit to be given the Husband if the
       home is sold shall be determined at the time of final hearing. Likewise, the
       ultimate/final amount of money to be reimbursed to Michael Cohen from the
      sale proceeds shall be reserved for the final hearing. However, if the Wife and
       Michael Cohen can agree in writing as to Michael Cohen's reimbursement
      then Michael Cohen can be paid from the net sale proceeds without the need
      for further court approval.
   13. If the Wife follows through with the sale of the former marital home located at
      1125 NE 6 Street, Hallandale, Florida 33009 in accordance with this Court's
      Order, then after the reasonable and necessary expenses of the sale have
      been paid, the remaining net sale proceeds shall be transferred to be held in
      the trust account of the Law Firm of Barry 8. Franklin & Associates, P.A. also
      in accordance with the terms and conditions of this Order. To be clear, it shall
      not be necessary for the Wife's counsel to obtain further court approval before
      making distributions to either the Wife directly, Michael Cohen, directly, or to
      either one of them subject to the ultimate accounting that must be made
      available for the Court for use either at a later contempt hearing or the trial,
      whichever shall occur first.
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   14. The Wife's claim for attorney's fees regarding the Motions involved that were
       heard on November 18, 2021 are expressly reserved by the Court for later
       determination.
   15. The Court further reserves jurisdiction over all parties (for enforcement
       purposes of this Order).

 DONE and ORDERED in Chambers, at Broward County, Florida on 12-21-2021.
                                                           1 S^grf 2-^-202        \:S7y»\M

                                                        FMCE17011569 12-21-2021 11:57 AM
                                                      Hon. Susan Greenhawt
                                                         CIRCUIT JUDGE
                                                    Electronically Signed by Susan Greenhawt
Copies Furnished To:
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                                                                           EXHIBIT "F"


           IN THE CIRCUIT COURT OF THE 17^" JUDICIAL CIRCUIT
                 IN AND FOR BROWARD COUNTY,FLORIDA

   IN RE: THE MARRIAGE OF                        CASE NO.: FMCE-17-0n569

   MARGALIT SCHNEORSON,                          FAMILY DIVISION
         Petitioner/Counter-Respondent/Wife,

  and


   MENACHEM SCHNEORSON,
       Respondent/Counter-Petitioner/Hu^band,
                                                               Filed In Open Coufti
  and                                                                OF THE eiRCUIT COURT


                        f. t
         Third Party Defendant.                                byTW><IU.
                                                       /


   ORDER GRANTING WIFE^S MOTION TO COMPEL COMPLIANCE WITH
     SCHEDULING ORDER DATED JULY 30,2019 AND FOR SANCTIONS
    AGAINST THE HUSBAND AND MONEY FINAL JUDGMENT IN FAVOR
             OF THE WIFE AND AGAINST THE HUSBAND

         THIS CAUSE came before the Court on Januaiy 6, 2020 on the Wife's Motion

  entitled: Motion to Compel Compliance with Scheduling Order Dated July 30, 2019

  and for Sanctions Against the Husband. After hearing legal argument of counsel and

  being otherwise fully advised in the premises, the Court makes the following

  FINDINGS OF FACT,CONCLUSIONS OF LAW,AND ADJUDICATIONS:

         1)    Along with this Court's Temporai-y Relief Order dated July 30, 2019, the

  Couit also entered a conesponding Scheduling Order dated July 30, 2019. The

  Scheduling Order directly related to the Wife's temporary fee and cost claims and

  obligated the Husband within a specific time frame to object or accept the Wife's fees

  sought within the produced billing statements. Specifically, the Scheduling Order dated
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   July 30, 2019 provided the Husband with 15 days to formulate written objections, if
   any, to the Wife's counsel's billing entries as contained within the billing statements
   that were produced, admitted into evidence during the Temporally Relief Hearing and
   otherwise made a part of the court record.

         2)     To date, the Husband has not complied with the aforementioned

   Scheduling Order and the time frame for compliance has long since expired.
         3)     The Husband has had more than enough time to address the Scheduling
  Order dated July 30, 2019 and comply with it. For most of the time since the entry of
  the Scheduling Order, the Husband has been represented by counsel but even if he

  were representing himself, the Husband would still be obligated to fully comply with

  this Court's Order. Being a pro se litigant and not complying with this Court's

  Scheduling Order is neither an excuse nor a defense. See,Balch v. HSBC Bank, USA,

  NA., 128 So. 3d 179, 182 (Fla. 5th DCA 2013) {pro se litigants should be treated
  no differently or more leniently than 1 itigants represented by counsel; once a party

  chooses to represent himself, he cannot expect favored treatment from the court);
  Millen v. Millen, 122 So. 3d 496, 497 (Fla. 3rd DCA 2013)("It is a mistake to hold
  a pro se litigant to a lesser standard than a reasonably competent attorney.")(quoting

 Kohn V. City ofMiami Beach, 61 1 So. 2d 538, 539 (Fla. yet DCA 1992)(a party's

 self-iepresentation does not relieve the party of the obligation to comply with any
 appropriate rules of civil procedure); Anderson v. School Board ofSeminole County,
 8oO So. 2d 952, 953 (Fla. 5th DCA 2002)("Pro se l itigants, however, should not
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    be treated differently from litigants in similar situations who are represented by

   counsel and are charged with knowledge of those riglits."); Slueber v. Gallagher,

   812 So. 2d 454. 457 (Fla. 5th DCA 2002)("In Florida,         se litigants are bound by

   tlie same rules that apply to counsel.'"); Gladstone v. Smith, 729 So. 2d 1002, 1004

   (Fla. 4th DCA 1999)("A pro se litigant should not be held to a lesser standard than a

   reasonably competent attorney because applying a lesser standard would only

   encourage continued frivolous litigation.").

         4)     Furthermore, at the Temporary Relief Hearing which took place on

   .Tanuary 8, 2019; March 19, 2019; April 15, 2019; and June 10, 2019, no testimony or

   other evidence was presented to rebut, controvert, or otherwise call into question the

   services rendered by the Wife's counsel as reflected by the Law Firm of Barry S.

   Franklin & Associates, P.A.'s time record/billing statements that were introduced into

   evidence during the Temporary Relief Heaidng. The Court has also independently

  reviewed the Wife's attorney's billing statements and is more than satisfied that the

   work that was done on the Wife's behalf, as reflected by the billing statements, was

  reasonable and certainly necessitated by the Husband's recalcitrant and defiant behavior

  making the discovery process more time consuming and expensive and, even worse,

  not complying with various Court Orders including the Temporary Relief Order and

  this particular Scheduling Order at issue.

         5)    The Court also had an opportunity to examine the Contract for Legal

  Services between the Wife and her counsel previously admitted into evidence. The
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  Firm's reasonable and necessary efforts to either secure the Husband's compliance or

  sanction him for his noncompliance are also taxable against him including to wit: work

  reflected within the following statements: (1) July 24, 2017 through December 2018;

  (2) March 12, 2019 (covering fees and costs incurred from December 2018 through

  February 28, 2019); and (3) January 3, 2020 (covering fees and costs incurred from

  March 1, 2019 through June 28, 2019).

          6)      The Court finds the attorney's fees and costs incurred to be reasonable and

  necessary given the circumstances of this litigation.

          7)      Specifically, the number of hours expended were reasonable and the

  hourly rates were also reasonable and consistent with community standard.
          The reasonable hourly rates and reasonable amounts expensed are as follows:


   UPDATESUMMARY OF FEES(from July 24, 2017 through June 28,2019
                                                                                  Effective
  Timekeeoer                                         Fees Billed   Hours Billed   Bill Rate
   Barry S. Franklin, attorney                        $69,680.00        127.60       $546.08
  Olivia Retenauer, attorney                          $28,800.00         72.00       $400.00
  Nadine Goodman,attorney                              $6,440.00         16.10       $400.00
  Jessica Franklin, paralegal                          $1,725.00         13.80       $125.00
  Andres Amaya, paralegal                                $400.00           3.20      $125.00
  Nicola Franklin, paralegal                             $250.00          2.00       $125.00

                                              Total $107,295.00         234.70
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   UPDATE SUMMARY OF COSTS(from July 24, 2017 through June 28, 2019}

   Filing Fee 9/05/2017                                        $423.32
   Subpoena on Menachem Schneorson
   10/24/2017                                                  $170.00
   Subpoena on Kluger Kaplan law firm
   12/20/2017                                                   $30.00
   Issuance of Summons on Menachem 9/25/2018 on
   Amended                                                      $10.35
   Broward County to record lis pendens                          $9.00
   Process Service Subpoena Barry Kaye
   9/27/2018                                                   $100.00
   Court Reporter and transcript of Menachem's
  deposition 12/17/2018                                        $767.50
  Court Reporter at hearing 1/08/2019                          $257.50
  Court Reporter at hearing 2/25/2019                           $95.00
  Transcript of hearing 2/25/2019                               $45.50
  Court Reporter at hearing 3/19/2019                          $225.00
  Court Reporter at hearing 4/15/2019                           $95.00
  Transcript of hearing 4/15/2019                              $504.00
  Broward County to record quitclaim deed                       $19.20
  Postage                                                       $64.57
  Copying/Scanning                                             $929.25
  Parking                                                      $140.00
  FedEx to Judge Holden 4/11/2019                               $19.41
                                                 Total       $3,904.60



  GRAND TOTAL FEES AND COSTS FOR July 24,2017 through June 28,2019 Slll.199.60

  Note 1; See Order for Temporary Alimony
  Support,Temporary Exclusive Use of the
  Marital Home,and Temporary Attorney Fees
  dated 7/30/2019 ordering partial payment by
  the Husband of $10,000.00(remains unpaid as
  of today 1/03/2020).



        8)      Thus, the overall total attorney's fees and costs reasonably incurred
 associated vyith BARRY S. FRANKLIN & ASSOCIATES,P.A.'s representation ofthe
 Wife in this Case No. FMCE 17-011569 and covered by this Order/ Money Final
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  Judgment is $111,199.60. As such, the Court orders that $111,199.60 be paid to the

  Wife by the Husband as set forth in this Order and Money Final Judgment.

        9)      Given the Husband's non-compliance with the Family Court Rules of

  Procedure and various Court Orders including this subject Scheduling Order, the Court

  finds, and therefore adjudicates, that the Wife is entitled to the entry of a Money Final

  Judgment against the Husband for all of her fees and costs incurred from July 24, 2017

  through June 28, 2019 as covered by the Temporary Relief Hearing and contemplated

  by the related Scheduling Order. While the Court determines that the Wife is entitled to

  the entry ofthis Money Final Judgment for her fees and costs during the aforementioned

  time-frame, the Court must, however, resei*ve jurisdiction on the nature and extent of

  the Husband's ability to pay for contempt purposes, because clearly the fees and costs

  involved here are in the nature of support and subject to the Court's contempt power.

  See Fishman v. Fishman, 656 So. 2d 1250(Fla. 1995); and Cole v. Cole, 95 So. 3d 369

 (Fla. 3d DCA 20l2)(Wife entitled to the entry of a Money Final Judgment for the fees

  and costs incurred with a separate amount adjudicated as subject to the Court's

  contempt power based upon the Husband's ability to pay for contempt purposes).

             Based upon the foregoing Findings ofFact and Conclusions of Law, it is

  Thereupon ADJUDGED:

        10)     The Wife, Margalit Schneorson, 1125 NE 6'^ Street, Hallandale, FL

  33009, shall recover from her Husband, Menachem Schneorson, at his last known

  address, 1025 East Hallandale Beach Boulevard, 15-135,Hallandale Beach,FL,33609,
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                                                                  Case No.: FMCE-17-0!1569
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   the principal sum ofSll 1,199.60 Twhich includes attorneys' fees and costs incLiiTcd by

   the Wife from July 24,2017 tluough June 28, 2019)for which let execution issue.

          11) It is further ordered that Respondent/Husband, MENACHEM
   SCHNEORSON,within twenty(20)days from the entiy ofthis Money Final Judgment,
   to timely complete Form 1.977, a blank copy of which is attached hereto as Exhibit"A"

   and incorporated by reference herein as though set out in full. Upon completion, the
   form shall be filed with the Court and a copy served upon the Law Firm ofBarry S.
   Franklin & Associates, P.A.

         DONE AND ORDERED in Chambers,Broward County, Florida, this (p                 day
   of January, 2020.



                                                 CIRCUIT COURT JUDGE

  Copies to:


      1. Barry S. Franklin, Esq., 3590 Mystic Pointe Drive, Aventura, Florida
         33180; Email: BFranklin@barrvsfranklin.com.
     2. Menachem Schneorson, pro se, 1025 East Hallandale Beach Boulevard, 15-
         135, Hallandale Beach, FL 33609
        Email: Sclineorsonm@gmail.com
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                  IN THE CIRCUIT COURT OF THE 17'"JUDICIAL CIRCUIT
                        IN AND FOR BROWARD COUNTY,FLORIDA

   IN RE: THE MARRIAGE OF                        CASE NO.:      FMCE-I7-011569

   MARGALIT SCHNEORSON,                          FAMILY DIVISION
       Petitioner/Counter-Respondent/Wife,
   and


   MENACHEM SCHNEORSON,
       Respondent/Counter-Petitioner/Husband,

   and


   BARRY A. KAYE
            Third Party Defendant.


              FORM 1.977 FACT INFORMATION SHEET FOR INDIVIDUALS

    Full legal name:        _
    Nickname or
   Alias:
   Residence
   Address:
   Mailing address
   (if different):
   Telephone
   numbers:              Home:                            Business:

   Name of employer:

   Address of Employer:
   Position or Job
   Description:

   Rate of pay:      $               per         Avg. paycheck: $         per

   Average commissions
   or bonuses:             _S              per
   Commissions or bonuses
   are based on:


   Other personal income:        $                From;


                                                           //

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     Savings Account at;                                     Account No.



     For real estate (land) you own or are buying:

     Address:


     All names on title:

    Mortgage owed to:

    Balance owed:          ^

    Monthly payments:
    (Attach a copy of the deed or mortgage or list the legal description of the property on the
    back of this sheet or an additional sheet if necessary. Also provide the same information on
    any other property you own or are buying.)


    For all motor vehicles you own or are buying:

    Year/Make/Model:                                        Color:

    VIN:                                 Tag                     Mileage:
                                         No.
    Name(s)on
    title:                                             Present value:

   Loan owed to:


   Balance of loan:


   Monthly payment:        $
   (List all other automobiles as well as other vehicles, such as boats, motorcycles, bicycles, or
   aircraft on the back of this sheet or an additional sheet if necessary.)

   Have you ever give, sold, loaned or transferred any real property or personal property worth
   more than $100 to any person in the last year? If your answer is "yes", describe the property,
   market value and sale price and give the name and address of the person who received the
   property.



   Does anyone owe you money? Amount
   owed:
Case 1:22-cv-03319-DG-VMS   Document
       Case i-22-4U4y4-jmm doc       1 Filed 06/06/22
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    (Explain details on the back of this sheet or an additional sheet if necessary.)
    Social Security No.:                                                Birth date:
    Drivers License No.:


                                                                       Spouse's
    Marital Status:                                                    Name:
                 * H:    Hi*** Hs    ^   ^ ^ s({ :j{ :j{ :js :je j}.     :{5 5j5 5js ^^ jj( 5j. ^^^^^ 5(j^^^ ^^^ jj,


                                    SPOUSE RELATED PORTION
    Spouse's address
   (if different):
   Spouse's Social                                             ~                                                 "
   Security No.:                                           Birth date:

   Spouse's
   Employer:
   Spouse's Avg.
   paycheck or
   income:               $                                         Per

   Other family
   income:
   (Explain details on back ofthis sheet or an additional sheet if necessary.)
   Describe all other accounts or investments you may have including stocks, mutual funds,
   savings bonds or annuities, on the back of this sheet or on an additional sheet if necessary.



   Names and ages of all of your
   children (and addresses if not
   living with you):

   Child support of alimony paid: _$                                     Per

   Names of others you live with:
                                                                            Your                            Other
   Who is head of your                You                                 spouse                           person:
   household:


   Checking Account at:                                                  Account No.
Case 1:22-cv-03319-DG-VMS Document 1 Filed 06/06/22 Page 65 of 136 PageID #: 65
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    Name and address of person owing money;

    Reason money is owed:

   Please attach copies of the following:

      a.      Your last paystub.
      b.      Your last three statements for each bank, savings, credit union or other financial
              account.
      c.      Your motor vehicle registration and title(s).
      d.      Any deeds or titles to any real or personal property you own or are buying, or
              leases to property you are renting.
      e.      Your financial statements, loan applications or lists of assets and liabilities
              submitted to any person or entity within the last 3 years.
      f.      Your last 2 income tax returns filed,

      UNDER PENALTY OF PERJURY,I SWEAR OR AFFIRM THAT THE FOREGOING
   ANSWERS ARE TRUE AND COMPLETE.



                                                MENACHEM SCHNEORSON
  STATE OF
  COUNTY OF


           The foregoing instrument was acknowledged before me this                 day of
                2020 by                who is personally Icnown to know me or has produced
                                    as identification and who did/did not take an oath.

  WITNESS my hand and official seal, this                        day of                         2020.



                                                           NOTARY PUBLIC
  My commission expires:

  YOU MUST MAIL OR DELIVER THIS COMPLETED FORM, WITH ALL
  ATTACHMENTS, TO THE JUDGMENT CREDITOR OR THE JUDGMENT
  CREDITOR'S ATTORNEY,BUT DO NOT FILE THIS FORM WITH THE CLERK


                                              STATE OF FLORIDA                                           f 17TH y
                                              BROVMRD                                                  vlJIiDICiAL g
                                              I DO HEREBY CuRT FT                                  j\ \CIRCU!Ty j:^j
                                              and correct copy of                                            VJ
                                              Ld file in the otfico ot the «..rcu.t
                                              ^°wfTNESS my hand and Oh-'Cial            ' j- -
                                              Florida,this the                 // A ^
                                                                                      Df.'put/ Clerk
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                                        1 Filed 06/06/22 Page 66 of 136  PageID #: 66
Broward County Commission
Deed Doc Stamps: $612.50                                                     EXHIBIT "E"

                                                                           Fnrvee [~\-\\su>^
  V.
                                                                                                  (^(^)
       Prepared by and return to:
       Barry S. Franklin, Esquire
       Barry S. Franklin & Associates,P.A.
       3590 Mystic Pointe Drive                                                6I0Z 61 AON
       Aventura, Florida 33180
                                                                                    Tt
                                        QUITCLAIM DEED

             TfflS QUITCLAIM DEED executed this If^ay of                            2019., by
       first parties, MENACHEM SCHNEORSON, a married man, and MARGALIT
       SCHNEORSON, a married woman, (hereinafter referred to as the "Grantors")
       whose post office address is: 1125 NE 6^^ Street, Hallandale Beach, Florida 33009,
       to second party, MARGALIT SCHNEORSON, a married woman (hereinafter
       referred to as the "Grantee"), whose post office address is: 1125 NE 6^ Street,
       Hallandale Beach,Florida 33009.

             (The designation "Grantors" and "Grantee" as used herein shall include said
       parties, their heirs, successors and assigns and shall include singular, plural,
       masculine,feminine or neuter as required by context.)

              Witnesseth, that the said first parties/Grantors, for the sum ofTen Dollars and
       No/100 ($10.00), and other good and valuable consideration paid by the second
       party, the receipt whereofis hereby acknowledged, does hereby remise, release and
       quitclaim unto the said second party/Grantee,their heirs, successors, and assigns, all
       right, title, interest and claim which the said first parties/Grantors has in and to the
       following described parcel ofland, and improvements,and appurtenances thereto in
       Broward County,Florida, to wit:
                                j




                    Legal description: LOT ELEVEN (11)IN BLOCK TEN
                    (10), of GULFSTREAM ESTATES NO. 2,
                    ACCORDING TO THE PLAT THEREOF,RECORDED
                    IN PLAT BOOK 39, PAGE 49, OF THE PUBLIC
                    RECORDS OF BROWARD COUNTY,FLORIDA
                    Abbreviated     legal  description: GULFSTREAM
                    ESTATES NO 2 39-49 B LOT 11 BLK 10 (hereafter
                    referred to as the "Property").

                    The street address for the Property is:
                     1125 NE 6'^ Street, Hallandale Beach,Florida 33009.


                                             Page 1 of3


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                   The Property Appraiser's Parcel Identification Number for
                   the Property is: 5142 22 37 0410
                   Folio Number: 708215

            IN WITNESS WHEREOF, the Grantors haved signed and sealed these
      presents the day and year first above written, sealed and delivered in the presence
      of:



      WITNESSES:                                             GRANTOR:



      Print Name:()IM,                                       MENACHEM S'CHNEORSON,a
                                                             married man,individually
      Address of Witoess:




                               -




      Print Name: Ki\oL ^ e/                          A
      Address of Witness:          ^




      STATE OF FLORIDA                      )
                                            )ss.:
      COUNTY OF'^n.a;                       )
            The foregoing instrument was acknowledged before me this 19                       day of
                  201^,by MENACHEM SCHNEORSON,a married man,individually,
      who    is     personally         known          to     me,       or    who   has    produced
                                                    as identificatii


                  MARCUS EVAN STEIN
                  MY COMMISSION #GG086177            Notary Public- State ofFlorida       »
                    EXPIRES March 22,2021
                                                     Printed Name:          f^6{/uS S/<
      My Commission Expires

                                                    Page 2 of3
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         WITNESSES:                                     GRANTOR:

                                                             /UcLf
         Print Name:                                    MARGAMT SCHNEORSON,a
                                                        married woman,individually
         Address of Witness:
         [33 iS9.2^(W Apf^lo'-i
                   .fL.



         Print Name: /uf, r L i^^ /         a4
         Address of Witness:




         STATE OF FLORIDA                   )

         COUNTY OF                          )

              The foregoing instrument was acknowledged before me this /9 day of
                       201^, by MARGALIT SCHNEORSON, a married woman,
         individually, who is personally known to me, or who has produced



                  MARCUS EVAN STEIN
                 MV COMMISSION # GG086177
                   expires March 22.2021         Notmy Public- State of Florida .
                                                 Printed Name:           r

         My Commission Expires:




                                                Page 3 of3
Case 1:22-cv-03319-DG-VMS Document 1 Filed 06/06/22 Page 69 of 136 PageID #: 69
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                                                                     EXHIBIT "D"


          IN THE CIRCUIT COURT OF THE 17^"JUDICIAL CIRCUIT
                  IN AND FOR BROWARD COUNTY,FLORIDA

   IN RE: THE MARRIAGE OF                       CASE NO.: FMCE-17-011569

   MARGALIT SCHNEORSON,                         FAMILY DIVISION
         Petitioner/Counter-Respondent/Wife,

   and


   MENACHEM SCHNEORSON,
       Respondent/Counter-Petitioner/Husband,

   and


   BARRY A. KAYE
         Third Party Defendant.
                                                         /

   ORDER GRANTING WIFE'S MOTION TO COMPEL HUSBAND TO EXECUTE
      AND DELIVER A DEED TO THE WIFE TRANSFERRING ALL OF HIS
    REMAINING RIGHTHITLE AND INTEREST IN THE MARITAL RESIDENCE
        TO THE WIFE AND FOR OTHER RELIEF INCIDENT THERETO


         THIS CAUSE, came before the Court on the Wife's Motion to Compel the

   Husband to Execute and Deliver a Deed to the Wife Transferring All of His

   Remaining Right/Title and Interest in the Marital Residence to the Wife and for

   Other ReliefIncident Thereto. The first hearing on the Wife's Motion to Compel the

   Husband to Execute and Deliver a Deed to the Former Marital Residence occurred

   on October 29, 2019. Taking the matter under consideration, the Court rescheduled

   the hearing on the Wife's Motion for November 13, 2019 and that hearing occuiTed

   as well. Based upon this Court's November 13, 2019 Order, the Court rescheduled
Case 1:22-cv-03319-DG-VMS     Document 1 Filed 06/06/22 Page 70 of 136 PageID #: 70
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                                                                    Schneorson v. Schneorson
                                                                  Case No.: FMCE-I7-0J1569
                                                                                 Page 2of9

   the hearing on the Wife's Motion to Compel for Tuesday, November 19, 2019. For

   all the aforementioned hearings that took place on October 29, 2019; November 13,

   2019; and November 19, 2019,the Wife was present in Court along with her counsel

   of record, either Barry S. Franklin or Olivia Retenauer from the Law Firm of Bariy

   S. Franklin & Associates, P.A. The Husband, MENACHEM SCHNEORSON, was

   also present in Court for all ofthe hearings along with the two attorneys representing

   him, Sara Shulevitz and Grace Casas.

         After hearing from both counsel, reviewing the Court file and reviewing

   documentation confirming the Husband's defaults on the first mortgage that was

   held by Wells Fargo and then assigned to Specialized Loan Servicing (herein after

   referred to as SLS), and the Court being otherwise fully advised in the premises, the

   Court makes the following Findings of Fact, Conclusions of Law, and

   Adjudications:

         1)     The Court continues to have subject matter jurisdiction and personal

  jurisdiction over the parties.

         2)    In prior Court hearings under oath, the Husband testified that either he

  had paid the first mortgage originally held by Wells Fargo (and later assigned to

  SLS) or that he would be bringing the mortgage current if it had fallen behind and

  he was in arrears. Similarly, the Husband testified under oath that either he had paid

  for the necessary insurance coverage as required by the mortgage or that he would
Case 1:22-cv-03319-DG-VMS   Document 1 Filed 06/06/22 Page 71 of 136
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                                                                    Schneorson v. Schneorson
                                                                  Case No.: FMCE-17-011569
                                                                                 Page 3 of9

    be bringing it current and having it in place so as not to be in default of his first

    mortgage with Wells Fargo. Additionally, the Husband further testified that either

    he had paid all ofthe real estate taxes due and owing on the former marital residence
   or that he would be paying the real estate taxes and bringing them current.
          3)    On July 18, 2019, the Husband applied for a new mortgage loan with
   Wells Fargo. In that loan application, copy of which has been provided to the Court
   for review, the following representations were made by the Husband in the loan
   application that contradict other representations made by the Husband, either in his
   open court testimony or in his financial affidavits or his later loan modification

   application also provided to the Court:

                a. He claimed that his monthly income was $2,000.00 in wages and

                   $1,500.00 of self-employment income for a total of $3,500.00 per
                   month.


                b. The Husband claimed that he had $2,000.00 in a checking account

                   and/or cash on hand and a business account with $11,000.00 in it.

               c. The Husband claimed under oath that his hardship began on June !■

                   2019 and claimed that his hardship would be resolved by December

                   1,2019.

         4)    The Court was also provided with a copy of the Husband's request for

  mortgage assistance/new loan application that he made to SLS. He submitted the
Case 1:22-cv-03319-DG-VMS Document 1 Filed 06/06/22 Page 72 of 136 PageID #: 72
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                                                                    Schneorson v. Schneorson
                                                                  Case No.: FMCE-17-011569
                                                                                 Page 4 of9

    new loan application, according to the application itself as of October 24, 2019. In
   that loan application he provided the following infomiation under oath materially
   inconsistent with his older application:

                a. The Husband claimed that he had monthly gross wages of$2,000.00
                   per month from only one source to wit: Shaike's Catering. He did
                   not disclose in his new loan application his self-employment income
                   from Gold Kosher Catering that was reflected in his earlier loan

                   application.

                b. He claimed in his SLS more recent loan application that two people
                   lived in his household. By Court Order, the Husband was removed

                  from the former marital residence and he provided no sworn

                  testimony or other competent evidence to establish that he has been

                  living with anyone else nor does he have the obligation to legally
                  support anyone except his Wife pursuant to this Court's July 30,

                  2019 Temporary Relief Order.

               c. The Husband claimed in his SLS loan application that his hardship
                  began in 2017 and he further stated under oath that his hardship
                  situation was "short-term"(under six months).
        5)     On July 24, 2019, Wells Fargo sent a letter to the Husband confirming
  that Wells Fargo was no longer reviewing his account for assistance options. Wells
Case 1:22-cv-03319-DG-VMS Document 1 Filed 06/06/22 Page 73 of 136 PageID #: 73
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                                                                    Schneorson v. Schneorson
                                                                  Case No.: FMCE-17-011569
                                                                                 Page 5 of9

    Fargo made it clear that the reason for this was because Weils Fargo as a lender had
    not received all ofthe documentation that the bank needed to complete its review of
   the Husband's loan modification application. From July 24,2019 when the Husband
   received this letter from Wells Fargo, he apparently never provided the missing
   documentation to Wells Fargo and did not do anything else in terms of the loan
   modification application until he submitted his loan modification application to SLS
   on or about October 24, 2019.

         6)      On October 7, 2019, the Husband received written notification from

   SLS stating that the October 7, 2019 correspondence was his "second and final
   notice indicating that he had no hazard insurance coverage on the subject property
   as required by the mortgage. SLS further indicated that SLS planned to buy the
  insurance to cover the property and that the Husband would be required to pay for
  the insurance coverage purchased by SLS for any period of time in question. That
  same letter indicated that the estimated cost of the insurance SLS intended to buy
  would be $4,931.00 annually.

        7)       The following day on October 8, 2019, SLS sent another letter(Notice
  of Default and Notice of Intent to Foreclose) clearly indicating that if all defaults
  were not bi ought current and cured by November 10, 2019 that a foreclosure case

  would be filed and ihe entire balance due and owing under the note would be

  accelerated.
Case 1:22-cv-03319-DG-VMS Document 1 Filed 06/06/22 Page 74 of 136 PageID #: 74
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                                                                    Schneorson v. Schneorson
                                                                  Case No.: FMCE-I7-011569
                                                                                 Page 6 of9

          8)     Just like the lack ofinsurance coverage and the mortgage not being paid
    on a timely basis with a substantial arrearage accumulated, the evidence also reflects

   that the Husband had not paid the real estate taxes on the former marital home for
   the last two years.

          9)    The Husband has not complied with the July 20, 2019 temporary relief
   Order as follows:

                a. The Husband has not paid the Wife a $3,000.00 per month in

                   temporary alimony as Court Ordered ($2,000.00 a month plus

                   $1,000.00 a month for his arrearage dating back to July 2017);
                b. The Husband has not paid the temporary fees of $10,000.00 as he

                   was court ordered;

                c. The Husband has not complied with the July 30, 2019 scheduling

                   Order;

                d- The Husband has not complied with the July 19, 2019 Injunctive

                   Relief Order.


         10) Previously in this litigation, the Court had to order the Husband more

  than once (even after he agreed to do so) to execute an appropriate deed to convey
  an undivided one-half interest in the former marital home over to the Wife.

         11)   The Husband was Court ordered to remove himself from the former

  marital home as the Wife was awarded exclusive use and possession ofthe property.
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                                                                   Case No.: FMCE-J7-0J1569
                                                                                  Page 7 of9

    Once again, the record will reflect that the Husband did not comply with this Court's
   Orders until he was threatened to be forcibly removed from the former personal
   residence by law enforcement.

            12) The Husband has been given more than enough adequate time to
   comply with all outstanding Court Orders though he remains non-compliant with
   each and every one of the Court Orders referenced above to wit: the July 30, 2019
   Temporary Relief Orders; the July 19, 2019 Temporary Injunctive Relief Order; the
   July 30,2019 Scheduling Order on the Petitioner's Request for Award ofAttorney's
   Fees.


           13) No timely appeals were taken by the Husband and all appellate
  deadlines have passed.

           14) The Court has reviewed the Wife's Notice of Filing her Affidavit in
  support ofthe Wife's Motion to Compel the Husband to Execute and Deliver a Deed

  as to his i-emaining interest in the former marital residence.

           15) So as to avoid unnecessary repetition, this Court's Orders from the

  October 29, 2019 and November 13, 2019 hearings are incorporated by reference
  herein as though set out in full.

                Based upon all other foregoing Findings of Fact and Conclusions of
        Law, the Court makes the following Adjudications:
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                                                                  Schneorson v. Schneorson
                                                                Case No.: FMCE-17-0)1569
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          16) The Wife's Motion to Compel the Husband to Execute and Deliver a
    Deed in Lieu of Foreclosure to the Wife Transferring All of Flis Remaining
   Right/Title and Interest in the Marital Residence to the Wife and For Other Relief
   Incident Thereto is GRANTED. Attached hereto as 'Exhibit A' is the deed that the
   Husband must forthwith duly execute in open court. Should the Husband fail or
   refuse to comply with this Court Order, it is subject to the Court's contempt power.
         17) The Court grants the Wife's entitlement to attorney's fees and costs to
   be taxed against the Husband with the Court only reserving on the amount to be
   taxed against the Husband and in favor of the Wife.

         18) The Court reserves jurisdiction for enforcement purposes and as
   otherwise authorized by Florida Law.



        DONE AND ORDERED in Chambers, Broward County, Florida, this

  day ofNovember,2019.



                                               CIRCW¥to^)iyRT%DGE

  Copies to:


     1. Barry S. Franklin, Esq., 3590 Mystic Pointe Drive, Aventura, Florida
        33180; Email: BFranklin@baiTVsffanklin.coin.
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                                                                 Schneorson v. Schneorson
                                                               Case No.: FMCE-J7-011569
                                                                              Page 9 of9

       2. Steven S. Saber, Esq.,4238 Hollywood Blvd.,#203, Hollywood,FL 33021
          Email: Saberlaw@att.net.
          Sara Shulevitz, Esq., 28 West Flagler Street, Suite 900, Miami, Florida
          33130, Email: sarashulevitzesq@gmail.com.
          Grace Casas, Esq., 1200 Briclcell Avenue Suite 1950, Miami, FL 33134,
          Email: lawofficecasasgrace@.vahoo.com
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    Prepared by and return to:
    Barry S. Franklin,Esquire
    Barry S. Franklin & Associates,P.A.
    3590 Mystic Pointe Drive
    Aventura, Florida 33180


                                     QUITCLAIM DEEP
          THIS QUITCLAIM DEED executed this j ?'*dav of                     hu"2019 bv
                                   SCHNEORSON, a married man, and MARGM,IT
    aCHJNtORSON, a mamed woman, (hereinafter referred to as the "Grantors")
   whose post office address is: 1125 NE 6"^ Street, Hallandale Beach, Florida 33009
   to second party, MARGALIT SCHNEORSON, a married woman (hereinafter
   refewed ^ m the "Grantee"), whose post office address is: 1125 NE 6'^ Street
   Hallandale Beach,Florida 33009.                                                       '

         (The designation "Grantors" and "Grantee" as used herein shall include said
   parties their heirs, successors and assigns and shall include singular, plural
   masculine,feminine or neuter as required by context.)

   M /I ($10.00), and other good and
   No/100                           parties/Grantors, for the sumpaid
                                        valuable consideration    ofTen
                                                                      by Dollars and
                                                                         the second
   pa^,toe receipt whereofis hereby acknowledged, does hereby remise, release and
   quitclaim unto the said second party/Grantee, their heirs,successors,and assigns all
   ri^t, title, interest and claim which toe said first parties/Grantors has in and to'the
   following descnbed parcel ofland,and improvements,and appurtenances thereto in
   Broward County,Florida,to wit:

                Legal description: LOT ELEVEN (11)IN BLOCK TEN
               (10), of GULFSTREAM ESTATES NO. 2
               ACCORDING TO THE PLAT THEREOF,RECORDED
               IN PLAT BOOK 39, PAGE 49, OF THE PUBLIC
               RECOipS OF BROWARD COUNTY,FLORIDA
               Abbreviated       legal     description:      GULFSTREAM
               ESTATES NO 2 39-49 B LOT 11 BLK 10 (hereafter
               referred to as toe "Property").
               The street address for the Property is:
               1125 NE 6'' Street, Hallandale Beach, Florida 33009.


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                   The Property Appraiser's Parcel Identification Number for
                   the Property is: 5142 22 37 0410
                   Folio Number: 708215

            IN WITNESS WHEREOF, the Grantors haved signed and sealed these
    presents the day and year first above written, sealed and delivered in the presence
    of:



    WITNESSES:                                               GRANTOR:



    Print Name:                                              MENACHEM S'CHNEORSON,a
                                                             married man,individually
    Address of Witaess:




   Print Name: h^\c.L               e/ Cfo A
    Address of Witness:            ^
    //^g"                            r-r
            ^ ((^Aj^cJ

   STATE OF FLORIDA
                                             )ss.:
   COUNTY OF'^t,                            )
            The foregoing instrument was acknowledged before me this                      day of
  flp/gai         201jL.» by MENACHEM SCHNEORSON,a married man,individually,
   who       is     personally         known           to    me,       or   who   has   produced
                                                     as identificath


                  MARCUS EVAN STEIN
                  MY COMMISSION » 6G086177            Notary Public-St^ ofFlorida »
                    EXPIRES March 22.2021
                                                      Printed Name:           SA
   My Commission Expires: ^22jlj
                                                     Page 2 of3
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    WITNESSES:                                                  GRANTOR:

     (P/y/ZM,
    Print Name:                                                 MARGAWT SCHNEORSON,a
                                                                married woman,individually
    Address of Witness:


             vi\



   ....

   Print Name:             ^L                  a
   Address of Witness:




   STATE OF FLORIDA                            )
                       n            ,          )ss.:
   COUNTY OF                                   )

            The foregoing instrument was acknowledged before me this >7                         day of
                201^, by MARGALIT SCHNEORSON, a married woman,
   individually, who is personally known to me, or who has produced
                                                       as identification.


               MARCUS EVAN STEIN
               my commission n ggossu?
                   ®^P'RES March 22.2021                Not^ Public - State ofFlorida ,
                                                         tinted Name: yyi^i^Ck C

   My Commission Expires




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                                                                                         EXHIBIT "C"


            IN THE CIRCUIT COURT OF THE 17^" JUDICIAL CIRCUIT IN AND FOR
                                   BROWARD COUNTY,FLORIDA


                                                         CASE NO.: FMCE 17-011569(36)

   MARGALIT SCHNEORSON,
       Petitioner,
   V.




   MENACHEM SCHNEORSON,
       Respondent.
                                                 /


    ORDER FOR TEMPORARY ALIMONY SUPPORT.TEMPORARY EXCLUSIVE USE
               OF THE MARITAL HOME.AND TEMPORARY ATTORNEY FEES,


          THIS CAUSE came on to be heai'd by the Court on Wife's Motion for Temporary
   Alimony, Temporary Exclusive Use ofthe Marital Home and TemporaryAttorney's Fees. The
   Court reviewed the court file and considered the testimony from witnesses, documents
   introduced, the court having had the opportunity to evaluate and weigh the testimony presented;
   observe the demeanor, bearing, intelligence, frankness, credibility, and competence of each
   witness; the interest each witness has in the outcome ofthe issues presented; and the opportunity
   to consider the reasonableness of the testimony of the witnesses. In light of all the evidence in
   the case, the Court having heard/read argument of counsel, and being otherwise advised in the
   premises:


          The Court Makes the Following Factual Findings:
           Testimony over the course of two (2)days proved that the Petitioner, Margalit
   Schneorson (hereinafter, the Wife), is married to the Respondent, Menachem Schneorson
  (hereinafter, the Husband). They have been married for twenty-one (21) years, constituting a
   long term marriage. The Wife has no college education and has not held any meaningful
   employment during the marriage. The Husband has been the sole and primary provider for the
   family. They have one(1) child who is nineteen (19) years old.
          The Husband testified that he is fifty-two (52) years old, and he solely maintained and
   controlled the marital household expenses. These expenses include mortgage payments, taxes.
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    utilities, insurance and other household expenses. The Husband stated that the he is employed as
    a supervisor for Kosher Shaike's Catering, and the Wife is a stay at home mother.
            The Wife recently became aware that the Husband took out a second mortgage on the
    maiital home and entered into a loan modification agreement with Wells Fargo Bank on the
    onginal mortgage without her consent. The Wife testified that she asked her Husband for
   information on the mortgage and called the lender, but could not ascertain any information about
   the status ofthe mortgage. Records indicate that mortgage payments have been missed. The
   Husband testified that only one payment was missed, and this was because the bank offered a
   one-time skip payment financial relief based on a hurricane occurrence in South Florida. The
   Wife is fearful that the mortgage may be in arrears/default and may be subjected to foreclosure.
           A voicemail recording from the Husband was introduced into evidence. This recording
   was left on the Wife s cellphone in Yiddish. A translation of this recording to English was
   entered into evidence. On the recording, the Husband can be heard threatening not to pay any
   future household related expenses.
           The Court received testimony relating to the condition of the marital home as being in
   dire need of repair. The roof is leaking, mold and mildew has started to appear,the water to the
   home has been shut offfor a period oftime, the home's insurance has not been documented,
   taxes on the home are not current, and the mortgage payments have been erratic.
          The Husband stated that his Wife's name was omitted from the deed to the marital home;
   however, her name does appear on the mortgage. While on the witness stand,the Husband
   agreed that not having the Wife's name on the deed is an error, and she should be placed on the
  deed to the marital home.
          The Wife testified she sought financial assistance from a friend, Mr. Michael Cohen. Mr.
  Cohen has no ties to this pending litigation. He has, through his own kindness, helped the Wife
  in financing this litigation. She has incurred large legal bills and has neither money to finance
  this litigation nor support her daily living expenses.
         The Wife's financial affidavit for 2018 indicates she was bom on March 11, 1978. It also
  indicates she is working as a rental property coordinator with a present monthly gross income of
  $991.00; her monthly expenses total $3,575.00, leaving her with a monthly deficit of$2,584.00.
  She shows assets of$355,137.00 and debts of$188,132.00. The Wife found employment as a
  rental property coordinator after filing her petition for dissolution of marriage.
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            The Husband has not filed a financial affidavit for 2018. He filed a financial affidavit for
    2017; which indicates he is employed as a supervisor for Kosher Shaike's Catering. He presently
    earns a monthly net income of$5,051.78, has monthly expenses of$3,545.65, and a monthly
    deficit of$493.87. He shows assets of$370,293.00 and debts of$368,580.00,for a total net
    worth of$1,713,000.00. Exhibit Number One(1)entered into evidence gives a breakdown ofthe
    house hold expenses. Some ofthe major monthly household expenses are: $790.00 mortgage:
    $300.00 in property taxes: $200.00 in electric: $140.00 in water, garbage and sewer: $50 in lawn
    care: $125.00 in pool maintenance: and $70.00 in cable television. The total major household
   expenses are one-thousand-six-hundred-seventy-five($1,675.00) dollars.
           The Husband stated that he has over $80,000.00 in credit card debt and is so financially
   impoverished that he has applied for, and received, government assistance in the form offood
   stamps. The Husband elaborated that his financial situation is so dire that he has resorted to
   leceiving monthly cash handouts from friends so he can make his financial obligations. This
   stream of income has not been documented or verified by the Husband.
           The Court received testimony about a property/building in Brooklyn,New York, which is
   not titled in the Husband's name,or his Wife's name,or theirjoint names, but is an asset oftheir
   marital estate. The value of this building is listed on the Husband's financials at eight-hundred-
   thousand dollars($800,000.00). However,there was testimony that this property is worth well
   over a million dollars ($1,000,000.00).
          During cross examination of the Husband, the evidence revealed that he has traveled to
   foreign countries for up to three(3) weeks, rented cars for transportation and dines at fine
   restaurants.

          1 hrough the introduction of banking records, the Wife was able to establish that even
  though the Husband had been receiving financial assistance from the government, he has been
  able to find the funds to make credit card payments on his purported debt of$80,000.00 every
  month until the time this Divorce Petition was filed. Bank statements show that the Husband
  made deposits during 2017. The Husband maintains payments or deposits on the following
  accounts: Wells Fargo Visa number ending in 1231 with a balance in the amount of$33,000.00;
  deposits and transfers with a balance ofapproximately $27,000.00 to a Wells Faigo banking
  account number ending in 5196; deposits and transfers with a balance ofapproximately
  $37,000.00 on another Wells Fargo bank account number ending in 2617, payments to his
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    Discover Card ofapproximately $4,000.00 on account number ending in 7860;and a payment on
    a Barclays Card ofapproximately $700.00.
          Although requested by the Wife and Court Ordered,the Husband never completed
    document production for the year 2018; therefore, the Wife was not able to analyze these
    documents as she was able to do for 2017.
             In trying to determine the Husband's financial situation, counsel for the Wife compared it
    as, akin to trying to hit a moving target." The Husband has not produced requested documents,
    filed a financial affidavit for 2018,or updated a financial affidavit despite repeated Court Orders
    to do so. He has been less than forthcoming with providing documentation that proves his worth,
    yet every month the Husband finds the money to satisfy his financial obligations.

   Temporary Alimonv Along with Exclusive use of the Marital Home:
           The Wife petitioned for temporary alimony support along with temporary exclusive use
   ofthe marital home. The Court finds that there is an actual need for temporary alimony, and the
   husband has the present ability to pay. As stated in the factual basis above, this is a long term
   marriage in excess of21 years, the Wife does not have a college degree, and has not worked out
   ofthe home during the marriage. The Husband has been the sole provider ofall expenses
   incurred during the duration ofthis marriage. The Wife had found it untenable to stay in the
   marital home,so she moved out. She would not have been able to sustain herselffinancially if it
   were not for the assistance she has been receiving from a third party friend, Michael Cohen. Mr.
   Cohen has no relationship to the parties other than trying to assist a friend and has no legal
   obligation to continue this assistance.
           Ihe Husband has not provided updated financials or document production for 2018. fhe
   Court is relegated to the Husband's 2017 financial affidavit, testimony, and records introduced
  into evidence by the Wife, to show the Husband's income,see Shaw v. Nelson. 4 So.3d 740(Fla.
  1"' DCA 2009),"where the former husband failed to present evidence that would lead to an
  accurate calculation of his income, the trial court properly relied on the evidence presented by
  the former wife." See also. Hicks v. Hieks. 948 So.2d 63,(Fla. 5"" DCA 2007),"a party who fails
  to provide full, complete financial disclosure will not be heard to complain about the trial court's
  inability to make a specific calculation." The bank records introduced by the Wife reveal that
  there is a flow of income the Husband uses to maintain his lifestyle.
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    The Court has considered the following in awarding temporary alimony:
          a. The standard ofliving established during the marriage; the wife has been solely
              dependent upon the Husband and lives a modest life style.
          b. The duration ofthe marriage; long term, twenty-one(21) years.
          c. The age and the physical and emotional condition ofeach party; both parties appeared
              physically and mentally fit in court, and there is no evidence to contradict that.
          d. The financial resources of each party, including the non-marital and the marital assets
             and liabilities distributed to each; the Wife has no college education, and did not work
              during the twentj^-onc(21) year marriage; the Husband has been the sole financial
              provider for the family, and the parties appear to have a financial interest in property
             loeated in Brookline New York.
         e. Earning capacities, educational levels, vocational skills, and employability ofthe
            parties, and when applicable, the time necessary for either party to acquire sufficient
            education or training to enable such party to find appropriate employment; the Wife
            has no college schooling. The Husband is the sole financial provider for the family;
         f. The contribution of each party to the marriage, including, but not limited to, services
            rendered in homemaking, child care, education, and career building ofthe other party;
             The Wife was a stay at home mother and raised their child, while the Husband
             provided their only income.
         g. The responsibilities each party will have with regard to any minor children they have
            in common; their only child is nineteen (19) years old and emancipated.
         h. The tax treatment and consequences to both parties of any alimony award, including
             the designation of all or a portion ofthe payment as a nontaxable, nondeductible
             payment;

         i. All sources of income available to either party, including income available to either
            party through investments of any asset held by that party; the parties appear to have a
            financial interest in property located in Brooklyn, New York.
        j. Any other factor necessary to do equity and justice between the parties.
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            The Court, after considering all ofthe above, temporarily awards the Wife exclusive use
    ofthe martial home and temporary alimony payments of two-thousand ($2,000.00)dollars a
    month, nunc pro tune to July 2017, the day that this litigation commenced,and two(2) years of
    retroactive payments totaling forty-eight-thousand ($48,000.00)dollars. The retroactive alimony
    payments are to be made at an additional one thousand ($1,000.00) dollars a month. The total
    monthly payments are three-thousand ($3,000.00) dollars. Once the past due alimony of forty-
    eight-thousand ($48,000.00) dollars is paid in full, alimony payments are to resume at two-
    thousand ($2,000.00) dollars a month. This temporary alimony payment and temporary exclusive
    use ofthe marital home is based on the Wife showing a need which included the entire
   household expenses, including: mortgage payments, taxes, utilities, insurance, and normal day to
   day living expenses. The Wife has been heavily indebted to a third party, Michael Cohen,since
   filing her petition for dissolution of marriage in July 2017. He has no obligation to keep her
   financially afloat while she awaits pendent lite relief, Bromante v. Bromante. 577 So.2d 622
   (Fla. 1®' DCA 1991). This temporary award enables the Wife to maintain the life style that she
   had during this marriage. Melton v. Melton. 79 So.Bd 154 (Fla. 2 DCA 2012); Martinez v.
   Martinez. 228 So.Bd 164 (Fla. 2 DCA 2017).
           The 1 lusband s continued eiratic payments ofthe household expenses, along with his
   threats to stop payments of the household expenses,further supports this Court's award of
   temporaiy exclusive use ofthe marital home to the Wife and awarding her temporary alimony.
   The Court's Order will provide equity and justice by making sure that the Wife may maintain her
   modest life style, while additionally providing that the marital home is properly maintained.

   Temporarv Attorney Fees:
          The Wife has incuned attorney's fees largely due in part to the Husband's failure to
  respond to Court Orders. The vast majority of the Motions filed by the Wife have been granted,
  as they were necessitated by the inactions of the Husband thus generating higher legal costs.
         Trying to ascertain the Husband's financial status has not been an easy task. The Court
  hopes to get a better understanding in future hearings ofthe Husband's finances. At this time,
  relying on the Husband s 2017 financials, the introduction ofthe Husband's bank records by the
  Wife, and the testimony provided, the Court finds that the Husband has the present ability to pay
  the Wife's attorney's fees. The Wife has a need for such contribution. See, Jooste v. Jooste 44
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    Fla. L. Weekly D1242(Fla. 4"' DCA May 8,2019). It is not necessary that one spouse be
    completely unable to pay attorney's fees for the trial court to require the other spouse to pay
    those fees. vSee, Canakaris v Canakaris. 382 So.2d 1197(Fla. S.Ct. 1980).
            There exists a financial disparity between the Husband and Wife. The Husband has been
    the sole provider for all finances during their twenty-one(21) years of marriage. The Wife has
    never worked out ofthe home during this time period and has no formal college education.
            As of March 5,2019, the evidence provided to this Court is that the Wife has incurred
    legal fees. Exhibit number five(5)in evidence is a listing ofthe legal fees charged and Exhibit
    number seven (7)is a complete breakdown ofthe billing statement for legal fees. The Wife is
    seeking an award of $72,811.00 in legal fees.
          The Court, at this time finds an entitlement to legal fees, and awards a temporary/partial
    payment oflegal fees of$10,000.00. Attached to this Order is a scheduling Order on petitioner's
   request for award of additional attorney fees, which the parties are to follow.
         This Court retains and reserves jurisdiction of this case for the purpose of enforcing and
   modifying the terms of this Order and entering further Orders as may be necessary.

           ORDERED:

           The Wife's Motion for Temporary Alimony is GRANTED.The Court awards the Wife
   $2,000.00 a month, nun pro tune to July 2017,totaling two(2) years of back payment amounting
   to $48,000.00. The Husband is to pay $2,000.00 a month, with an additional payment of
   $1,000.00 a month to make up for back payments owed. These payments total $3,000.00 a month
   in payments from Husband to Wife. These payments shall be made monthly until paid up on the
   $48,000.00 owed,then payments of$2,000.00 per month will continue.
           The Wife's Motion for Temporary Exclusive use ofthe marital home is GRANTED. The
   Husband will have thirty(30)days from the date ofthis Order to vacate the marital home.
           The Wife's Motion for Temporary Attorney's Fees, the Court finds ENTITLEMENT,
   and awards a temporary/partial payment at this time of$10,000.00 in legal fees to be paid for by
   the Husband. Attached is the Scheduling Order on Petitioner's request for additional attorney's
   fees that the parties are to follow.
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             ORDERED in chambers in Broward County, Ft. Lauderdale, Florida on the
    day of                               2019.              pETERHOLDEN
                                                               JUL30
                                       Peter Holden, Circuit Coi^TRliiECOPY
    cc:      All parties of record
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                                                                                     EXHIBIT "B"
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        Prepared by and return to:
        Barry S. Franklin, Esquire
        BaiTy S. Franklin & Associates, P.A.
        3590 Mystic Pointe Drive
        Aventura, Florida 33180

                                          QUITCLAIM DEED

               THIS QUITCLAIM DEED executed this^day of Mare-it .201^^ by
        first party, MENACHEM SCHNEORSON, a married man (hereinafter referred to
        as the "Grantor"), whose post office address is: 1125 NE 6*^ Street, Hallandale
        Beach, Florida 33009, to second parties, MARGALIT SCHNEORSON, a married
        woman,and MENACHEM SCHEORSON,a married man (hereinafter collectively
        called the "Grantees"), whose post office address is: 1125 NE 6^^ Street, Hallandale
        Beach, Florida 33009.

              (The designation "Grantor" and "Grantee(s)" as used herein shall include said
        parties, their heirs, successors and assigns and shall include singular, plural,
        masculine,feminine or neuter as required by context.)

               Witnesseth, that the said first party/Grantor, for the sum of Ten Dollars and
        No/100 ($10.00), and other good and valuable consideration paid by the second
        parties, the receipt whereofis hereby acknowledged, does hereby remise,release and
        quitclaim unto the said second parties/Grantees, their heirs, successors, and assigns,
        all right, title, interest and claim which the said first party/Grantor has in and to the
        following described parcel ofland, and improvements, and appurtenances thereto in
        Broward County, Florida, to wit:

                     Legal description: LOT ELEVEN (11) IN BLOCK TEN
                     (10), of GULFSTREAM             ESTATES NO. 2,
                     ACCORDING TO THE PLAT THEREOF,RECORDED
                     IN PLAT BOOK 39, PAGE 49, OF THE PUBLIC
                     RECORDS OF BROWARD COUNTY,FLORIDA
                     Abbreviated     legal  description:  GULFSTREAM
                     ESTATES NO 2 39-49 B LOT 11 BLK 10 (hereafter •
                     referred to as the "Property").

                     The street address for the Property is:
                     1125 NE 6"^ Street, Hallandale Beach,Florida 33009.


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                        The Property Appraiser's Parcel Identification Number for
                        the Property is: 5142 22 37 0410
                        Folio Number: 708215

               IN WITNESS WHEREOF, Grantor has signed and sealed these presents the
         day and year first above written, sealed and delivered in the presence of:


         WITNESSES:                                                        GRANTOR:
           -r"
                                                                              /h-vc
         Print Name:                                                       MBNACHEM SCHNEORSON,a
                                                                           married man,individually
         Address of Witi
                               S55fargobank,ra.
                                    HallandalcBtaneh
                             1201 East Hallandaiefieacfa Blvd'
                            '7nalla]jjaltfftad].rLJjljW




         Print Name:
         Address of Witness:

                                             PL.130CfS


         STATE OF FLORIDA                               )
                                                        )ss.:
        COUNTY OF                             ,         )

                 The foregoing instrument was acknowledged before me this *2^                           day of
         Maxell        201^,by MENACHEM SCHNEORSON,a married man,individually,
        who       is       personally             known             to    me,     or   who     has    produced
         FL Dnwrs                                                 as identification.


                  ^                             -
                  -
                  -
                       ;Mv Comni.
                       :
                                 Expire®: •
                               nR 9022 :  —
                                                                   Notary Public- State fef Florida
                                                                   Printed Name: fJ&i // j2.^
        My CommissW^^^s:                                         (%^ IM?.
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                                                                          EXHIBIT "A"




               IN THE CTKCUrr COURT'OF THE 17^"JUDICIAL CIRCUIT
                     IN AND FOR BROWARD COUNTY,FLORIDA

       IN RE: THE MARRIAGE OF                     CASE NO.: FMCE-17-011569

       MARGALIT SCHNEORSON,                     FAMILY DIVISION
           Petitioner/Counter-Respondent/W ife,

       and


       MENACHEM SCHNEORSON,
          RevSpondent/Counter-Petitioner/Husband,

       and


       BARRY A. KAYE
              Third Party Defendant.
                                                          /

       ORDER GRANTING PETITIONER/WIFE'S MOTION TO COMPEL THE
        RESPONDENT/HUSBAND TO EXECUTE AN APPROPRIATE DEED
          CONVEYING AN UNDIVIDED ONE-HALF(i/2)INTEREST TO THE
       WIFE IN THE MARITAL HOME SO THAT SHE IS A JOINT OWNER OF
             THE PROPERTY AS A MATTER OF PUBLIC RECORD AND FOR
                         OTHER RELIEF INCIDENT THERETO


              THIS CAUSE came before the Court on the Wife's Motion entitled:

       Petitioner/Wife's Motion To Compel The Respondent/Husband To Execute An

       Appropriate Deed Conveying An Undivided One-Half(1/2) Interest To The Wife in

       The Marital Home So That She Is A Joint Owner Of The Property As A Matter Of

       Public Record And For Other Relief Incident Thereto for a special set hearing on

      'Tuesday, March 19, 2019. In atlcndancc lor llic hearing wore the Petitioner/Wife,

       MARG.ALl'T SCHNEORSON (hereinafter referred to as the "Wife"); and her
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                        Order Grarning Wife's Motion to Compel Husband to Execute Appropriate Deed, et al.
                                                                              Case No.: FKdCE-ll 011569
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        coiinsej of record Barry S. Franklin of the Law Firm of Barry S. Franklin &
        Associates, P.A., together with the Respondent/Husband, MENACHEM
        SCHNEORSON (hereinafter referred to as the "Husband"), and his counsel of
        record Steven S. Saber. After hearing from both counsel of record and considering
        both the deposition testimony of the Husband and his in-Court testimony at the
        March 19, 2019 hearing, including his answers to questions asked by the Court, and
        the Court being otherwise fully advised in the premises, it is thereupon
              ADJUDGED:


              1.    This Court has both subject matter and personal Jurisdiction over the

       parties.

              2.    The residential property located at 1125 NE 6"' Street, Haliandale Beach,
       Florida 33009 is agreed by both parties to be the marital home.

              3.    The marital home located at 1125 NE 6"' Street, Haliandale Beach,
       hlorida 33009 is also the constitutionally protected homestead property for both the
       Husband and the Wife.

             4.     The Husband testified in his deposition taken on December I I, 2018

      (pertinent pages of which were admitted into evidence during the Ursl part of the
       temporary relief hearing held on Januaty 8, 2019)that;

                   Q; So, as we .sit here today, is your wife's name on the title to the
                   Haliandale Beach property?
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                      A: It's not, only because she didn't want to come to put her name
                      on the title. Very simple.

                      Q. Okay,so it s so simple that your next answer to my question is,
                     Ml. Fianklin, she absolutely should have her name on the title to
                     the property. She deserves to be an equal co-owner just like me —
                     A: Absolutely.

               5.     During the second part of the hearing held on March 19, 2019, the
       Husband testified tliat the Wife's name should have been placed on the title to the
       property from the beginning after it was purchased. The Court will address at trial the
       testimony from both parties as to credibility or lack thereof as to why the Wife's name
       was omitted from the Deed showing record title to the subject property when the
       properly was purchased.

              6.     The public record indicates that the subject marital home was purchased
       on January 31,2013 with a first mortgage in favor ofPrimaiy Residential Mortgage,
      Inc. The Court has had an opportunity to review a true copy of the first mortgage
      (mortgagee Primary Residential Mortgage,Inc.) and the mortgage Instrument clearly
      reflects that the Wife executed the mortgage. The Husband's counsel incorrectly
      argued in open Court at the March 19, 2019 hearing that the Wife had not signed the
      first mortgage in lavorofPrimary Residential Mortgage,Inc. and that will be addressed
      at a later hearing.
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                                                                                  Schmorson v. Schneorson
                         Order Granting Wife's Motion to Compel Husband to Execute Appropriate Deed, et ai.
                                                                               Case No.: FMCE-17-0J1.569
                                                                                                Page 4 of5

              7.       AdditionaJiy, at the March 19,2019 hearing,the Husband further testified
        that he was willing to cooperate to make sure that the Wife's name is listed as a 50%

       co-owner ofthe subject property which has always been her homestead.

              8.       Regardless ofwhether the property was titled only in the Husband's name
       or now will be titled in joint names of both the Husband and Wife, the residential

       property (marital home) located at 1125 NE 6"^ Street, Hallandale Beach, Florida
       33009 has, at all times, been a marital asset subject to equitable distribution in this
       divorce case.

             9.     The Wife's Motion entitled: Petitioner/Wife's Motion To Compel The
       Respondent/Husband To Execute An Appropriate Deed Conveying An Undivided
       One-Half(1/2) Interest To The Wife In The Marital Home So That She Is A Joint

       Owner Of The Property As A Matter 01 Public Record And For Other Relief

      Incident Thereto is well founded and should be granted. It was also demonstrated to
      the Court that the Wife, through her counsel of record, made several attempts to get
      the Husband to sigjj an appropriate Quitclaim Deed but all of those attempts even
      after the filing of the Motion to Compel were ignored by the Husband. For that
      reason, the Court reserves jurisdiction on the Wife's request for attorneys' fees and

      costs to be taxed against the Husband for all fees and costs reasonably related to the
Case 1:22-cv-03319-DG-VMS
       case
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                          Otder Granfmg Wife s Motion to Compel Husband to ExecuteSchneonon
                                                                                    Appropriatev. Schneorson
                                                                                                  Deed, et at.
                                                                                  Case No.: FMCE-17-011569
                                                                                                 Page 5 of5
        time spent securing the Husband's execution of a Quitclaim Deed in favor of the
        Wife for the marital home.

               10.      Within ten (10) days from the entry of this Order, the Husband shall
        sign the Quitclaim Deed prepared by Wife's counsel and return the original duly
        executed Quitclaim Deed to the Wife's counsel's office to wit; The Law Firm of
        Barry S. Franklin 8l Associates, P.A., 3590 Mystic Pointe Drive, Aventura, Florida
       33180, Bfranklin@barrvsfranklin.com.

              11. The Court reserves jurisdiction for enforcement purposes and is
       otherwise authorized by Florida law.

             DONE AND ORJ.OERED in Chambers, Broward County, Florida, this

              '^'<■>1                                    "f yy                               "^^TeHHOLDEN
       day of MaciSh, 2019.


                                                    -                                           ^ 0 i? 2il!9
                                                            CIRCUIT COURT JUDGE .                     .-
                                                                                               A7Ri.ic{C;0PY
       Copies to:
          1. Barry S. Franklin, Esq., 3590 Mystic Pointe Drive, Aventura, Florida
             33180; Email: BErankIin@,barrys franklin.com
         2. Steven S. Saber, Esq., 4238 Hollywood Blvd., i^203, Hollywood, PL 33021
            Email:
      case i-ii2-4U4y4-jmm                  Doc lu-i            hiiea                            bnterea                 i^:'3Z:3^
  CFN # 111293956, OR BK 49468                    Page 1403, Page                      1 of 13, Recorded 02/01/2013 at
  08:37 AM, Broward County Commission,                                Doc M:             $616.00 Int. Tax $352.00 Deputy
  Clerk ERECORD
          After Recording Return To:
          PRIMARY RESIDENTIAL MORTGAGE, INC.
          4750 WEST WILEY POST WAY STB. 200
          SALT LAKE CITY,OT 84116
          800-255-2792
          This Document Prepared By;
          ROSE CASTRO
          PRIMARY RESIDENTIAL MORTGAGE, INC.
          4750 WEST WILEY POST WAY
          SALT LAKE CITY. UTAH 84116
          800-255-2792
                                                  I Space .Above n»is Line For Recording Data)
                                                            MORTGAGE
                                                                                                  SCtlNBORSON
                                                                                                  Loan H 411500099
                                                                                                  MtN; 1001464100021.11213
                                                                                                  MFRS Phone; 1-808-679-6377
                                                                                                  PtN:514222370410
         DEFINITIONS
         Words used in multiple sections of this document arc defined below and other words are defined in Sections 3, 1 1,
         13. 18. 20 and 21. Cenain rules regarding the usage of words used in this document arc also provided in .Section' 16.'
         (-•V) "Security instrument" means this document, which is dated JANUARY 31, 2013. together with all Riders
         to this document.
        (B)"Borroiver" is MENACHBM SCHNEORSON, A MARRIED MAN JOINED BY HIS WIPE, MARGALIT
        SCHNEORSON. Borrower is the mortgagor under this Security Instrument.
        (C) 'MERS" is Mortgage Electronic Registration Systems. Inc. MERS is a separate corporation that is acting solely
         as a nominee for Lender atid Lender's successors and assigns. MERS is the mortgsigce under this Security
         Instrument. MERS is organized and existing under the laws ofDelawarc, and has an address and telephone number
        of P.O. Bo.v 2026. Flint, MI 48501-2026, tel.(888)679-MERS.
        (D) Lender' is PRIMARY RESIDENTIAL MORTGAGE, INC.. Lcudcr is a NEVADA CORPORATION
        organized and e.visting under the laws ofNEVADA. Lcnder'.s address is 4750 west wiley post way, salt
        LAKE CITY, UT G4116.
        (E)"Note" means the promissory note signed by Borrower and dated January 31, 2013. The Note .states that
        Borrower owes Lender one hundred SEventy-six thousand and 00/100 Dollars (U.S.
        Sl76,000.00) plus interest. Borrower has promised to pay this debt in regulnr Periodic Pai mcni.5 ami to pay the
        debi in till! not later than FEBRUARY 1, 2043
        FLORID.A -Single F.liniJy- Fannie Mae/Frcdilie Mac UNIFORM IN.STRUMFNT
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Case 1:22-cv-03319-DG-VMS Document 1 Filed 06/06/22 Page 97 of 136 PageID #: 97
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         (F)"Propcrt)-" means the property thai is described below under die heading "Transfer ofRights in the Properly."
         (G)"Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due
          under the Note, and all sums due under this Security Instrument, plus interest.
         (H)"Riders" means all Riders to this Security Instrument that are executed by Borrower. The following Riders are
          to be c.vccutcd by Borrower (clieck box as applicabie):

         O Adjustable Rate Rider                CD Condominiiun Rider                         (D Second Home Rider
         □Balloon Rider                         □Planned Unit Development Rider               ID Biweekly Payment Rider
         □ I-4 Family Rider                     □ Other(s) (spcci5')

         (I) ".Applicable Law" means ail controlling applicable federal, state and local statutes, regulations, ordinances and
         administrative rules and orders (that have the efTect of law) as well as all applicable final, non-appcalablc judicial
         opinions.
         (J) "Community' Association Dues, Fees, and .Assessments" moans all dues. fees, assessments and other charges
         that are impo.scd on Borrower or the Propcrtj' by a condominium association, homeowners association or similar
         organization.
         (K) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check, drafl.
         or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument, computer, or
         magnetic tape so as to order, instruct, or authorize a financial msiitulion to debit or credit an account. Such term
         includes, but is not limited to, poini-of-.salc transfers, automated teller machine transactions, transfers initiated by
         telephone, wire transfers, and automated clearinghouse transfers.
         (L) "Escrow Jtcm.s" means those items thai arc described in Section 3.
         (M) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by any
         third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to. or
         destruction of, the Property; (ii) condemnation or other taking ot all or any pan of die Piopeny; (iii) conveyance in
         lieu of condemnation; or (iv) misrepresentations of. or omi.ssioii.s as to, the value .and/or condition of the Property.
        (N) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the Loan.
        (O) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest ttndcr the Note,
        plus (ii) any amounts under Section 3 of this Security Instruinem.
        (P) "RESP.A" means the Real Estate .Settlement Procedures Act (12 U S.C § 2601 et seq.) and its implementing
        regulation. Regulation X (12 C.F.R. Part 1024), as they might be amended from time to time, or any additional or
        successor legislation or regulation that governs the same subject matter. As used in this Security liistruincnt.
        "RESPA" refers to all requirements and restrictions that aie ini|)0scd in regiud to a ' federally related mongagc loan"
        even if the Loan does not qualify as a "federally telaied mortgage loan" under RfiSPA
        (Q) "Successor in liitcrcsi of Borrower" means any party tliat has taken title to the Property , whether or not that
        party has a.ssunted Borrower's obligations under the Note and/or this Security Instmment.

        transfer of rights in the property

        fhi.s Security Instrnmcni secures to Lender (i) the repayment ol tlic Loan, ami ail rcnc>vals, cxtcn.sioiis and
        modifications of the Note, and (li) the pcrformaiiec of Borrower s covenants and agreements under this Security
        Insuument and the Note. For this purpose. Borrower does hereby inoi tgage, grant and convey to MERS (solely as
        nominee for Lender and Lender's successors and assigns) and lo the succcssois and assigns orMER.$. the following
        described property located in the COUTTTY oI'BROWARD
        LOT ELEVEN (11) IN CLOCK TEN (10) , OP GOI.FGXREAW ESTATES NO. 2, ACCORDING TO
        THE PLAT TIFIERECP, RECORDED IN PLAT BOOK 39, PAGlC 4 9, OP THE PUCLIC RECORDS OF
        8R0WARD CODWry,           FLORIDA.

        Kt.ORlDA -Siiiflf Family. Faonir .Vlar/Piraai;' ,VI;,.- l.MKlftM INSTWCMF.NT
        ^ 317 10                                                       7 cl" i.'                                   Form .tniO 1/01


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          which currenily has ihc address of 1125 NE 6TH ST. HALLANDALE BEACH, Florida 33009 ("Properly
          Address").

                   TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements,
          appurtenances, and fixtures now or hereafter a part of the property. All leplaceinenis and additions shall also be
          covered by this Security instrument. All of the foregoing is referred to in this Security Inslniment as the "Property."
          Borrower understands and agrees that MERS holds only legal title to the interests granted by Borrower in this
         Security Instrument, but, if necessary to comply with law or custom, MERS(as nominee for Lender and Lender's
         successors and assigns) ha.s the right: to exercise any or all of those interests, including, but not limited to. the right
         to foreclose and sell the Properly; and to take any action required ofLender including, but not liiniicd to. releasing
         and canceling this Security Instrument.

                    BORROWER COVENANTS that Borrower is iavxTitlly seised of the estate hereby conveyed and has the
         riglii to tnongage. grant and convey the Propenj' and diat the Property is unencumbere4 e.xcept for encumbrances of
         record. Borrower warrants and will defend generally the title to the Property against all claims and demands,subject
         to any encumbrances ofrecord.

                   THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
         covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real property.

                   UNIFORM COVENANTS.Borrower and Lender covenant and agree as follows:
                   I. Payment of Principal, Intere.si, E.scr»\v lieiiis, Prepnyment Charges, and Late Charges. Bonrouer
         shall pay when due the principal of, and interest on, Ute debt evidenced by the Note and ;iny prepayment charges and
         late charges due under the Note. Borrower shall also pay ftinds for Escrow Items pursuant to Section 3. Payments
         due under the Note and this Security Instrument shall be made in U S. ciincncy. However, if any check or other
         instmment received by Lender as payment under the Note or this Security Instrument is returned to Lender unpaid,
         Lender may require that ajty or ail subsequent payments due under the Note and this Security liistTutneiit be made in
         one or more of the following forms, a.s selected by Lender:(a) cash;(b) money order;(c) certified check, bank
         check. lrcasurer'.s check or ca.shier's check, provided any such check is drawn upon an institution whose deposits are
         insured by a ledcral agcncv, instrumentality, or cntir^'; or(d)Electronic Funds Transfer.
                  Payments are deemed received by Lender when received at the location designated in the Note or at such
         other location as may be designated by Lender in accordance with the notice provisions m Section 15 l.cndcr may
         return any paynicni or paniai payment if ilie payment or partial payments are insufficient to bring the Loan current.
        Lender may accept any payment or partial payment insufficient to bring the Loan current, without waiver of any
        rights hereundcr or prejudice to its rights to refuse such payment or paniai payments in the future, but Lender is not
        obligated to apply such payniems at the time such payments are accepted. Ifeach Periodic Payment is applied as of
        its scheduled due date, then Lender need not pay interest on unapplied ilinds. Lender may hold such unapplied funds
        until Borrovver makes paymenl to bring the Loan current. If Dorroivcr does not do so within a reasonable period of
        liiiic. Leiidei shall either apply such funds or reiuna them to Borrnwer Ifnoi applied earlier, such funds will be
        applied lo the outstanding prnicipal balance under the Note immediately prior to foreclosure No offset or claim
        which Bonowcr might have now or in the future against Lender shall relieve Bonowct from making payiueiiis due
        uridet the Note and this .Seciiriiy instrunieni or performing (he covenants and agreemeni.s secured by this Security
        Instrument
                  2. .Vpplirniirvn of Payments nr Procced.s. H.vccpi as Otherwise described in thi.s .Section 2. all payments
        accepted and applied by Lender sliall be applied in the following oidcr of priority: (a) interest due under the Note;
        (b) principal due under the Note:(c) aiiiounis due under .Section 3. Such payments shall be applied to e.ach Periodic
        Paymeni in the order in wtuch n hecair.e due Any remaining amoiinis siiaJI be applied tlrsl to late charges, second u>
        aii\ othci amounis duo under this Security Instrunieni. and then to reduce the principal balance of the Note
                  l! I rnrier receives payment from Borrower for a dclintjiicni Periodic Paynicni vshicli indudes a suffieicnt

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           aiiiouni to pay any laic charge due, the payment may be applied to the delinquent payment and the late charge. If
          more than one Periodic Payment is outstanding, Lender may apply any payment received from Borrower to the
          repayment ofthe Periodic Payments if, and to the extent that, each payment can be paid in liill. To the e.xient that
          any excess c.xists aDcr the payment is applied to the full payment of one or more Periodic Payments, such excess
          may be applied to any late charges due. Voluntary prepayments shall be applied first to any prepayment charges and
          then as described in the Note.
                   Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
          Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
                   3. Punds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the
          Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for;(a) taxes and
          assessments and other items which can attain priority over this Security Instrument as a lien or encumbrance on the
         Property;(b)leasehold payments or ground rents on the Property, if any;(c) premiums for any and all insurance
         required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any, or any sums payable by
         Borrower to Lender in lieu ofthe payment of Mortgage Insurance premiums in accordance with the provisions of
         Section 10. These items are called "Escrow Items." At origination or at any time during the term ofthe Loan,Lender
         may require that Community Association Dues, Fees, and Assessments, if any, be escrowed by Bottovver. and such
         dues, fees and assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of
         amounts to be paid under this Section. Borrower shall pay Lender ihc Funds for Escrow Items unless Lender waives
         Borro\vei s obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's obligation to pay
         to Lender tninds for any or all Escrow Items at any time. Any such waiver may only be in writing. In the event of
         such waiver. Borrower shall pay directly, when and where payable, the amounts due for any Escrow Iiems for which
         payment of Fun^ has been waived by Lender and. if Lender requires, shall furnish to Lender receipts evidencing
         such payment within such time period as Lender may require. Borrower's obligation to make such payments ajtd to
         provide receipts shall for all purposes be deemed to be a covenant and agreement contained in this Security
         Instrument, as the phrase "covenant and agreement" is used in Section 9. If Borrower is obligated to pay Escrow
         Items directly, pursuant to a waiver, and Borrower fails to pay cite amount due for an Escrow Item, Lender may
         e.xercise its rights under Section 9 and pay such amount and Borrower shall then be obligated under Section 9 to
         repay to Lender any such amount. Lender may revoke the waiver as to any or all Escrow Items at any time by a
         notice given in accordance widi Section 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and
         in such amounts, that arc then required under this Section 3.
                  Lender may. at any time, collect and hold Funds in an amount(a)sufficient to permit Lender to apply the
         Funds at the time specified under RESPA, and (b) not to exceed the ma.ximum amount a lender can require under
                   Lender shall estimate the amount ofFunds due on the basis of current data and reasonable estimates of
        expenditures of hiture Escrow Items or othenvise in accordance wiih Applicable Law.
                  The Funds shall be held in an institution whose deposits are insured by a fedeial agency, insiruineniaiity, or
        entity (including Lender, it Lender is an institution whose deposits arc so insured) or in any Federal Home Loan
        Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under RE.SPA. Lender
        shall not charge Borrower for holding and applying the Funds, annually analyzing the cscro\v account, or verifying
        the Hscro\*' Items, unless Lender pays Borrower inlcrc.si on the Funds and Applicable Law pcnniis Lender to make
        such a charge. Unless an agreement is made in writing or Applicable Law requires interest to be paid on the Funds,
        Lender shall not be required to pay Borrower any interest or earnings on the Funds Borrower and Lender can agree
        in writing, however, that interest shall be paid on ibe Funds. I.ciidei shall give to Borrower, wiihont charge, an
        annual accounting of the Funds as required by RhSPA.
                  If there i.s a surplus ol Fiinds held in escrow, as dellned under RESP.-y, 1 ender shall account to Borrower
        for the c.xccss funds in accordance with RFSPa. If there is a .shortage ofFunds held m escrow, as defined under
        RI SPa. r.ender shall notify Borrower as required by RFSPA. and Borrower shall pay to Lender the amomii
        ncccs^sarx to make up the shortage in accorduncc with RFLSP.A. hut in no more ihmi 12 monthly paymenss If there is
        a deficicnc) of Funds held in escrow, as defined under RE.SPA, Lender shall nonfy Borrower as required by
        RLSPA, anil Borrower shall pay to Lender the amount tieccssary to make ii)) the ilctlcicncy in aecurdancc with
        RF.SPa. but in no more than 12 monthly payments.
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                     Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly reftmd to
           Borrower any Funds held by Lender.
                   4. Charges; Liens. Boirower shall pay all taxes, assessincnt.s, charges, fines, and impositions attributable
          to the Properi)' which can attain priority over tJiis Security Instrument, leasehold payments or ground rents on the
          Property, ifany, and Commiiniiy Associaiitm Dues, Fees, and Assessments, ifany. To the extent that these items arc
          Escrow Hems, Borrower shall pay tliem in the niaiuier provided in Section 3.
                     Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
          Borrower:(a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
          Lender, but only so long as Borrower i.s performing such agreement;(b) contests the lien in good faith by, or
          defends against enforcement of die lien in, legal proceedings which in Lender's opinion operate to prevent the
          enforcement of the lien while those proceedings arc pending, but only until such proceedings arc concluded; or(c)
          secures from the holder of the lien an agreement saiisfactoiy' to Lender subordinating the lien to this Security
          Instrument. If Lender determines that any part ofthe Property is subject to a lien which can attain priority over this
          Security Instmmeni, Lender may give Borrower a notice idcntijy ing the lieu. Within 10 days ofthe date on which
          that notice is given, Borrower shall satisfy the lien or take one or more of the actions set forth above in this Section

                    Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
          service used by Lender in connection with this Loan.
                    5. Property Insurance. Borrower shall keep the improvements now e.xisting or hereafter erected on the
          Property insured against loss by fire, hazards included within the term "extended coverage," and any other hazards
          including, but not limiicd lo. eaithquakes and floods, for which Lender requires insurance. This insurance shall be
          maintained in the amounts (including deductible levels) and for the periods that Lender requires. What Lender
          requires pursuant to the preceding sentences can change during the term of the Loan. The insurance carrier
         providing the insurance shall be chosen by Borrower subject to Lender's right to disapprove Borrower's choice,
         which nght shall not be exercised unreasonably. Lender may require Borrower to pay, in connection with this Loan!
         either; (a) a one-time charge for flood zone determination, certification and tracking services; or (b) a one-time
         charge for flood zone deicrminalion and ccriific.iiion services and subsequent charges each time remappings or
         similar changes occur which reasonably might affect such determination or certification Borrower shall also be
         responsible for the payment of any fees imposed by the Federal Emergency Management Agency in connection with
         the review of any Hood zone dciemiinatioii resulting from an objection by Borrower.
                   If Borrower tails to maintain any of iJic coverages described above. Lender may obtaui insuriuice coverage,
         at Lender's opiion and Borrower's c.xpcnse. Lender is under no obligation lo purchase any panicular type or amount'
         of coverage. Therefore, such coverage shall cover Lender, bin might or might not protect Borrower, Borrower's
         cquit)' in the Properly, or the contents of the Properly, against any risk, hazard or liability and might provide greater
         or lesser coverage iJian was previously in effect Borrower acknowledges that the cost of the insurance coverage so
         obtained might significantly e.xceed the cost of insurance that Borrower could have obtained. Any amounl.s
         disbursed by Lender under this Section 5 shall become additional debt of Borrower secured by this Security
         Insirumcni. These amounts shall bear interest at the Note rate from the date of disbursement and sh.all be payable,
         with Such interest, upon riutice from Lender to Borrower requesting payment.
                 All insurance policies required by Lender and renewals ofsucli policies shall be subject to Lender's right to
         disapprove such policies, shall include .a standard mortgage clause, and shall name Lender as mortgagee and/or as an
         additional loss payee Lender .shall have the right ro hold the policies and renewal ce.rtiric.iics. If Lender requires.
         Borrower shall prunipily give to Lender all receipts of paid preniiunis and renewal notices. If Borrower obtains any
         form of insur;-ince coverage, not otherwise required b)' Lender, for damage to. or destruction of. the Property, such
         policy shall include <i standard mongagc clause and shall name Lender as mortgagee and/or as an additional loss
         payee
                 in the event of loss. Bonowcr shall give prompt notice to the insurance carriei and Lender. Lender may
         make proof ot loss if not made promptly by Uorroiver. Unless Lender and Boirower otherwise agree in wTitinti. any
        insurance proceeds wiiothcr or not the uiuiorlying insurance, was required by Lender, shall be applied to restoration
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          or repair of the Property, if the restoration or repair is economically feasible and Lender's security is not lessened
          During such repair atid restoration period. Lender shall have the right to hold such insurance proceeds until Lender
          has had an opponunity to inspect such Property to ensure the work has been completed to Lender's satisfaction,
          provided that such inspection shall be undertaken promptly. Lender may disburse proceeds for the repairs and
          restoration in a single payment or in a series ofprogress payments as the work is completed. Unless an agreement is
          made in writing or Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be
          required to pay Borrower any interest or earnings on such proceeds. Fees for public adjusters, or other third parties,
          retained by Borrower shall not be paid out ofthe insurance proceeds and shall be the sole obligation ofBoirower. If
          the rcstoratioji or repair is not economically feasible or Lender's security would be lessened, the insurance proceeds
          shall be applied to the sums secured by this Security Instalment, whether or not then due, wth the excess, if any.
          paid to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
                   If Borrower abandons the Propeny, Lender may file, negotiate and settle any available insurance claim and
          related matters. If Bonowcr docs not respond within 30 daj's to a notice from Lender that the insurance carrier has
          offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day period will begin when the
          notice is given. In either event, or ifLender acquires the Property under Section 22 or otherwise. Borrower hereby
          assigns to Lender(a)Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid
          under the Note or this Security Instalment, and (b)any other ofBorrower's rights(other than the right to any refund
          of unearned premiums paid by Borrower) under all insurance policies covering the Property, insofar as such rights
          arc applicable to (he coverage of the Property, l.cnder may use the insurance proceeds either to repair or restore ihc
          Property or to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.
                   6. Occupancy. Boirower shall occupy, establish, and use the Property as Borrower's principal residence
          within 60 days after the execution of this Security Instrument and shall continue to occupy the Property as
          Boaowcr's principal residence for at least one year after the date of occupancy, unless Lender otherwise agrees in
          wTiting, which consent shall not be unreasonably vvitbiield. or unless extenuating circumstance.s exist which arc
          beyond Borrower's control.
                  7. Prcserx'ation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy,
         damage or impair the Property, allow tlie Property to deteriorate or commit waste on the Property. Whether or not
         Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent the Property from
         deteriorating ot decreasing in value due to its condition. Unless it is determined pursuant to Section 5 tliat repair or
         restoration is not economically feasible. Borrower shall promptly repair the Property if damaged to avoid fiirtbcr
         deterioration or damage. If insurance or condemnation proceeds are paid in coruicciion with damage to. or the taking
         of. the Proper IY. Borrower shall be responsible for repairing or restoring the Property only if Lender has released
         proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in a
         series of progress payments as the work is completed. If the insurance or condemnation proceeds arc not suflicicni
         to repair or restore the Propcrr>'. BoiTowcr is not relieved of Borrower's obligation for the completion ofsuch repair
         or restoration.
                  Lender or its agent may make reasonable entries upon and inspections of the Property, If it has reasonable
         cause. Lender may inspect the interior of the improvements on the Property Lender shall give Borrower notice at
         the time of or prior to such an interior inspection spcci^'ing such reasonable cause
                8. Borrower's Loan .Application. Borrower shall be in default if, during the Loan application process.
         Borrower or any persons or entities acting at the direction of Borrower or with Borrower s knowledge or couseiii
         gave materially false, mnsleading. or inaccurate inromiaiioii or statements to Lender (or failed to provide Lender
         with material iiironnaiion) in connection with the Loan. Material representations include, but are not limited to.
         representations concerning Borrower's occupancy of the Property as Borrower's principal residence.
                 9. Prolecliofi of Lender's Interest in the Property and Rights Under this Security Instrument. If(a)
         Borrower fails to perform the covenanis and agreements contained in this .Security Insiniment.(b) there is a legal
         proceeding that might significantly affect I.ender's interest in the Property and/or rights under this Secur'iiv
         Insiniment (such as a proceeding in bankruptcy, probate, for condemnation or fbrfciiurc. for enforecinciii of a lien
         which may attain priority over thi.s Security Insirumeni rir to enforce laws or regulations), or |c) Borrower has

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           abandoned the Property, then Lender may do and pay for whatever is reasonable or appropriate to protect Lender's
           interest in the Property- and rights under this Security Instrument, including protecting and/or assessing the value of
           the Proper!)', and securing and/or repairing the Property. Lender's actions can include, but are not limited to;(a)
           paying any sums secured by a lien which has priority over this Security Instrument;(b) appearing in court; and(c)
           paying reasonable attorneys' fees to protect its interest in the Propeny and/or rights under this Security Instrument,
           including its secured position in a bankruptcy proceeding. Securing the Property includes, but is not limited to,'
           enteii'ng the Property to make repairs, change locks, replace or board up doors and windows, drain water from pipes]
          eliminate building or other code violations or dangerous conditions, and have utilities turned on or off. Although
          Lender may take action under tills Section 9, Lender does not have to do so and is not under any duty or obligation
          to do so. It is agreed that Lender incurs no liability for not taking any or all actions auiborized under this Section 9.
                   Any amounts disbursed by Lender under this Section 9 shall become additional debt ofBotrowcr secured
          by this Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and
          shall be payable, wnlh such intere..st, upon notice from Lender to Borrower requesting payment.
                   If this Security InslTumeril is on a leasehold. Borrower shall comply with all the provisions of the lease.
          Borrower shall not surrender the leasehold estate and interests herein conveyed or terminate or cancel the ground
          lease. Borrower shall not, without the e.vprcss written consent of Lender, alter or amend the ground lea.se. If
          Borrower acquires fee title to the Property, the leasehold and tlie fee title shall not merge unless Lender agrees to the
          merger in writing.
                   10. Mortgage Insurance. If Lender required Mongagc Insurance as a condition of making the Loan.
          Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If. for any reason, the
          Mongagc Insurance coverage required by Lender ceases to be available from the mongagc insurer that previously
          provided such insurance and Borrower wa.s required to make separately designated payments toward the premiums
          for Mongage Insurance, Borrower shall pay die premiums required to obtain coverage substantially equivalent to the
          Mortgage Insurance previously in effect, at a cost substantially equivalent to the cost to Borrower of the Mongage
          Insurance previously in effect, from an alternate mortgage insurer selected by Lender If substantially equivalent
          Mortgage Insurance coverage is not available. Borrower shall continue to pay to Lender the amount of iJie separately
          designated payments that were due when the insurance coverage ceased to be in effect. Lender will accept, use and
          retain tJicsc payments as a non-refundable loss resen'C in lieu ofMortgage Insurance. Such loss reseive shall be rion-
          rcfijndable, notwithstanding the fact that the Loan is ultimately paid in full, and l-cudcr shall nol be required to pay
          Borrower any interest or earnings on such loss rcseivc. Lender can no longer require lo.ss reserve payments if
          Mongagc Insurance coverage (in the amount and for the period that Lender requires) provided by an insurer selected
          by Lender again becomes available, is obtained, and Lender requires separately designated payments toward the
          premiums for Mortgage Insurance. If Lender required Mortgage Insurance as a condition ormaking the Loan and
          Borrower was required to make .separately designated payments toward the premiums lor Mongagc Insurance,
         Borrower shall pay the premiums required to maintain Mortgage husurance in effect, or to provide a non-rcfundabic
         loss reserve, until Lender's requirement for Mortgage Insurance ends in accordance wiih any wriiicn agreement
         between Borrower and Lender providing for such lerminaiion or uniiJ termination is required by Applicable Law
         Nothing in this Section 10 a/Tecis Borrower's obligation to pay inlere.si at the laie provided in the Note
                   Mortgage Insurance reimburses Lender (or any entity thai purchases the Note) for cenain lo.sses it may
         incur if Borrower does not repay the Loan as agreed. Sorrower is not a party lo ihc Mortgage Insurance.
                  Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and mav ciiicr
         into agreements with oilier panics thai share or modify their risk, or reduce losses. These agreements are on tcmns
         and conditions that arc saiisfactor\' to the mortgage insurer and the other party (or panics) to these agrcemems.
         These agreements may require the mortgage insurer to make payments using any sooicc of funds that the nioitgagc
         insurer may have available (which may include fiinds obtained from Mortgage Insuiiincc premiums)
                   As a result of these agreements. Lender, any purchaser of the Mote, another insurer, any reinsurer, any other
         entity, or any affiliate of any of the foregoing, may receive (directly or iiijirccily) amounts iluii derive fTom (or
         miglii be characterized asj a poriion of Borrower's payments for Mongage Insurance, in e.Nchange foi shanrm or
         modit*ying the mongagc insurer s risk, or reducing losses. If such agreement provides liiai an affiliate of Lender

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           lakes a share of the insurer's risk in exchange for a share of ihe premiums paid lo the insurer, the arrangement is
           often lemied "captive reinsurance." Further:
                     (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
           Insurance,or any other terms of the Loan.Such agreements will not increase the amount Borrower will owe
           for Mortgage Insurance, and they will not enlillc Borrower to any refund.
                     (b) Any such agreements will not affect the rights Borrower has - if any - with respect to the
           Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may
           include the right to receive certain disclosures, to request and obtain cancellation of Ihe Mortgage Insurance,
           to have Ihe Mortgage Insurance terminated automatically, and/or to receive a refund of any Mortgage
           Insurance premiums that were unearned at the time of such cancellation or termination.
                     II. Assignment of Miscellaneous Proceeds; Forfeiture. All MisccJiancous Proceeds arc hereby assigned
           to and shall be paid to Lender.
                  if the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the
          Property, if the restoration or repair is economically feasible and Lender's security is not lessened. During such
          repair and restoration period. Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had
          an opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction, provided
          that such inspection shall be undertaken promptly. Lender may pay for the repairs and restoration in a single
          disbursement or in a series of progress payments as Uic work is completed. Unless an agreement is made in writing
          or Applicable Law requires interest to be paid on such Miscellaneous Proceeds. Lender shall not be required to pay
          Borrower any interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is not economically
          feasible or Lender'.s security would be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by
          this Security Instrument, whether or not then due, with the excess, if any. paid to Borrower. Such Miscellaneous
          Proceeds shall be applied in the order provided for in Section 2.
                    In the event of a total taking, destruction, or loss in value ofthc Property, the Miscellaneous Proceeds sliall
          be applied to the sums .secured by this Security Instrument, whether or not then due. with the c.xccss, if ajiy. paid to
          Borrower.
                    In the event of a partial taking, de.struction. or loss in value of the Properly in which the fair market value of
          the Propcrry immediately before the partial taking, desmiction. or loss in value is equal to or greater than the amount
          of the Sums secured by this Security fnstnunent immediately before the partial taking, destruction, or loss in value,
          unless Borrower and Lender otherwise agree m wiring, the sums secured by this Security instrument shall be
          reduced by the aniuuiii of the Miscellaneou.s Proceeds multiplied by Ihe following fraction:(a) the total amount of
          the sums secured immediately before the panial taking, destruction, or loss in value divided by (b) the fair market
          value of the Property immediately before ihe partial taking, destruction, or loss in value. Any balance shall be paid
         to Borrower.
                  In the event of a panial taking, dcsiruction. or loss in value of the Property in which the fair market value of
         the Propeny immediately before the panial taking, destruciion, or loss in value is less than the amount of the sums
         secured immediately belore the panial taking, dcstniction, or loss in value, unless Borrower and Lender otherwise
         agree m writing, the Miscellaneous Proceeds shall be applied to ilie sums secured by this Security Instnimcni
         whether or nui the sums arc then due
                  If the Propcrry is abandoned by Bonrowci, or if, aller nonce by Lender to Borrower that the Opposing Pany
         (as defined in the ne.vt sentence) oflcrs to make an award to settle a claim for damages. Borrower fails to respond to
         Lender wnJun 30 days after the date the notice :s given. Lender is authorized to collect and apply the Miscellaneous
         Proceeds either to rc.sioraiion or repair ol the Propeny or to the sijiu.s secured by this Securiiv Instiumein, whether or
         not then due. Opposing Party means the ihird party thai owes Borrower Miscellaneous Proceeds or the pany
         against wtiom Borrower has a right of action m regard to Miscellaneous Proceeds.
                   Borrower shall be in default it any action or proceeding, whether civil or crtiiiirial, is begun thai, in Lender's
         jiidgnieni. could result in forfeiture of the Propeny or other m.arcria! mipairmcni of] eiuler's interest in the l^operiy
         or rights under this Sccuttiy Insiriimem ISorrouer tan cure such a defauli and. if accclciaiioii has occurred, rcinsiaic
         as provided m .Section 19. by causini'. the aciion or proceeding to be dismissed uiih a ruling ihai. in I cndcr's
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           judgmeni, precludes forfeiture of the Property or other material impairment of Lender's interest in the Property or
            rights under this Security Instrument. ITie proceeds of any award or claim for damages that arc atfiibuiabie to the
           impairment of lender's interest in the Property arc hereby assigned and shall be paid to Lender.
                  .Ml Miscellaneous Proceeds that ore not applied to restoration or repair of the Property shall be applied in
           the order provided for in Section 2.                                                           r .              yy
                    \1. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment
           or modtfication of airioitizaiion of the sums .secured by this Security Instrument granted by Lender to Borrower or
           any Successor in Interest of Borrower shall not operate to release the liability of Bonowcr or any Successors in
           Interest ol Borrower. Lender shall not be required to commence proceedings against any Successor in Interest of
           Borrower or to refu.sc to extend time for payment or otherwise modify amortization of the sums secured by this
           Security Instrument by reason of any demand made by the original Borrower or any Successors in Irilcresl of
           Borrower Any forbearance by Lender in c.xcrcising any right or remedy including, without limitation. Lender's
           acceptance ofpayments from third persons, entities or Successors in Interest ofBorrower or in amounts less than the
           amount then due, shall not be a waiver of or preclude the exercise ofany riglil or remedy.
                   13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covcnanis and
          agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who co-sign.s this
          Security Instrument but docs not c.xccuie the Note(a'co-signer"):(a)is co-signing this Security Instrument only to
          mongagc. gram and convey tJte co-signer's interest in the Property under the terms ofthis Sccurit)' Instrument,(b)is
          not personally obligated to pay the sums secured by this Security Instrument; and (c) agrees iliat Lender and anv
          other Borrower can agree to extend, modify, forbear or make any accommodations wiili regard to the terms of this
          Security Instrument or ilic Note vvithout the co-signer's consent.
                   Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
          obligations under ihi.s Security Instrument in vvniing, and is approved by Lender,.shall oblain all of Borrower's
          rights and beneliis under tins Securiiv Instnimcui. Borrower shall not be released from Borrower's obligations and
          liability under ihis Security Instjumeiii unless Lender agrees to such release in writing. The covenants and
          agreements ofihis Security Instrument shall bind (e.xcept as provided in Section 20) and benefit the successors and
          assigns of Lender
                    14. Loan Charges. Lender may charge Borrower fees for services pcrforiiicd in connection with
          Borrower's defauii. for the purpose of protecting l.cnder'.s interest in the Property and nghis under this Securiiv
          Instrument, including, bui noi limiied to. aitomeys' fees, propeny inspection and'valuation fees. In regard to anv
          other fees, the absence of c.vpress authority in this Security Instrument to charge a specific fee to BoiTowcr shall not
          be construed as a prohibition on the charging ofsuch fee. Lender may noi charge fees lh.ai are e.vpressly prohibited
          by this becuriiy Insiiiiincnl oi by Applicable Law.
                  If the Loan is subject lo a law which scis inaxiimim loan charges, and iliat law is finally interpreted so thai
         ihc inteicsi or other loan charges collected or to be collected in connection with the Loan exceed the pcrmiitcd
          imns. then (a)any such loan charge shall be reduced by die amount nccessar)* to icduce ilic charge lo the penniiied
         limit: and ;b) any sums already collected from Borrower which e.xcecdcd permitted limits will be refunded to
         Borrower Lender may choose to make this refund by reducing the principal owed under the Note or by making a
         direct payment lo Borrower If o refund reduces principal, the reduction will be treated as a partial prepaymem
         without am prcpa\ nicni charge (whethci or not a prepayment charge is provided lor under the Note). Borrower's
         acceptance ot any such refiuid made by direct paymeni to Borrower will constitute a waiver of anv right of action
         Borrower luighi have ansing out of such overcharge.
                   15. Noiires. Alt notices given by Borrower or 1 endei in conncclion with this Scciiriry Insiruiiieni must be
         in uTiiing Any nonce lo Borrower in conncclion with ihis .Scciiiiiy Insininicni shall be deemed lo have been given
         lo Borrowct when mailed by first class mail or when actually delivered to Borrower's nonce address if scni by other
         means Nmicc lo any one Borrower shall consnniie notice lo alt Bonrowers unless Applicable Law c.xpic.ssly
         requires oiherwise The nuiice address shall be the Property .Address tiiilc.s.s Bonowcr has rlesignaied a siifisiiiuie
         nonce address by nonce m i.ciidcr Borrower shall promptly rioiify Lender of Borrower's change of address If
         Lender speeiiu's .a procedmc for rcponmg Boirowcr's change of.uldioss, ilien Borrower shall only repori a change
         ri.Oltin.V Suii'.lf Family- Knnmr Mnr/ririMli- M.n I,'N'tFORM IM.STRtlMrN'r
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               Lnnt.                                                      =">o'her addrcss by noiicc to Borrower Any nohce In
               LeX
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                       ?f ifnotL          i"kT'^c                                      ^iven to Lender until actually received by
                            nottce required by this Security Instnimeni is also required under Applicable Law the Applicable
               Law requirement will satisfy the corresponding requirement under this Securiry Instrument.
                          u'^'                  Scverabilily; Rules of Coostruction. This Security Instrument shall be governed by
               th?s SecuritN^^^^^^^
               exDHcidv nr                 u     I
                                                                                                                                  contained »»
                                                                               and limitations of Applicable Law Applicable Law might
                      S«                             parties to agree by contract or it might be silent, but such silence shall not be
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             strumenl.or^the Note conflicts
                                       againstwith
                                                 agreement  by Law.
                                                   Applicable  contract.
                                                                     .suchInconflict
                                                                              the event
                                                                                     shallthatnotany provision
                                                                                                  affect        or clause of
                                                                                                         other provisions     this Security
                                                                                                                           ofthis  Securitv
           Instniiiient or the Note which can be given effect without the conflicting provision.                                          ^
                     As used ill this Security Instrument: (a) words of the ma.sculine gender shall mean and include
           oSanrt
           plural and vice versa, and (c)orthewords
                                                wordof"may"
                                                       the feminine  gender;
                                                             gives sole        (b)words
                                                                        discretion   withoutin the
                                                                                                 anysingular shallto mean
                                                                                                      obligation           andaction.
                                                                                                                     take any  include the
                     17. Borrower's Copy.Borrower shall be given one copy oftlic Note and ofthis Security Instnimem.
           in me Prrlf^rl                              ®r *'* Beneficial Interest in Borrower. As used in this Section IS. "Inierest
           imSLtsSe
           mterests transferred1 m aT
                                    bondi^rfor°I^deed, contract for deed,
                                                                       in theinstallment
                                                                               Propeny.sales
                                                                                         including, butornotescrow
                                                                                              contract        limitedagreement
                                                                                                                       to. those beneficial
                                                                                                                                 the intent
           of which IS the transfer of title by Borrower at a future date to a purchaser.                               agrcemem. me intent
           niiural olmilTn                                      >'                     P^openy is sold or transfcned (or if Borrower is not a
          I i-nHpIr,                  beneficial interest in I?onrowcr is sold or transferred) without Lcndcr".s prior written consent
          Shan                           ? payment
          shall not be c.\crciscd by Lender         m full ofisallprohibited
                                            ifsuch e.xcrci.se      sums secured   by this Security
                                                                             by Applicable  Law. Instrument. However, this option
            nrr.nw of not less than 30 days trom the date the noticeBorrowemotice
          a period                                                                   of acceleration.
                                                                      is given in accordance          The notice
                                                                                               with Section      shall provide
                                                                                                             15 wiihin  which
          Borrower must pay all sums secured by this Security instrument. If Borrower fails to pav Oiese sums prior to the
          non>r
          notice or"i*^  5 on BonowcT
                    demand                                                        permilied by iliis Security Jnsinimeni without  funhcr
                                                                                                                            >'uu. .uimcr

         Miall ha^•! mfm'h     '                             Acceleration. If llorrower meets ccriain conditions. Borrower
                  i Zlr
         (a) n t. days before , ofrthe Propeny pursuantSecunty   Instrument
                                                         to any power  ofsalediscontinued
                                                                              contained inatthisanySecurity
                                                                                                     time prior to the earliest
                                                                                                            Instrument-  (b)suchof
                          Applicable Law might specify for ihe lerminalion of Borrower's riglii to rcinsiatc; or(c)entry of a
          h won d be due under
         then            'b'S Secunty   Instrument.
                               tJiis Security       Ihoseand
                                              Instrument  conditions
                                                             ihc Noteareas that
                                                                           ifnoBonower;  (a)Sad
                                                                                acceleration pavsoccurred;
                                                                                                  Lender all(b)
                                                                                                             sums
                                                                                                                cureswhich
         mcful? T,° I                             agrecinems;(c)pays alI expenses mcuned in enforcing this Security Instrument
          I r irrM                                         attorneys' fees, properly inspection and valuation fees, and oiher fees
               T                       ? Pco'octing Lender's imercsi in the Property and riglits under liiis Security Insirumcni and
         ZZZh Z                                                require to assure that l.endcr's interest in the Property and rights
         rnniin^-"frh""'^H                 borrower
         coniiniK. unchanged. Lender may require      s Obligationpaylosuch
                                                 that Borrower          pay the sums secured
                                                                            rcinsiaicinem stinrsbyand
                                                                                                   thisc.vpcnses
                                                                                                        .Scciuiiy in(nstrumcni .shallof
                                                                                                                      one or more
         cheek                                             -     c^ish.(b) money order;(c) certified check, bank check, treasurer's
         kdcra agency, instrumentality or entity; or (d) F.lcctronic Funds
                                                                       "P®"Transfci.   Upon whose
                                                                                 '■"St'iiiiion reiiisiatemeni
                                                                                                       depositsbyare
                                                                                                                   Borrower   tinsa
                                                                                                                     insured hv
         .Scuiriiy Instru.nem and obligations secured hereby shall remain fiilly effective as if no acceleration had occurred
         However this nghi to reinstate Shall not apply in the case ofaccoleraiion under .Section 18.
         Koie (lugtiher
         Noie firn.emfr''!';.!!                                             Grievance.
                        vMih this Security Insin.mcnl) can be sold one or more times I he prior
                                                                                          Note nonce
                                                                                                or a partial micicst Ains.^le
                                                                                                      to Ronowcr         the
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             might result in a cliange in the entity (known as the "Loan Servicer") that coUects Periodic Payments due under the
               otc and this Security Insinimenl and performs other mortgage loan servicing obligations under the Note this
             Security Instmnienl, and Applicable Law. There also might be one or more changes ofthe Loan Senncer unrelated
             to a sale of the Note. If there is a change ofthe Loan Servicer, Borrower will be given \vritten notice ofthe change
            which will state the name and address ofthe new Loan Servicer.the address to which payments should be made and
            any other infoimation RBSPA requires in connection with a notice of transfer ofservicing. If the Note is sold and
            thereafter the Loan is serviced by a Loan Servicer other than the purchaser ofthe Note, the mortgage loan servicing
            obligations to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are
            not assumed by the Note purchaser unless othcnvisc provided by the Note purchaser.
                              Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
            individual litigant or the member of a class) that arises from the other party's actions pursuant to this Security
            Instrument or that alleges that the other party has breached any provision of, or any duty owed by reason of. this
            Security Instrument, until such Borrower or Lender has notified the other party (with such notice given in
            compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto a
            reasonable period after the giving ofsuch notice to take corrective action. If Applicable Law provides a time period
            which must elapse before certain action can be taken, that time period will be deemed to be reasonable for purposes
           ofthis paragraph. The notice of acceleration and opportunity to cure given to Borrower pursuant to Section 22 and
           the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to satisfy the notice and
            opportunity to take corrective action provisions of this Section 20.
           . .. ,as to.xic or hazardous
           delmed                   Substances.  As pollutants,
                                        substances, used in thisorSeciion
                                                                    wastes 21;
                                                                           by (a) "HazardousLaw
                                                                              Environmental   Substances"  arc those substances-
                                                                                                  and the following  substances
           gasoline. kerosene, other flammable or to.\ic perroieum products, to.xic pesticides and herbicides, volatile solvents^
           materials containing asbestos or formaldehyde, and radioactive materials;(b)"Environmental Law" menus federal'
           laws and laws of the jurisdiction where the Properly is located that relate to health, safety or environmental
           protection; (c) "Environmental Cleanup" includes any response action, remedial action, or removal action, as
           dcHncd in Environmental L.aw; and (d)an "Environmental Condition" means a condition that can cause, contribute
           to. or otherwise trigger an Eiivironmcnial Cleanup.
                     Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
           Substances, or threaten to release any Hazardous Substances, on or in the Property Borrower shall not do, nor allow
           anyone else lo do. anything affecting the Propeny (a) that is in violation of any Environmental Law.'fb) which
           creates an Environmental Condition, or (c) which, due to the presence, use, or release of a Hazardous Substance,
           creates a condition thai atlvcrscly affects the value of the Propeny The preceding two sentences shall not apply to
           the presence. u.sc. or storage on the Propeny of small quantities of Hazardous Substances that are generally
           recognr/cd to be appropriate to nonnal residential uses and to niaiiitcnaiice of die Property (including, but not
           limited to. hazardous substances in consumer products).
                    Borrower shall promptly give Lender wrilten notice of(a) any invcsiigaiion, claim, demand, lawsuit or
          other action by any governmental or regulatory agency or private party involving the Propeny and any Hazardous
          SubstanLC or Enviromiienial Law of which Borrower has aciual knowledge,(b) any Enviromncmal Condilion.
          inchidmu but not limited lo, any spilling. leaking, discharge, release or threat of release ofany Hazardous Siibsiance.'
          and (c) any condition caused by ihe presence, use or release of a .Hazardous Substance which adversely affects the
          value of the Propeny. If Borrower leanis. or is notified by any govenunental or regulaiory auihorirv, or any private
          pany. thai any removal or other remediation of any Hazardous Subsiancc afTccting the Property is necessary.
          Boirower shall promptly take all necessary icinedial actions in .accordance with Environmental Law. Nothing herein
          shall create any obligation on Lender for an l-nvironmcnta! Cleanup.
                    NON-UNIFORM COVENANTS. Borrower ruid Lender liinher covenant .and agree as follows;
                 22. .\ccclcraiion; Remedies. Lender shall give notice to Borrower prior lo acceleration following
          Borrower s hrcacli ofany covenant or agreement in thi.s Security Instrument (but not prior to acceleration
          under Section 18 unless Applicable Law provides ollierwisc). The notice shall specify;(a) Ihe tlefauli;(b)Ihe
          action required to cure the iJcfiiitli; (c) a date, nut less than 30 days from the dale the notice is given lo
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           Borrower, by which the default must be cured; and (d) that failure to cure the default on or before the date
           specified in the notice may result in acceleration of the sums secured by this Security Instrument, foreclosure
            by judicial proceeding and sale of the Property. The notice shall further inform Borrower of the right to
           reinstate after acceleration and the right to assert in the foreclosure proceeding the non-e.xistencc of a default
           or any other defense of Borrower to acceleration and foreclosure. If the default is not cured on or before the
           date specified in the notice. Lender at Its option may require immediate payment in full of all sums secured
           by this Security Instrument without further demand and may foreclose this Security Instrument by judicial
           proceeding. Lender shall be entitled to collect all expenses incurred in pursuing the remedies provided in this
           Section 22, including, but noi limited to, reasonable altorncy.s' fees and costs of title evidence.
                   23. Release. Upon payment of all sums secured by this Security Instrument. Lender shall release this
           Secunij- Instninieni Borrower shall pay any recordation costs. Lender may charge Botrowcr a fee for releasing this
           Security Instrument, but only if the fee is paid to a third party for services rendered and the chargin" of the fee is
           permitted under Applicable Law.                                                                    ""
                    24. Aitorncys' Fees. As used in Ihis Security Instrument and the Note, attorneys* fees shall include those
           awarded by an appellate court and any anomeys" fees incurred in a bankruptcy proceeding.
                  25. Jury Trial Waiver. The Borrower hereby waives any righl to a trial by jury in any action, proceeding,
          claim, or counterclaim, whether in contract or tort, at law or in equity, arising out of or in anv way related to this
          Security Instrument or the Note.

                    BY SIGNING BELOW,Boirowcr accepts and agrees to the terms and covenants contained in this Security
          Instrument and in any Rider executed by Borrower and recorded with it.



             BORROWER -       MENACHEM SCHNEORSON - DATE


                               "                                  /-"bl -
          MARGALO^ SCHNEORSON               - DATE

          Borrower's Mailing Address; 1125 ne 6TH ST, HAJLLAUDALE BEACH. FL 33009
         Signed, sealed and delivered in the rresence of:



         Witness                                                             Witne         _^-<ZSS\CCi




         H.ORID.A Siiitlc       K.Kinic M.-if/Freiidic Mac t!>tK0KJ\1 I.VSTRI.MEiS'T
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           state of FLORIDA

           COUNT\'OF BROWARD

                    The foregoing instrument was acknowledged before ine on                                                               ^
                                            MARGALIT SCHNEORSON, who is personally known to inc or who has produced
                                                                        as identification.




                                                                               Notary' Public


                                                                               My Commission E^ires:
                                                                                                                       GOLOSZMIOT
                                                                                                    /     5 Notary Public - Stats o( Florida
                                                                                                    vF       My Comm. Expires Apr 4. 2014
                                                                                                ,              Gommlsston if DD 974370 k




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                                                            Hearing Date: AprU 12, 2022 at 10:00 AM
                                                            Response/Objections: April 5,2022

      UNITED STATES BANKRUPTCY COURT
      EASTERN DISTRICT OF NEW YORK



     In Re:


     MENACHEM MENDEL SCHNEORSON                             Case No. 22-40494 - JMM


                    Debtor.                                 Chapter 7



                                         NOTICE OF MOTION


              PLEASE TAKE NOTICE that upon the Creditor, Margalit Schneorson's Motionfor

     ReliefFrom Automatic Stay, Awarding Prospective Stay Relief and Waiving the 14 Day Stay

     Under Bankruptcy Rule 4001(a)(3) filed by Creditor, Margalit Schneorson, a hearing will be

     held on April 12« 2022 at 10:00 am before the Hon.Jil Mazer-Marino,Bankruptcy Judge at U.S.

     Bankruptcy Court; 271-C Cadman Plaza East, Brooklyn, New York 11201-1800,Courtroom #

     3529 to consider the Motion for an Order granting relief as follows:(i) granting the Motion;(ii)

     declaring that the Marital Property is not property of the estate and not subject to the automatic

     stay; (iii) declaring that the automatic stay does not apply to the acts in the Divorce Case set

     forth above;(iv) granting relief from the automatic stay, to the extent applicable, to allow the

     Divorce Court to enter all orders to enforce and finally determine all issues in the Divorce Case

     and/or sell the Marital Property;(v) granting prospective stay relief to the Wife with respect to

    the Divorce Case and/or the Marital Property;(vi) waiving the 14-day stay under Bankruptcy

    Rule 4001(a)(3); and (vii) granting any additional relief the Court deems Just and proper.

              PLEASE TAKE FURTHER NOTICE, that said hearing will be conducted

    telephonically. All parties, including attorneys, clients and pro se parties, that wish to participate
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     in the Hearing shall appear telephonically. Each Party that intends to participate in a telephonic

     hearing must email the Courtroom Deputy at JMM_hearings@nyeb.uscourts.gov at least one

     business day before the scheduled hearing and provide the party's name, email address, and

     telephone number. To participate in the Hearing,Participating parties, including attorneys, shall

     follow the following instructions:

                   1. Dial in Number 888-273-3658


                   2. Access Code - 2872314


                   3. State your name each time before speaking

                   4. Avoid the use of a speaker phone and use a landline, if possible

                   5. If you are not speaking, keep your phone on mute

                   6. Speak up and enunciate so that you can be heard and understood

             PLEASE TAKE FURTHER NOTICE that response or objections, if any, to the

     Motion must (i) be in writing,(ii) conform to the Bankruptcy Rules, Local Bankruptcy Rules

     and General Orders,(iii) specify the name of the objecting party, and state with specificity the

     basis of the objections(s) and the specific grounds therefore, and (iv) be filed with the Court

     electronically accordance with General Order 559 (General Order 559 and the User's Manual

     for the Electronic Filing Case System can be found at http://www.nYeb.uscoiu'ts.gov, the official

     website for the Court),by registered users of the Court's case filing system, and by all other

     parties in interest, on a diskette, CD or DVD in Portable Document Format(PDF), Word Perfect

     or any other Windows-based word processing format and(v)simultaneously served upon Alan

     R. Crane, Esq., counsel for the Defendant, at 2255 Glades Road, Suite 419A, Boca Raton,

     Florida 33431 and at acrane@furrcohen.com so as to be received no later than seven (7) days

     prior to the hearing dale as set above.
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            PLEASE TAKE FURTHER NOTICE that unless objections are timely filed and

     received by the Court, the Court may grant the relief requested herein.

            PLEASE TAKE FURTHER NOTICE that the hearing may be adjourned from time

     to time without further notice other than the announcement of such adjournment in open court

     or by posting ofsuch adjourned date on the Court's calendar on the aforementioned date.

    Dated: March 18, 2022                               PURR AND COHEN,P.A.
                                                        One Boca Place, Suite 419A
                                                        2255 Glades Road
                                                        Boca Raton,PL 33431
                                                        Telephone:(561)395-0500
                                                        Pacsimile:(561) 338-7532

                                                        BY:    /s/ A Ian R. Crane
                                                                Alan R. Crane, Esq.
                                                                Plorida Bar No.: 0963836
                                                                Pro Hac Vice Pending
                                                                E-mail: acrane@furrcohen.com
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      UNITED STATES BANKRUPTCY COURT
      EASTERN DISTRICT OF NEW YORK



     In Re:


     MENACHEM MENDEL SCHNEORSON                            Case No. 22-40494-JMM

                    Debtor.                                Chapter 7




                 CREDITOR,MARGALIT SCHNEORSON'S MOTION
     FOR RELIEF FROM THE AUTOMATIC STAY; AWARDING PROSPECTIVE STAY
    RELIEF AND WAIVING THE 14-DAY STAY UNDER BANKRUPTCY RULE 4001(a¥3)


           MARGALIT SCHNEORSON("Wife"), by and through her undersigned counsel,pursuant

    to II U.S.C. § 362(b)(2) and (d)(1), 28 U.S.C. § 2201, Rule 4001 of the Federal Rules of

    Bankruptcy Procedure and Local Rule 4001-1, requests this Court enter an order lifting the

    automatic stay and/or determining that the automatic stay is inapplicable, to allow the Wife to sell

    the Marital Property which the Debtor has been completely divested of any legal or equitable

    interests by multiple prepetition court orders entered in the Divorce Case and states as follows:

           1.      Three successive chapter 7 bankruptcy cases have been filed in bad faith since

    December 29,2021, all of which are before this Court to frustrate the Divorce Case and the Wife's

    rights in the Marital Property, along with an adversary proceeding to remove the Divorce Case,

    where as detailed herein the Debtor had numerous adverse orders entered against him:

                   a. First Bankruptcy Case - In re Menachem MendelSchneorson, Case No. 1:21-
                      43159-JMM (filed Dec. 29, 2021) and dismissed March 4, 2022.

                           i. Removal Adversary - Margalit Schneorson v. Menachem Schneorson,
                              1:22-01003-JMM (filed Jan. 4, 2022)

                   b. Second Bankruptcy Case - In re Menachem Mendel Schneorson, Case No.
                      1:22-40433-JMM (filed March 6,2022)an Involuntary Petition, which appears
                      to have been prepared by the Debtor and submitted by Creditors, two of whom
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                       are not listed as creditors in either of the Debtor's voluntary bankruptcy cases
                       (discussed in detail below)

                   c. Third Bankruptcy Case - In re Menachem Mendel Schneorson, Case No.
                      1:22-40494-JMM (filed March 14, 2022)

            2.     In this Motion the Wife seeks entry of an order: granting relieffrom the automatic

    stay and/or determining that the automatic stay is inapplicable to:(i) allow the 17"^ Judicial Circuit

    Court in and for Broward County, Florida (the "Divorce Court") to enter all orders the Divorce

    Court deems necessary or appropriate with respect to the dissolution ofmarriage proceeding styled

    Schneorson v. Schneorson, FMCE17011569 (the "Divorce Case"), through and including Final

    Judgment of Dissolution of Marriage and any enforcement orders the Divorce Court determines

    are necessary or appropriate thereafter; (ii) to allow the Wife to sell the real property located at

    1125 NE 6"^ Street, Hallandale Beach, FL 33009 (the "Marital Property"), which as detailed
    herein the Debtor had been completely divested of any legal or equitable interest in since

    December 19, 2019.

           3.      The State Court in the Divorce Case has issued various orders awarding the Wife

    temporary alimony, child support, attorney's fees, and partial equitable distribution.

           4.      As is abundantly clear from the successive bankruptcy filings and the record in the

    Divorce Case,"cause" is sufficiently established to grant stay relief under 11 U.S.C. § 362(d)(1),

    where it is applicable, and entry of an order granting declaratory relief under 11 U.S.C. §

    362(b)(2)(A),(B)and (C)and 28 U.S.C. § 2201 determining the automatic stay is inapplicable to

    the enforcement of the State Court's orders, to allow the Wife to sell the former Marital Property

    for which record title was transferred to the Wife in December 2019 and was awarded to the Wife

    as partial equitable distribution, and to enter a final judgment of dissolution of marriage dividing

    any remaining marital assets and liabilities and making provisions for the award of domestic

    support obligations, including alimony, child support and attorneys' fees and costs.

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      I.    The Debtor's Multiple and Continued Violation of the Divorce Court's Orders and
            the State Court's Award of the Marital Residence to the Wife in 2019

            5.     The Divorce Case was filed on September 5,2017 by the Wife.

            6.     On May 8, 2019, the State Court entered its Order granting Petitioner/Wife's

    Motion to Compel the Respondent/Husband to Execute an Appropriate Deed Conveying an

    Undivided One-Half(1/2)Interest to the Wife in the Marital Home So That She is a Joint Owner

    of the Property as Matter of Public Record and For Other Relief Incident Thereto ("Order

    Compelling Vi Interest in Marital Property"). A copy of the Order Compelling V2 Interest in

    Marital Property is attached as Exhibit A.The State Court ordered that the Debtor execute a deed

    transferring Vi of the interest in the Martial Property to the Wife. The Court reserved jurisdiction

    to determine whether the Debtor should be sanctioned for his failure to voluntarily sign an

    appropriate deed even after a Motion to Compel was filed but ignored by the Debtor. A copy of

    the Quitclaim Deed recorded on April 25, 2019, transferring the interest in the Marital Property

    from the Debtor to the Debtor and the Wife is attached as Exhibit B.

            7.     On July 30, 2019, the State Court entered its Order for Temporary Alimony

    Support, Temporary Exclusive Use ofthe Marital Home, Temporary Attorney Fees ClLeTa.]^or2iry

    Relief Order"). A copy of the Temporary Relief Order is attached as Exhibit C. In part, the

    State Court found that the Debtor had made a threat to not pay any future household related

    expenses. Ex. B, p. 2. The marital home was in "dire need of repair. The roof is leaking, mold

    and mildew has started to appear, the water to the home has been shut off for a period oftime, the

    home's insurance has not been documented, taxes on the home are not current, and the mortgage

    payments have been erratic." Id. The State Court awarded the Wife temporary exclusive use of

    the Marital Home. Further, the State Court ordered the Debtor to pay $2,000.00 per month in
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    temporary alimony retroactive to July 2017($48,000.00). The Debtor is to pay the Wife $2,000.00

    per month in ongoing alimony and $1,000.00 per month towards the past due alimony.

            8.      Further, in the Temporary Relief Order, the State Court found that "[t]he [Debtor]

    has not produced requested documents, filed a financial affidavit for 2018, or updated a financial

    affidavit despite repeated Court Orders to do so. He has been less than forthcoming with providing

    documentation that proves his worth, yet every month the [Debtor] finds the money to satisfy his

    financial obligations." Id. at p.3. The State Court had heard testimony and reviewed the Debtor's

    2017 financial affidavit which indicated that Debtor had a total net worth of $1,713,000.00.

    Further, the State Court received testimony about a property/building in Brooklyn, New York

    which was not titled in either ofthe spouse's name but is part of the marital estate. The State Court

    heard testimony that the building, in 2019, was worth over $1,000,000.00.

            9.      On November 19, 2019, the State Court entered its Order Granting Wife's Motion

    to Compel Husband to Execute and Deliver a Deed to the Wife Transferring All ofHis Remaining

    Right/Title and Interest in the MariaI Residence to the Wife and For Other ReliefIncident Thereto

   ("Order Compelling Transfer of Deed"). A copy of the Order Compelling Transfer of Deed is

    attached as Exhibit D. The State Court found that although the Debtor previously testified that

    the Debtor paid the first mortgage, insurance, and property taxes current or that the Debtor would

    catch up those obligations, the Debtor had failed to do so wliich ultimately resulted in the mortgage

    company issuing a Notice of Default and Notice of Intent to Foreclose. Further, the State Court

    found that the Debtor has failed to comply with the Temporary Relief Order,including the Debtor's

    failure to pay the Wife alimony, pay $10,000.00 in temporary attorney's fees, failed to comply

    with a July 30, 2019, scheduling order and failed to comply with the July 19, 2019 Injunctive

    Relief Order. Further, the Debtor failed to convey the V2 interest in the Marital Property as required
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    by the Order Compelling Vi Interest in Marital Property and failed to vacate the Marital Property

    as was ordered. As a result, the State Court ordered the Debtor to execute a deed transferring the

    remaining rights, title, and interest in the Marital Property to the Wife and found that the Wife was

    entitled to an award of attorney's fees and costs with the State Court reserving jurisdiction on the

    amount. A copy of the Quitclaim Deed recorded on December 19, 2019, transferring the interest

    in the Marital Property from the Debtor and the Wife to the Wife only, is attached as Exhibit E.

            10.    On January 6, 2020, the State Court entered its Order Granting Wife's Motion to

    Compel Compliance with Scheduling Order Dated July 20, 2019, and For Sanctions Against the

    Husband and Money Final Judgment in Favor of the Wife and against the Husband.("Sanctions

    Order"). The Sanctions Order is attached as Exhibit F. The State Court awarded the Wife

    $111,199.60 in attorneys' fees and costs. In determining the reasonableness of the attorney's fees,

    the State Court found that fees were "necessitated by the Husband's recalcitrant and defiant

    behavior making the discovery process more time consuming and expensive and, even worse, not

    complying with various Court Orders including the Temporary Relief Order and this particular

    Scheduling order at issue."

            11.     On December 21, 2021, the State Court entered its Order Denying Husband's

    Verified Emergency Motion to Compel Wife to Maintain Status Quo Pursuant to Administrative

    Order No. 2019-15-UFC and Granting Wife's Verified Motion for Partial Early Ecjuitable

    Distribution as to the Parties' Former Marital Home andfor Other ReliefIncident Thereto and

    Deferring Ruling on the Wife's Motionfor Contempt(Including All Supplements Thereto) Again.st

    the Husbandfor Non-Payment ofSupport("Partial Equitable Distribution Order"). A copy of

    the Partial Equitable Distribution Order is attached as Exhibit G. The Debtor was ordered to

    transfer the remaining portion of his interest in the Marital Property, in part, as sanctions for the
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    Debtor's continued failure to comply with the Debtor's obligations under the Temporary Relief

    Order, the Sanctions Order and orders entered on May 8, 2019 and January 9, 2020 requiring the

    Debtor to pay or reimburse the Wife unpaid mortgage payments and real estate taxes advanced by

    a third party to avoid the Marital Property from going into foreclosure.

     II.    The Debtor's Failure to Disclose Potential Assets in the Bankruptcy Cases; False
            Oaths as to Creditors in the Bankruptcy Proceedings Supports Stay Relief

            12.      In the Divorce Case, Barry Kaye was named a party because of a "bogus" second

    mortgage he had placed against the Marital Property and because Barry Kaye and his company,

    Crown Travel International, were involved in sale of the real property located 1257 Ocean

    Parkway, Brooklyn, New York 11230("New York Property") to which the Wife claimed was a

    marital asset.


            13.      On February 5, 2020, the Divorce Court entered its Temporary Injunctive Relief

    Order Freezing Any and All Funds Held by Third Party Defendant Barry Kaye and/or Crown

    Travel International (Hereinafter "Crown Travel") Or any Person or Entity Connected to the

    Husband, Barry Kaye or Crown Travel relating to All or Any Portion ofthe Sales Proceedsfrom

    the Sale of 1257 Ocean Parkway. Brooklyn, New York 11230 entered on (Injunctive Relief

    Order). Attached as Exhibit H.

            14.      In ruling that the sales proceeds from the New York Property should be subject to

    injunctive relief and held either in the Court Registry or by the Wife's Divorce Counsel, the State

    Court made certain findings in the Injunctive Relief Order.

            15.      The State Court stated that Barry Kaye was "very much involved in the parties'

    finances and has engaged in financial dealings with the [Debtor] frequently during the parties'

    marriage and during these divorce proceedings. Id. The Divorce Court took judicial notice of it is
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    own prior order finding that Barry Kaye placed a "bogus" second mortgage on the Marital

    Residence which was removed by the Divorce Court. Id.

           16.      The Debtor "has been recalcitrant, dilatory and evasive with discovery and non-

    compliant with important court orders." Id. This resulted in attorneys' fees and costs being

    awarded against the Debtor. Id. Further, the Debtor failed to comply with two prior Divorce Court

    Orders requiring that the net sales proceeds be deposited into either the Court Registry or the

    Wife's Counsel's trust account. Those orders were entered on July 19, 2019, and July 30, 2019.

    Id.


           17.     Further, the Divorce Court stated that Debtor had acknowledged that the sales

    proceeds ofthe New York Property were marital assets. Id. This statement was upon the Debtor's

    deposition taken on December 11, 2018, which was admitted into evidence, and the Debtor's

    verbal testimony in a hearing before the Divorce Court. Id. The New York Property was not held

    in the name of the Debtor, the Wife, or their joint names. Id.

           18.     Further, during the Debtor's in-court testimony on July 9, 2020, the Debtor

    acknowledged constructive receipt of the $150,000.00 proceeds from the New York Property. Id.

           19.     Based upon information and belief, there are funds associated with the sale of the

    New York Property that are being held in escrow as required by the Injunctive Relief Order.

           20.     In his schedules and Statement of Financial Affairs, the Debtor fails to disclose the

    Wife or the Wife's Divorce Attorney as creditors. The Debtor fails to disclose the dispute

    regarding the proceeds of the New York Property.
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    III.    Despite Having Already Been Divested of his Interest in the Marital Property the
            Debtor filed his First Voluntary Chapter 7 Bankruptcy and Tried to Remove the
            Divorce Case to Cause Further Delay in the Divorce Proceeding and Avoid
            Comnlving with the Divorce Court's Orders

                  a. The First Voluntarv Case


            21.       On December 29, 2021, the Debtor filed his Voluntary Petition for Chapter 7

    Relief before this Court in Case No. 1-21-43159-jmm. ("First Voluntary Case").[First Voluntary

    Case ECF #1]. The only significant asset the Debtor lists is the Marital Property.

            22.      On December 29, 2021, the Clerk issued a Notice of Deficient Filing - Chapter 7

    Individual. [First Voluntary Case ECF # 2]. The Debtor failed to file a Certificate of Credit

    Counseling and various schedules and various local and official forms.      As of the date of this

    filing, the Debtor has failed to rectify the deficiencies.

           23.       On December 29, 2021, a document submitted to the Court by the Debtor that

    simply has the name "Barry Kaye" and his address handwritten on it, was docketed as a "List of

    Creditors [First Voluntary Case ECF # 3]. The Debtor fails to list the Wife or her counsel.

           24.       On February 16, 2022, the Debtor filed his initial schedules and statement of

    financial affairs [First Voluntary Case ECF # 21]. In the Debtor's Schedule E/F the Debtor

    schedules "Barry Kay"(sic) as a creditor. The Debtor did not schedule the Wife or her counsel as

    creditors despite the numerous court orders in the Divorce Case already entered and the contested

    Divorce Case continuing, nor did the Debtor schedule Aaron Berlin or Mark Elnatan as creditors,

    which is important because they are two of the petitioning creditors in the involuntary bankruptcy.

           25.      The Debtor filed an amended Schedule E/F on February 16, 2022 [First Voluntary

    Case ECF No. 29] again only scheduling "Barry Kay"(sic) as a creditor and not scheduling the

    Wife, Aaron Berlin or Mark Elnatan.
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           26.      The Wife filed a Motion for Relieffrom the Automatic Stay [First Voluntary Case

    ECF #31] on February 18, 2022, however, the First Voluntary Case was dismissed prior to the

    expiration ofthe objection period or a hearing could be held on the Motion.

           27.      On March 4,2022, this Court entered an Order Directing Clerk's Office to Dismiss

    this Case Pursuant to 11 U.S.C. 521(i)(l). [First Voluntary Case ECF # 41].

                 b. The Adversary Proceeding to Remove the Divorce Case in the First Voluntary
                    Case

           28.      On January 4,2022,the Debtor filed his unsigned Notice of Removal initiating the

    adversary proceeding styled Margalit Schneorson v. Menachem Schneorson, 1:22-01003-JMM

    [Adv. ECF #1]. The Debtor provides no specific grounds for removal,only stating,"[t]he removed

    cases may be core, and some claims may be non-core."

           29.      On February 2,2022, the Wife filed her Motion for Remand [Adv. ECF #6].

           30.      On March 8, 2022, the pending pretrial conference and motion hearings were

    "Marked Off without hearing" because the main case had been dismissed, however, the Adversary

    Proceeding has not been dismissed or closed as ofthe date of the filing of this Motion.

    IV.    An Involuntary Petition, Which Appears to Have Been Prepared by the Debtor, was
           filed Against the Debtor by Three Creditors, Two of Whom Have Never Been Listed
           as Creditors bv the Debtor in his Voluntary Bankruptcy Cases


           31.      On March 6, 2022, two-days after the First Voluntary Case was dismissed by this

    Court, an Involuntary Petition was filed against the Debtor initiating the instant case [ECF #1].

    The three petitioning creditors, purportedly are, Barry Kay, Aaron Berlin, and Mark Elnatan.

    Interestingly, Aaron Berlin and Mark Elnatan are not scheduled creditors in the First Voluntary

    Case. At this time, the Debtor has not filed a response to the Involuntary Summons.

           32.      Close scrutiny of the Involuntary Petition raises suspicion as to who actually

    orchestrated and prepare the petition, especially where "Barry Kaye's" name was misspelled when
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    typed and the "e" was later handwritten in. The misspelling coincides with the Debtor's

    misspelling of Barry Kaye's name in the Schedules filed in the First Voluntary Case at ECF Nos.

    21 and 29, and in the Second Voluntary Case at ECF No. 1, p. 27(Schedule E/F 2.1).

     V.     The Second Voluntary Chapter 7 Petition was filed by the Debtor just Eight Days
            After the Involuntary Petition was Filed

            33.    On March 14, 20202, a second Voluntary Chapter 7 Petition was filed by the

    Debtor, styled In re Menachem Mendel Schneorson, Case No. 1:22-40494-JMM ("Second

    Voluntary Case"). [Second Voluntary Petition ECF #1]. Again, it is interesting to note that

    Aaron Berlin and Mark Elnatan are not listed in the schedules filed by the Debtor in Second

    Voluntary Case. Id. On March 14, 2022, the Clerk issued a Notice of Deficient Filing Chapter 7.

    [Second Voluntary Case ECF #6]. Further, the Debtor failed to file a filing fee and filed an

    application to waive the fee. [Second Voluntary Case ECF #2].

                                      MEMORANDUM OF LAW


           34.     The Wife requests that this Court determine that the automatic stay does not apply

    and/or that the automatic stay should be lifted to allow the Divorce Case to proceed and to allow

    the State Court to enforce its orders, to allow the Wife to sell the former Marital Home and to

    allow the State Court to enter a final judgment of dissolution of marriage.

        A. The Automatic Stay does not Apply to the Dissolution Proceeding or the Entry of
           Further Orders Regarding the Marital Property Because the Marital Property is Not
           Property of the Estate

           35.     11 U.S.C. §362(b)(2)(A)(iv) states that the stay does not apply "for the dissolution

    ofa marriage,except to the extent that such proceeding seeks to determine the division of property

    that is property ofthe estate." Prior to the filing ofthis bankruptcy, the State Court entered Order

    Compelling 14 Interest in Marital Property, Order Compelling Transfer of Deed,and Partial

    Equitable Distribution Order. Pursuant to the first two orders and the Quitclaim deeds recorded


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    on April 25, 2019 [Ex. B] and December 19, 2019 [Ex. E] title to the Marital Property was

    transferred to the Wife in 2019. As ofthe petition dates in any three ofthe consecutive bankruptcy

    cases, including this involuntary case, the Debtor had no legal or equitable interest in the Marital

    Property and was only left with a marital interest in the Marital Property.

            36.    In 2021, the State Court awarded the Debtor's marital interest in the Marital

    Property to the Wife, in part, because of the Debtor's failure to pay various domestic support

    obligations, including alimony, attorneys' fees and his requirement to maintain payments on the

    Marital Properly.

            37.    Therefore, by the time that this Bankruptcy was filed, the Debtor had no legal or

    equitable interest in the Marital Property and the Marital Property did not become property ofthis

    bankruptcy estate. The only potential interest that the Debtor retained, as ofthe Petition Date, was

    his marital interest in the property which is not property of the bankruptcy estate. Musso v.

    Ostashko,468 F.3d 99, 105(2d Cir. 2006)(Neither spouse obtains an equitable interest in property

    held by the other merely because the property falls within the definition of"marital property").

           38.     The Wife therefore requests an Order pursuant to 11 U.S.C. § 541(a)and 28 U.S.C.

    § 2201, that the Marital Property is not property of the bankruptcy estate, not subject to the

    Automatic Stay of § 362(a), and the Wife and Divorce Court may take any action necessary or

    appropriate to sell, transfer, or otherwise use or dispose of the Marital Property.

           39.     Further, 11 U.S.C. § 362(b)(2)(A)(ii) provides that the automatic stay is not

    applicable to the establishment or modification of domestic support obligations. Attorneys' fees

    awarded pursuant to Florida Statute § 61.16 are considered domestic support obligations, because

    they are awarded based upon a finding of need and ability to pay. Therefore, the Wife requests an

    order declaring that the automatic stay is inapplicable to any action that the Divorce Court would



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    take in establishing or modifying domestic support obligations, including, but not limited to

    awarding attorneys' fees under Fla. Stat. § 61.16 based upon need and ability to pay, awarding

    child support, and other related relief.

           40.      To the extent necessary, 11 U.S.C. § 362(b)(2)(B) and (C) provide that the

    automatic stay does not apply to an action to collect domestic support obligations from property

    that is not property of the bankruptcy estate. As set forth above, the Wife takes the position that

    the Marital Property is not property ofthe bankruptcy estate. Further,the Debtor's income derived,

    and assets acquired after the filing of the petition are not property of the bankruptcy estate.

    Therefore, the Wife requests an order declaring the automatic stay does not apply to orders in the

    Divorce Court that would enforce the Debtor's domestic support obligations against the Marital

    Property, income derived and assets acquired after the filing of the bankruptcy petition.

           41.     Further, to the extent that the trustee abandons assets and/or the Debtor successfully

    exempts property, which would remove said property from the estate, the automatic stay would

    not prevent the State Court from entering orders with respect to abandoned or exempted property.

    The automatic stay also does not apply to the issuance of orders requiring that the Debtor's post-

    petition income be withheld for the payment of domestic support obligations.

           42.     Finally, 11 U.S.C. § 362(b)(2)(A)(iv) except from the automatic stay the

    continuation a proceeding for the dissolution of a marriage. The Wife therefore seeks declaratory

    relief that the automatic stay does not apply to the Divorce Court entering a Final Judgment of

    Dissolution of Marriage in the Divorce Case, nor any orders to enforce or modify such Final

    Judgment or prior orders of the Divorce Court.




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        B. The Debtor's Continued Disregard for the State Court Orders, that the State Court
           Litigation is a Dissolution of Marriage governed entirely by Florida State Law,
            Failure to Comply with the Basic Requirements in Filing Bankruptcy,and the Filing
            of Multiple Cases Constitutes Cause to Grant the Wife Relief from the Automatic
            Stay to the Extent it is Applicable

            43.      Pursuant to 11 U.S.C. §362(d)(l), this Court can, for cause, grant relief from the

    automatic stay by terminating, annulling, modifying, or conditioning such stay. This Court can

    look at the Debtor's conduct in this case, the First Voluntary Case and the Second Voluntary Case

    along with the Debtor's conduct in the Divorce Case to find that cause exists to grant the relief

    requested.

           44.       Bankruptcy courts routinely lift the automatic stay to allow a state court to

    determine matrimonial issues. Tarone v. Tarone (In re Tarone),434 B.R.41,50(Bankr. E.D.N.Y.

    2010). The reason is "state courts are more familiar with the concepts of marital property and how

    to apply the statutory and discretionary factors that govern equitable distribution." Id. Fufrther, in

    this case, the State Court has issued various orders establishing domestic support obligations and

    make a partial equitable distribution award.

           45.      In the Divorce Case, the Debtor has repeatedly violated the State Court's orders.

    The Debtor improperly attempts to seek refuge in this Court, but has failed to file the required

    schedules, credit counseling certificate. Statement of Financial Affairs, and other documents.

           46.     In his Petition in the First Voluntary Case, the Debtor states that the purpose of

    filing this bankruptcy was to prevent the Wife from selling the Marital Property. [First Voluntary

    Case ECF #1 p.5]. In the First Voluntary Case, the Debtor failed to comply with his basic

    obligations for the filing of a chapter 7 bankruptcy. Ultimately, the Court, on March 4, 2022,

    entered its Order Directing Clerk's Office to dismiss case pursuant to 11 U.S.C. §521(i)(l). [First

    Voluntary Case ECF #41].



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            47.    In this case, the Invohintary Petition [EOF #1] and Refiled Involuntary Petition

    [EOF # 2], the information provided for all three purported creditors appear to be in the same

    handwriting.

            48.    Further, in comparing the handwritten portions of the Refiled Involuntary Petition

    with the handwritten Drop box filer form in the First Voluntary Petition [First Voluntary EOF #

    29, p. 32], the handwriting appears to be the same.

            49.    The Wife asserts that the Debtor prepared the Involuntary Petition to have it filed

    against himself. Further, purported creditors Aaron Berlin and Mark Elnatan are not listed as

    creditors in the Debtor's First Voluntary case [First Voluntary Case EOF #29] or his Second

    Voluntary case [Second Voluntary Case ECF #1].

            50.    Also, "Barry Kaye" is misspelled in the Debtor's First Voluntary Case [First

    Voluntary Case ECF #29] and Second Voluntary Case [Second Voluntary Case ECF #1]. In the

    First Voluntary Case and the Second Voluntary Case, the "e" is missing. However, in the refiled

    Involuntary Petition, the "e" in Barry Kaye interlineated by hand. [Involuntary ECF #2]. This

    gives further indication that the Debtor prepared the involuntary petition ultimately filed against

    him.


            51.    Further, the Debtor commits a false oath in both the First Voluntary Case and the

    Second Voluntary Case by failing to disclose the Wife and the Wife's attorney, Barry S. Franklin

    & Associates, P.A. as creditors.

            52.    In the Second Voluntary Case, the Debtor, again, failed to comply with the basic

    requirements of filing a Chapter 7 bankruptcy. On March 14, 2022, a Deficient Filing Chapter 7

    Notice was filed. [Second Voluntary Case ECF #6].




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            53.    All three bankruptcy cases were filed in a bad faith and to, improperly, prevent the

    sale ofthe Marital Property that is not property ofthe bankruptcy estate and to unnecessarily delay

    and frustrate the Divorce Case.

        C. Request for Prospective Stay Relief


           54.     The Wife requests prospective stay relief so that in the event that the Debtor files

    another bankruptcy,the automatic stay will not apply to the Divorce Case or the Marital Property.

       D. Request for Waiver of Fourteen Dav Stay under Fed,R. Bankr. P. 4001(ai(3)


           55.     The Wife also requests a waiver of the 14-day stay under Fed. R. Bankr. P.

    4001(a)(3), to allow the Wife to immediately proceed with the Divorce Case and take all necessary

    actions in the Divorce Case. This relief is specifically needed because there is a sale of the Marital

    Property with a pending closing date, which may be technically past due prior to the hearing on

    this Motion.


            WHEREFORE,the Wife requests that this Court enter an order in the form attached to the

    motion:(i)granting this Motion;(ii) declaring that the Marital Property is not property ofthe estate

    and not subject to the automatic stay; (iii) declaring that the automatic stay does not apply to the

    acts in the Divorce Case set forth above;(iv) granting relief from the automatic stay, to the extent

    applicable, to allow the Divorce Court to enter all orders to enforce and finally determine all issues

    in the Divorce Case and/or sell the Marital Property;(v) granting prospective stay relief to the

    Wife with respect to the Divorce Case and/or the Marital Property;(vi) waiving the 14-day stay

    under Bankruptcy Rule 4001(a)(3); and (vii) granting any additional relief the Court deems just

    and proper.




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    Dated: March 18, 2022
                                              Furr Cohen,P.A.
                                              Counselfor Margalit Schneorson
                                              2255 Glades Road, Suite 419A
                                              Boca Raton, Florida 33431
                                              (561)395-0500/(561)338-7532- fax

                                              BY:   /s/Alan R. Crane
                                                        Alan R. Crane
                                                        Florida Bar No.: 0963836
                                                        Pro Hac Vice Pending
                                                        E-mail: acrane@.fmTCohen.com




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                                      CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing Motion and Notice of

    Motion setting Hearing for April 12, 2022 at 10:00 AM were served electronically on the Debtor

    on the 1S"' of March 2022 at schneorsonm@gmail.com and to all parties registered to received
    electronic notice on this case.

    Dated: March 18, 2022                             FURR AND COHEN,P.A.
                                                       One Boca Place, Suite 419A
                                                      2255 Glades Road
                                                      Boca Raton, FL 33431
                                                      Telephone:(561)395-0500
                                                      Facsimile:(561) 338-7532

                                                      BY:    1^1 Alan R. Crane
                                                              Alan R. Crane, Esq.
                                                              Florida Bar No.: 0963836
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                                                              E-mail: acrane@.furrcohen.com




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   1        IN THE CIRCUIT COURT OF THE 17™ JUDICIAL CIRCUIT IN AND FOR
                                  BROWARD COUNTY,FLORIDA

                                                        CASE NO.: FMCE 17-011569(36)

    MAROALIT SCHNEORSON,
        Petitioner,
    V.




    MENACHEM SCHNEORSON,
        Respondent.
                                                /


       ORDER FOR TEMPORARY ALIMONY SUPPORT.TEMPORARY EXCLUSIVE USE
               OF THE MARITAL HOME.AND TEMPORARY ATTORNEY FEES.


          THIS CAUSE came on to be heard by the Court on Wife's Motion for Temporary
   Alimony,Temporary Exclusive Use ofthe Marital Home and TemporaryAttomey's Fees. The
   Court reviewed the court file and considered the testimony from witnesses, documents
   introduced, the court having had the opportunity to evaluate and weigh the testimony presented;
   observe the demeanor, bearing,intelligence, frankness, credibility, and competence ofeach
   witness; the interest each witness has in the outcome ofthe issues presented; and the opportunity
   to consider the reasonableness ofthe testimony ofthe witnesses. In light of all the evidence in
   the case, the Court having heard/read argument ofcoimsel, and being otherwise advised in the
   premises:


          The Court Makes the Following Factual Findings:
          Testimony over the course oftwo(2)days proved that the Petitioner, Margalit
   Schneorson (hereinafter, the Wife), is married to the Respondent, Menachem Schneorson
   (hereinafter, the Husband). They have been married for twenty-one(21) years, constituting a
   long term marriage. The Wife has no college education and has not held any meaningful
   employment during the marriage. The Husband has been the sole and primary provider for the
   family. They have one(1)child who is nineteen(19) years old.
          The Husband testified that he is fifty-two (52) years old, and he solely maintained and
   controlled the marital household expenses. These expenses include mortgage payments, taxes.
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    utilities, insurance and other household expenses. The Husband stated that the he is employed as
    a supervisor for Kosher Shaike's Catering, and the Wife is a stay at home mother.
           The Wife recently became aware that the Husband took out a second mortgage on the
    marital home and entered into a loan modification agreement with Wells Fargo Bank on the
    original mortgage without her consent. The Wife testified that she asked her Husband for
   information on the mortgage and called the lender, but could not ascertain any information about
   the status ofthe mortgage. Records indicate that mortgage payments have been missed. The
    Husband testified that only one payment was missed, and this was because the bank offered a        ,
   one-time skip payment financial relief based on a hurricane occurrence in South Florida. The
    Wife is fearful that the mortgage may be in arrears/default and may be subjected to foreclosure.
           A voicemail recording from the Husband was introduced into evidence. This recording
    was left on the Wife*s cellphone in Yiddish. A translation ofthis recording to English was
   entered into evidence. On the recording, the Husband can be heard threatening not to pay any
   future household related expenses.
           The Court received testimony relating to the condition ofthe marital home as being in
   dire need of repair. The roofis leaking, mold and mildew has started to appear,the water to the
   home has been shut offfor a period oftime,the home's insurance has not been documented,
   taxes on the home are not current, and the mortgage payments have been erratic.
           The Husband stated that his Wife's name was omitted from the deed to the marital home;
   however, her name does appear on the mortgage. While on the witness stand,the Husband
   agreed that not having the Wife's name on the deed is an error, and she should be placed on the
   deed to the marital home.

           The Wife testified she sought financial assistance from a friend, Mr. Michael Cohen. Mr.
   Cohen has no ties to this pending litigation. He has,through his own kindness, helped the Wife
   in financing this litigation. She has incurred large legal bills and has neither money to finance
   this litigation nor support her daily living expenses.
          The Wife's financial affidavit for 2018 indicates she was bom on March 11,1978. It also
   indicates she is working as a rental property coordinator with a present monthly gross income of
   $991.00; her monthly expenses total $3,.575.00, leaving her with a monthly deficit of$2,584.00.
   She shows assets of$355,137.00 and debts of$188,132.00. The Wife found employment as a
   rental property coordinator after filing her petition for dissolution of marriage.
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           The Husband has not filed a financial affidavit for 2018. He filed a financial affidavit for
   2017; which indicates he is employed as a supervisor for Kosher Shaike*s Catering. He presently
   earns a monthly net income of$5,051.78, has monthly expenses of$3,545.65,and a monthly
    deficit of$493.87. He shows assets of$370,293.00 and debts of$368,580.00,for a total net
    worth of$1,713,000.00. Exhibit Number One(1)entered into evidence gives a breakdown ofthe
   house hold expenses. Some ofthe major monthly household expenses are: $790.00 mortgage:
   $300.00 in property taxes: $200.00 in electric: $140.00 in water, garbage and sewer: $50 in lawn
   care: $125.00 in pool maintenance: and $70.00 in cable television. The total major household
   expenses are one-thousand-six-hundred-seventy-five($1,675.00)dollars.
           The Husband stated that he has over $80,000.00 in credit card debt and is so financially
   impoverished that he has applied for, and received, government assistance in the form offood
   stamps. The Husband elaborated that his financial situation is so dire that he has resorted to
   receiving monthly cash handouts from fiiends so he can make his financial obligations. This
   stream ofincome has not been documented or verified by the Husband.
          The Court received testimony about a propef^/building in Brooklyn, New York, which is
   not titled in the Husband's name,or his Wife's name,or their joint names, but is an asset oftheir
   marital estate. The value ofthis building is listed on the Husband's financials at eight-hundred-
   thousand dollars($800,000.00). However,there was testimony that this property is worth well
   over a million dollars($1,000,000.00).
          During cross examination ofthe Husband,the evidence revealed that he has traveled to
   foreign countries for up to three(3) weeks,rented cars for transportation and dines at fine
   restaurants.

          Through the introduction of banking records, the Wife was able to establish that even
   though the Husband had been receiving financial assistance from the government, he has been
   able to find the funds to make credit card payments on his purported debt of$80,000.00 every
   month until the time this Divorce Petition was filed. Bank statements show that the Husband

   made deposits during 2017. The Husband maintains payments or deposits on the following
   accounts: Wells Fargo Visa number ending iiim|with a balance in the amount of$33,000.00;
   deposits and transfers with a balance ofapproximately $27,000.00 to a Wells Fargo banking
   accoimt number ending in         deposits and transfers with a balance ofapproximately
   $37,000.00 on another Wells Fargo bank account number ending in             pa)anents to his
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    Discover Card ofapproximately $4,000.00 on account number ending in              and a payment on
    a Barclays Card of approximately $700.00.
           Although requested by the Wife and Court Ordered,the Husband never completed
    document production for the year 2018;therefore, the Wife was not able to analyze these
    documents as she was able to do for 2017.

           In trying to determine the Husband*s financial situation, counsel for the Wife compared it
    as,"akin to trying to hit a moving target." The Husband has not produced requested documents,
   filed a financial affidavit for 2018,or updated a financial affidavit despite repeated Court Orders
   to do so. He has been less than forthcoming ^vith providing documentation that proves his worth,
    yet every month the Husband finds the money to satisfy his financial obligations.


   Temporary Alimony Alone with Exclusive use of the Marital Home;

           The Wife petitioned for temporary alimony support along with temporary exclusive use
   ofthe marital home.The Court finds that there is an actual need for temporary alimony, and the
   husband has the present ability to pay. As stated in the factual basis above, this is a long term
    marriage in excess of21 years,the Wife does not have a college degree, and has not worked out
   ofthe home during the marriage. The Husband has been the sole provider of all expenses
   incurred during the duration ofthis marriage. The Wife had found it untenable to stay in the
   marital home;so she moved out. She would not have been able to sustain herselffinancially if it
   were not for the assistance she has been receiving firom a third party fiiend, Michael Cohen. Mr.
   Cohen has no relationship to the parties other than trying to assist a fnend and has no legal
   obligation to continue this assistance.
           The Husband has not provided updated financials or document production for 2018. The
   Court is relegated to the Husband's 2017 financial affidavit, testimony, and records introduced
   into evidence by the Wife,to show the Husband's income,see Shaw v. Nelson.4 So.3d 740(Fla.
   1®'DCA 2009),"where the former husband failed to present evidence that would lead to an
   accurate calculation ofhis income,the trial court properly relied on the evidence presented by
   the former wife." See also. Hicks v. Hicks.948 So.2d 63,(Fla. 5'^ DCA 2007),"a party who fails
   to provide full, complete financial disclosure will not be heard to complain about the trial court's
   inability to make a specific calculation." The bank records introduced by the Wife reveal that
   there is a flow ofincome the Husband uses to maintain his lifestyle.
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   The Court has considered the following in awarding temporary alimony:
          a. The standard of living established during the marriage; the wife has been solely
             dependent upon the Husband and lives a modest life style.
          b. The duration ofthe marriage; long term,twenty-one(21) years.
         c. The age and the physical and emotional condition ofeach party; both parties appeared
             physically and mentally fit in court, and there is no evidence to contradict that.
         d. The financial resources ofeach party, including the non-marital and the marital assets
             and liabilities distributed to each; the Wife has no college education, and did not work
             during the twenty-one(21)year marriage; the Husband has been the sole financial
             provider for the family, and the parties appear to have a financial interest in property
             located in Brookline New York.

         e. Earning capacities, educational levels, vocational skills, and employability ofthe
             parties, and when applicable, the time necessary for either party to acquire sufficient
             education or training to enable such party to find appropriate employment; the Wife
             has no college schooling. The Husband is the sole financial provider for the family;
         f. The contribution ofeach party to the marriage,including, but not limited to, services
             rendered in homemaking,child care, education, and career building ofthe other party;
             The Wife was a stay at home mother and raised their child, while the Husband
             provided their only income.
         g. The responsibilities each party will have with regard to any minor children they have
             in common;their only child is nineteen(19) years old and emancipated.
         h. The tax treatment and consequences to both parties ofany alimony award,including
             the designation of all or a portion ofthe payment as a nontaxable, nondeductible
             payment;

         i. All sources ofincome available to either party, including income available to either
             party through investments of any asset held by that party; the parties appear to have a
             financial interest in property located in Brooklyn, New York.
         j. Any other factor necessary to do equity and justice between the parties.
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           The Court, after considering all of the above, temporarily awards the Wife exclusive use
    of the martial home and temporary alimony payments of two-thousand ($2,000.00) dollars a
   month, nunc pro tune to July 2017, the day that this litigation commenced, and two (2) years of
   retroactive payments totaling forty-eight-thousand ($48,000.00) dollars. The retroactive alimony
   payments are to be made at an additional one thousand ($1,000.00) dollars a month. The total
   monthly payments are three-thousand ($3,000.00) dollars. Once the past due alimony of forty-
   eight-thousand ($48,000.00) dollars is paid in full, alimony payments are to resume at two-
   thousand ($2,000.00) dollars a month. This temporary alimony payment and temporary exclusive
   use of the marital home is based on the Wife showing a need which included the entire
   household expenses, including: mortgage payments, taxes, utilities, insurance, and normal day to
   day living expenses. The Wife has been heavily indebted to a third party, Michael Cohen, since
   filing her petition for dissolution of marriage in July 2017. He has no obligation to keep her
   financially afloat while she awaits pendent lite relief, Bromante v. Bromante. 577 So.2d 622
   (Fla. 1®* DCA 1991). This temporary award enables the Wife to maintain the life style that she
   had during this marriage. Melton v. Melton. 79 So.3d 154 (Fla. 2 DCA 2012); Martinez v.
   Martinez. 228 So.3d 164 (Fla. 2 DCA 2017).
          The Husband's continued erratic payments of the household expenses, along with his
   threats to stop payments of the household expenses, further supports this Court's award of
   temporary exclusive use of the marital home to the Wife and awarding her temporary alimony.
   The Court's Order will provide equity and justice by making sure that the Wife may maintain her
   modest life style, while additionally providing that the marital home is properly maintained.


   Temporarv Attorney Fees:

          The Wife has incurred attorney's fees largely due in part to the Husband's failure to
   respond to Court Orders. The vast majority of the Motions filed by the Wife have been granted,
   as they were necessitated by the inactions of the Husband thus generating higher legal costs.
          Trying to ascertain the Husband's financial status has not been an easy task. The Court
   hopes to get a better understanding in future hearings of the Husband's finances. At this time,
   relying on the Husband's 2017 financials, the introduction of the Husband's bank records by the
   Wife, and the testimony provided, the Court finds that the Husband has the present ability to pay
   the Wife's attomey's fees. The Wife has a need for such contribution. See, Jooste v. Jooste 44
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    Fla. L. Weekly D1242(Fla. 4* DCA May 8,2019). It is not necessary that one spouse be
    completely unable to pay attorney's fees for the trial court to require the other spouse to pay
    those fees. See, Canakaris v Canakaris.382 So.2d 1197(Fla. S.Ct. 1980).
           There exists a financial disparity between the Husband and Wife. The Husband has been
    the sole provider for all finances during their twenty-one(21) years of marriage. The Wife has
    never worked out ofthe home during this time period and has no formal college education.
           As of March 5,2019,the evidence provided to this Court is that the Wife has incurred
    legal fees. Exhibit number five(5)in evidence is a listing ofthe legal fees charged and Exhibit
    number seven(7)is a complete breakdown ofthe billing statement for legal fees. The Wife is
    seeking an award of$72,811.00 in legal fees.
           The Court, at this time finds an entitlement to legal fees, and awards a temporary/partial
    payment oflegal fees of$10,000.00. Attached to this Order is a scheduling Order on petitioner's
    request for award ofadditional attomey fees, which the parties are to follow.
           This Court retains and reservesjurisdiction ofthis case for the purpose ofenforcing and
    modifying the terms ofthis Order and entering further Orders as may be necessary.


           ORDERED:

           The Wife's Motion for Temporary Alimony is GRANTED.The Court awards the Wife
   $2,000.00 a month,nun pro tune to July 2017,totaling two(2) years of back payment amounting
   to $48,000.00. The Husband is to pay $2,000.00 a month, with an additional payment of
   $1,000.00 a month to make up for back payments owed. These payments total $3,000.00 a month
   in payments from Husband to Wife. These payments shall be made monthly until paid up on the
   $48,000.00 owed,then payments of$2,000.00 per month will continue.
           The Wife's Motion for Temporary Exclusive use ofthe marital home is GRANTED.The
   Husband will have thirty(30)days from the date ofthis Order to vacate the marital home.
           The Wife's Motion for Temporary Attorney's Fees, the Court finds ENTITLEMENT,
   and awards a temporary/partial payment at this time of$10,000.00 in legal fees to be paid for by
   the Husband. Attached is the Scheduling Order on Petitioner's request for additional attomey's
   fees that the parties are to follow.
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             ORDERED in chambers in Broward County, Ft. Lauderdale, Florida on the
    day of          Ju/\j              , 2019.
                          ■f
                                       Peter Holden, Circuit Court Judge

    cc:      All parties of record
